USCA4 Appeal: 23-1502     Doc: 14        Filed: 07/07/2023           Pg: 1 of 281



                                              23-1502

                         United States Court of Appeals
                                                  for the
                                        Fourth Circuit

                                        TANJANEKA JONES,

                                                                              Plaintiff/Appellee,

                                                  – v. –



                                    ELI LILLY AND COMPANY,

                                                                         Defendant/Appellant.

                        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND AT GREENBELT

                                    JOINT APPENDIX

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USCA4 Appeal: 23-1502           Doc: 14             Filed: 07/07/2023          Pg: 2 of 281




                                              TABLE OF CONTENTS

        VOLUME ONE

        District Court Docket Sheet .................................................................................. JA1

        Third Amended Complaint
              filed October 13, 2021 ................................................................................ JA8

        Exhibits to Defendant’s Motion for Summary Judgment
              filed October 12, 2022:

                A.       Transcript of Deposition of Tanjaneka La-Shawn Jones
                               taken May 5, 2022................................................................ JA19

                B.       Letter Regarding Performance Improvement Plan
                                dated June 28, 2019............................................................ JA173

                C.       Letter Regarding Performance Improvement Plan
                                dated October 16, 2019 ...................................................... JA176

                D.       Transcript of Deposition of Grace Faulkner
                               taken June 29, 2022............................................................ JA181

                E.       Letter Regarding Performance Improvement Plan
                                dated March 13, 2020 ........................................................ JA192

        Exhibits to Plaintiff’s Opposition to Defendant’s Motion for Summary Judgment
              filed November 23, 2022:

                2.       Affidavit of Tanjaneka Jones
                               sworn November 21, 2022 ................................................. JA195

                3.       Transcript of Deposition of Timothy Schott
                               taken June 10, 2022............................................................ JA201

                7.       Faulkner Report
                               dated November 23, 2020 .................................................. JA226



                                                                i
USCA4 Appeal: 23-1502           Doc: 14             Filed: 07/07/2023           Pg: 3 of 281




                9.       Affidavit of William White
                               sworn October 19, 2022 ..................................................... JA230

                12.      Fell 2019 Wrap-Up ....................................................................... JA234

                13.      Affidavit of Jazmine Perry
                               sworn October 2022 ........................................................... JA239

        Exhibits to Defendant’s Reply in Support of its Motion for Summary Judgment
              filed December 21, 2022:

                A.       Transcript of Deposition of Timothy Schott
                               taken June 10, 2022............................................................ JA243

                B.       Transcript of Deposition of Grace Faulkner
                               taken June 29, 2022............................................................ JA252

        Memorandum Opinion Granting Defendant’s Motion for Summary Judgment
            filed April 7, 2023................................................................................... JA257

        Order Granting Defendant’s Motion for Summary Judgment
              filed April 7, 2023................................................................................... JA277

        Plaintiff’s Notice of Appeal
               filed May 2, 2023 .................................................................................... JA278




                                                                ii
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 4 of 281




                                         JA1
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 5 of 281




                                         JA2
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 6 of 281




                                         JA3
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 7 of 281




                                         JA4
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 8 of 281




                                         JA5
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 9 of 281




                                         JA6
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 10 of 281




                                         JA7
USCA4 Appeal: 23-1502         Doc: 14            Filed: 07/07/2023          Pg: 11 of 281


                      Case 8:20-cv-03564-GJH Document 26 Filed 10/13/21 Page 1 of 11



                                   IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MARYLAND

           TANJANEKA JONES,           :
                                      : Civil Case No. 20-cv-03564 (GJH)
                           Plaintiff, :
           v.                         :
                                      :
           ELI LILLY AND COMPANY,     :
                                      :
                           Defendant. :
                                      :
           ……………………………………………………………………………………………………
                                          THIRD AMENDED COMPLAINT
                    Plaintiff Tanjaneka Jones (“Plaintiff”), by and through her undersigned attorney, submits

           this Third Amended Complaint against Defendant Eli Lilly and Co. (“Defendant”) and states as

           follows:

                                               NATURE OF THE CASE
                    1.     Plaintiff asserts claims against Defendant for sex discrimination and retaliation,

           under Title VII of the Civil Rights Act, as amended, 42 U.S.C. §2000e et seq. and the Maryland

           Human Rights Act, Md. Code Ann, State Gov’t §20-606 and race discrimination and retaliation,

           pursuant to the Civil Rights Act of 1991, 42 U.S.C. §1981.

                                                     THE PARTIES

                    2.     Plaintiff is a resident of Prince George’s County, Maryland. Plaintiff worked for

           Defendant from her home office, located in Prince George’s County, Maryland, at all relevant

           times.

                    3.     Defendant is a multinational corporation with a principal place of business in

           Indianapolis, Indiana. Defendant has transacted business in Prince George’s County, Maryland,

           and maintained a resident agent in Maryland at all relevant times.




                                                             1
                                                                                                          Jones Vs. Lilly

                                                                                                        Jones-024
                                                           JA8
USCA4 Appeal: 23-1502         Doc: 14             Filed: 07/07/2023          Pg: 12 of 281


                    Case 8:20-cv-03564-GJH Document 26 Filed 10/13/21 Page 2 of 11




                                             VENUE AND JURISDICTION
                  4.        Venue is proper in the Court due to Defendant having removed this matter from

           the Circuit Court of Prince George’s County to this Court based on 28 U.S.C. §1331, federal

           question jurisdiction.

                  5.        This Court also has jurisdiction because Plaintiff filed her complaint within 90

           days of receiving a right to sue letter from the U.S. Equal Employment Opportunity

           Commission.

                                              FACTUAL BACKGROUND
                  6.        Plaintiff, a Black, female began working as a Senior Sales Representative

           (“SSR”) for Defendant in or around 2014. As an SSR, Plaintiff’s primary duty was to sell

           pharmaceutical products because business sales controlled the SSR’s income, benefits, and

           opportunities.

                  7.        For instance, yearly pay increases and quarterly bonus payouts were based on

           sales, as was the SSRs ranking within their teams and nationally. As a result, Plaintiff’s sales

           results were tracked weekly, monthly, and quarterly to determine quarterly sales bonuses and

           payouts. Based on sales, annual Achievement trips were awarded to teams and individual SSRs

           for reaching 100% quota attained on primary products sales. Additionally, yearly awards were

           based on individual sales achievements recognized at the annual Regional Meeting for

           Representative of the Year, Rookie of the Year, Outstanding Sales Performance for Jardiance,

           etc. This recognition opened up opportunities for SSRs to obtain pay increases and job

           advancement.

                  8.        In or around May 2019, David Sun (“Mr. Sun”), an Asian male, began

           supervising Plaintiff’s team. At that time, the team was one of Defendant’s top five teams in the


                                                             2




                                                           JA9
USCA4 Appeal: 23-1502        Doc: 14            Filed: 07/07/2023             Pg: 13 of 281


                    Case 8:20-cv-03564-GJH Document 26 Filed 10/13/21 Page 3 of 11



           country, and Plaintiff was individually ranked number two on her team. Plaintiff was also

           exceeding Defendant’s sales goal by nine percent and was one of the best SSRs on the team.

                  9.      Despite Plaintiff’s success, Mr. Sun placed her on a Performance Improvement

           Plan (“PIP”) after supervising her for less than one month. To support his disciplinary decision,

           Mr. Sun overly scrutinized and criticized Plaintiff’s work performance and then relied on false

           and subjective reasons to discipline her.

                  10.     However, Mr. Sun did not overly scrutinize or criticize the performance of

           Douglas Barna (“Barna”) and Brandon Fell (“Fell), two Caucasian male SSRs who had far lower

           sales rankings than Plaintiff. And, on information and belief, Fell, who was not meeting

           Defendant’s sales quota, was not placed on a PIP like Plaintiff.

                  11.     Around this time, Plaintiff also learned that Mr. Sun scrutinized and criticized

           Krystle Allen, a Black female SSR, meeting Defendant’s sales quotas like Plaintiff. After

           learning this information, Plaintiff contacted Defendant’s Human Resources (“HR”)

           representatives several times between June 2019 and November 2019, requesting assistance.

                  12.     During the conversations with HR in or around October 2019, Plaintiff accused

           Mr. Sun of race and gender discrimination because he overly scrutinized and criticized her work

           performance compared to her Caucasian male colleagues and placed her on a PIP. She also told

           HR that Krystle Allen, another Black female SSR who also exceeded sales goals, was similarly

           overly scrutinized and criticized by Mr. Sun.

                  13.     Despite Plaintiff’s complaints, HR did nothing to help her. Instead, after HR

           discussed Plaintiff’s Complaint with Mr. Sun on or about October 15, 2019, he placed Plaintiff

           on probation on or about October 16, 2019, and took away her bonus opportunity. He then

           increased the critiques and scrutinization of her performance even though Plaintiff’s sales



                                                            3




                                                           JA10
USCA4 Appeal: 23-1502        Doc: 14            Filed: 07/07/2023          Pg: 14 of 281


                    Case 8:20-cv-03564-GJH Document 26 Filed 10/13/21 Page 4 of 11



           numbers continued to soar. While on probation, Plaintiff was ineligible for bonuses and could

           not apply for vacancies or promotions with Defendant.

                  14.     As a result, Plaintiff returned to Defendant’s HR several times for guidance and

           filed a charge of discrimination with the U.S. EEOC in October 2019. A few days later, her

           concerns with Mr. Sun worsened, and his harassment began occurring almost every week.

           Ultimately, Plaintiff’s workplace began to feel more and more hostile because she was being

           disciplined for false reasons rather than congratulated for exceeding Defendant’s sales goals.

                  15.     Due to Mr. Sun’s false and discriminatory write-ups, Plaintiff’s bonuses were

           revoked for consecutive months beginning in October 2019, even though she was the second-

           highest ranked salesperson on her team.

                  16.     These disciplinary actions and the accompanying unsatisfactory rating on her

           performance evaluation disqualified Plaintiff from applying for other jobs or promotions with

           Defendant.

                  17.     While this was happening to Plaintiff, Mr. Sun also discriminated against William

           White and Brian Calloway, two Black male SSRs on his team who were meeting sales goals. As

           with Plaintiff, he overly scrutinized and criticized their performance and subsequently discharged

           or constructively discharged them for discriminatory reasons.

                  18.     However, Mr. Sun treated Barna and Fell, two Caucasian SSRs, with lower sales

           performance, more favorably than the two Black SSRs. Indeed, Fell was below Defendant’s sales

           quotas, but he was not discharged or constructively discharged like the Black male SSRs.

                  19.     Ultimately, Mr. Sun’s unlawful actions caused Plaintiff to resign in December

           2019. Before and after her resignation, Plaintiff lost bonuses and the opportunity to apply for




                                                           4




                                                        JA11
USCA4 Appeal: 23-1502        Doc: 14             Filed: 07/07/2023           Pg: 15 of 281


                    Case 8:20-cv-03564-GJH Document 26 Filed 10/13/21 Page 5 of 11



           other positions or promotions and suffered from anxiety and severe emotional distress due to Mr.

           Sun’s unlawful conduct.

                                COUNT I - SEX DISCRIMINATION
                IN VIOLATION OF TITLE VII AND MD. CODE ANN, STATE GOV’T §20-606

                  20.     Plaintiff adopts and incorporates by reference all of the allegations set forth in the

           previous paragraphs.

                  21.     In violation of Title VII, and §20-606, Defendant interfered with Plaintiff’s

           benefits, privileges, terms, and conditions of employment due to her sex.

                  22.     Specifically, Mr. Sun overly criticized and scrutinized the job performance of

           Plaintiff and Allen, two female SSRs. He also issued unwarranted performance based

           disciplinary actions to Plaintiff while she was the second highest ranking SSR on her team.

           However, Fell and Barna, two male SSRs with lower sales rankings than Plaintiff, received

           better treatment from Mr. Sun because they were not issued unwarranted discipline, overly

           critiqued and scrutinized or placed on PIPs, like Plaintiff.

                  23.     As a result of the unequal treatment by Mr. Sun due to Plaintiff’s sex, Plaintiff

           resigned and lost bonuses, stock options, and the opportunity to apply for other positions with

           Defendant. She also suffered anguish, depression, anxiety, fear, humiliation, embarrassment, loss

           of self-esteem, loss of income, and other damages.

                  24.     Defendant’s conduct was malicious, willful, and intentional and caused tangible

           harm to Plaintiff that affected the terms, conditions, and privileges of her employment compared

           to similarly situated co-workers outside her protected classes.

                  WHEREFORE, Plaintiff seeks pecuniary, and nonpecuniary damages against Defendant

           in excess of $100,000 plus costs, interest, expenses, attorney fees, and such additional relief as

           the Court deems just.

                                                             5




                                                          JA12
USCA4 Appeal: 23-1502         Doc: 14             Filed: 07/07/2023          Pg: 16 of 281


                      Case 8:20-cv-03564-GJH Document 26 Filed 10/13/21 Page 6 of 11



                                       COUNT II-RETALIATION (SEX)
                                        IN VIOLATION OF TITLE VII
                                   AND MD. CODE ANN, STATE GOV’T §20-606

                     25.   Plaintiff adopts and incorporates by reference all of the allegations set forth in the

           previous paragraphs.

                     26.   In violation of Title VII and §20-606, Defendant interfered with Plaintiff’s terms,

           conditions, benefits, and privileges of employment in retaliation for her protected activity based

           on sex.

                     27.   Between June 2019 and November 2019, Plaintiff engaged in protected activity

           when she informed HR that Mr. Sun discriminated against her due to her gender and filed a

           charge of discrimination with the EEOC in or around October 2019.

                     28.   After Mr. Sun became aware of Plaintiff’s protected activity, he retaliated against

           Plaintiff by issuing false and unwarranted disciplinary actions to her for alleged performance

           issues when she was exceeding Defendant’s performance standards. However, Mr. Sun did not

           issue false discipline to similarly situated SSRs with poor sales performance.

                     29.   Because of Defendant’s unequal treatment, Plaintiff lost bonuses, stock options,

           and the opportunity to apply for vacancies and promotions. She also suffered anguish,

           depression, anxiety, humiliation, embarrassment, loss of self-esteem, loss of income, and other

           damages. Later, she felt forced to resign from her job.

                     30.   Defendant’s conduct was malicious, willful, and intentional and caused tangible

           harm to Plaintiff that affected the terms, conditions, and privileges of her employment as

           compared to employees outside her protected classes.




                                                             6




                                                          JA13
USCA4 Appeal: 23-1502        Doc: 14             Filed: 07/07/2023          Pg: 17 of 281


                    Case 8:20-cv-03564-GJH Document 26 Filed 10/13/21 Page 7 of 11



                  WHEREFORE, Plaintiff seeks pecuniary, and nonpecuniary damages against Defendant

           in excess of $100,000 plus costs, interest, expenses, attorney fees, and such additional relief as

           the Court deems just.

                                           COUNT III-RACE DISCRIMINATION
                                            IN VIOLATION OF 42 U.S.C. §1981

                  31.     Plaintiff adopts and incorporates by reference all of the allegations set forth in the

           previous paragraphs.

                  32.     In violation of 42 U.S.C.§1981, Defendant interfered with Plaintiff’s benefits,

           privileges, terms, and conditions of employment due to her race.

                  33.     In particular, Mr. Sun treated Plaintiff less favorably than Barna and Fell,

           similarly situated Caucasian SSRs who were either not meeting Defendant’s performance

           expectations concerning sales quotas or had far lower sales rankings than Plaintiff. Specifically,

           he overly criticized and scrutinized Plaintiff’s work, issued unwarranted disciplinary actions to

           her, and caused Plaintiff to lose bonuses, stock options, and the opportunity to apply for other

           positions and promotions with Defendant. But for Plaintiff’s race, Mr. Sun would not have

           treated her less favorably than Barna and Fell, both of whom had lower sales than Plaintiff.

                  34.     In addition to Plaintiff, Mr. Sun treated several Black SSRs, i.e., William White,

           Krystle Allen, and Brian Calloway, less favorably than Fell and Barna, their non-minority

           comparators by overly scrutinizing and unfairly critiquing their performance. But for race, Mr.

           Sun would not have treated the Black SSRs more harshly than their comparators. Mr. Sun also

           would not have discharged or constructively discharged two Black male SSRs who, like

           Plaintiff, were meeting Defendant’s sales quotas but for race.




                                                            7




                                                         JA14
USCA4 Appeal: 23-1502         Doc: 14             Filed: 07/07/2023          Pg: 18 of 281


                      Case 8:20-cv-03564-GJH Document 26 Filed 10/13/21 Page 8 of 11



                  35.      Notably, Mr. Sun did not overly scrutinize, issue unwarranted discipline,

           discharge, or constructively discharge Fell the Caucasian SSR who was not meeting Defendant’s

           sales quotas.

                  36.      As a result of Mr. Sun’s unequal treatment because of race, Plaintiff lost bonuses,

           stock options, and the ability to apply for job vacancies and promotions. She also suffered

           anguish, depression, anxiety, fear, humiliation, embarrassment, loss of self-esteem, loss of

           income, and other damages. Later, she felt forced to resign from her job.

                  37.      Finally, the conduct of Defendant’s supervisor, Mr. Sun, was malicious, willful,

           and intentional and caused tangible harm to Plaintiff that affected the terms, conditions, and

           privileges of her employment as compared to similarly situated co-workers outside her protected

           classes.

                  WHEREFORE, Plaintiff seeks pecuniary, and nonpecuniary damages against Defendant

           in excess of $100,000 plus costs, interest, expenses, attorney fees, and such additional relief as

           the Court deems just.

                                            COUNT IV- RETALIATION
                                         IN VIOLATION OF 42 U.S.C. § 1981

                  38.      Plaintiff adopts and incorporates by reference all of the allegations set forth in the

           previous paragraphs.

                  39.      In violation of 42 U.S.C.§ 1981, Defendant interfered with Plaintiff’s terms,

           conditions, benefits, and privileges of employment in retaliation for her protected activity.

                  40.      Between June 2019 and November 2019, Plaintiff engaged in protected activity

           when she informed HR that Mr. Sun discriminated against her due to her race. Within days of

           Mr. Sun’s meetings with HR regarding Plaintiff’s October 2019 discrimination complaint, he

           retaliated against Plaintiff. In particular, he denied her the same opportunities, benefits, and

                                                             8




                                                          JA15
USCA4 Appeal: 23-1502        Doc: 14              Filed: 07/07/2023        Pg: 19 of 281


                    Case 8:20-cv-03564-GJH Document 26 Filed 10/13/21 Page 9 of 11



           conditions of employment that were afforded to her colleagues with no prior protected activity,

           namely, bonuses, stock options, and the opportunity to apply for vacancies and promotions due

           to her race.

                   41.    Because of Defendant’s unequal treatment due to retaliation, Plaintiff felt forced

           to resign from her position in December 2019, just two months after she filed her October 2019

           internal and EEOC discrimination complaints against Mr. Sun.

                   42.    Due to these events, Plaintiff suffered from anguish, depression, anxiety,

           humiliation, embarrassment, loss of self-esteem, loss of income, and other damages.

                   43.    Defendant’s conduct was malicious, willful, and intentional and caused tangible

           harm to Plaintiff that affected the terms, conditions, and privileges of her employment as

           compared to employees outside her protected classes.

                   WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in favor of

           Plaintiff and against Defendant for:

                   A.     Damages in excess of $100,000 or such other amount as determined at the trial of
                          this matter;
                   B.     Costs, interest, and expenses as required by law.
                   C.     Plaintiff’s attorneys’ fees; and
                   D.     Such other and further relief, including monetary and non-monetary damages as
                          this Court deems necessary based upon the facts and circumstances of this case.

                                                                Respectfully submitted,

                                                                /s/Janice Williams-Jones
                                                                Janice Williams-Jones (#25701)
                                                                Law Office of Janice Williams-Jones
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                                                                Counsel for Plaintiff



                                                           9




                                                        JA16
USCA4 Appeal: 23-1502       Doc: 14             Filed: 07/07/2023         Pg: 20 of 281


                 Case 8:20-cv-03564-GJH Document 26 Filed 10/13/21 Page 10 of 11



                                                  JURY DEMAND

                 Plaintiff demands a trial by jury on all issues.


                                                                Respectfully submitted,

                                                                /s/Janice Williams-Jones
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                                                                Counsel for Plaintiff




                                                           10




                                                         JA17
USCA4 Appeal: 23-1502       Doc: 14            Filed: 07/07/2023         Pg: 21 of 281


                   Case 8:20-cv-03564-GJH Document 26 Filed 10/13/21 Page 11 of 11



                                          CERTIFICATE OF SERVICE

                  On this 13th day of October 2021, I certify that the preceding was served upon counsel of

           record via the ECF System and electronic mail as follows:

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                                                                       Janice Williams-Jones (#25701)
                                                                       Counsel for Plaintiff




                                                          11




                                                       JA18
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 22 of 281




                                                                            Page 1
                                   IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MARYLAND

                        TANJANEKA JONES,                  )
                                                          )
                                Plaintiff,                )
                                                          ) Case No.
                        v.                                ) 8:20-cv-03564-GJH
                                                          )
                        ELI LILLY AND COMPANY,            )
                                                          )
                                 Defendant.               )
                        _________________________________ )




                               Deposition of TANJANEKA LA-SHAWN JONES
                                             (Given Remotely)
                                          Thursday, May 5, 2022
                                            10:19 a.m. Eastern




                        Reported by:     Karen Kidwell, RMR, CRR




                                           Magna Legal Services
                                               866-624-6221
                                             www.MagnaLS.com




                                              JA19
USCA4 Appeal: 23-1502    Doc: 14     Filed: 07/07/2023   Pg: 23 of 281




                                                                         Page 2
                 1      REMOTE APPEARANCES:
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                17            Jared Dake, Document Technician
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                21
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                23
                24
                25




                                           JA20
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 24 of 281




                                                                                   Page 3
                 1                               I N D E X
                 2      WITNESS/EXAMINATION                                 Page
                 3      TANJANEKA LA-SHAWN JONES
                 4        By Ms. Wake                                          7
                 5        By Ms. Jones                                       264
                 6        Further by Ms. Wake                                276
                 7
                 8
                 9
                10
                11
                12                           E X H I B I T S
                13        Number                Description                 Page
                14      Exhibit 1   Presentation, Lilly, Sales ........36
                                    Representative Global
                15                  Competency Model,
                                    Confidential, Bates
                16                  LLY-JONES001806-1811
                17      Exhibit 2   Washington DC District ............41
                                    SOP-2019, Confidential, Bates
                18                  LLY-JONES001804-1805
                19      Exhibit 3   Lilly US Employee Handbook, ......46
                                    Confidential, Bates
                20                  LLY-JONES001813-2068
                21      Exhibit 4   12/9/2015 Written Warning to ......56
                                    Tanjaneka Jones from Harold
                22                  Mendoza, Confidential, Bates
                                    LLY-JONES001453-1454
                23
                        Exhibit 5   2015 Wrap up for Tanjaneka L. .....63
                24                  Jones, Confidential, Bates
                                    LLY-JONES001465-1468
                25




                                              JA21
USCA4 Appeal: 23-1502    Doc: 14      Filed: 07/07/2023   Pg: 25 of 281




                                                                          Page 4
                 1                     E X H I B I T S (Cont'd)
                 2        Number           Description                Page
                 3      Exhibit 6    2018 Wrap Up for Tanjaneka L. .....69
                                     Jones, Confidential, Bates
                 4                   LLY-JONES001475-1478
                 5      Exhibit 7    6/28/19 Performance ...............81
                                     Improvement Plan for Tanjaneka
                 6                   Jones from David Sun,
                                     Confidential, Bates
                 7                   LLY-JONES000021-23
                 8      Exhibit 8    E-mail chain, top e-mail .........115
                                     5/6/2019, Mark Ryan Hudson to
                 9                   Grace Faulkner, FW: Field
                                     Note: 3/21/19, Confidential,
                10                   Bates LLY-JONES000206-208
                11      Exhibit 9    E-mail chain, top e-mail .........120
                                     5/6/2019, Mark Ryan Hudson to
                12                   Grace Faulkner, Subject: FW:
                                     Field Note: 4/10/19,
                13                   Confidential, Bates
                                     LLY-JONES000209-210
                14
                        Exhibit 10   Living our mission: Be the ......129
                15                   Leader in Patient Outcomes
                                     document, Confidential, Bates
                16                   LLY-JONES000211-212
                17      Exhibit 11   E-mail chain, top e-mail .........141
                                     8/2/2019, Jing Wei David Sun
                18                   to Tanjaneka Jones, Subject:
                                     August Coaching Report - Tanj,
                19                   with attachment, Confidential,
                                     Bates LLY-JONES000283-286
                20
                        Exhibit 12   E-mail chain, top e-mail .........149
                21                   8/2/2019 Jing Wei David Sun to
                                     Tanjaneka Jones, Subject: RE:
                22                   Check in - TJ, Confidential,
                                     Bates LLY-JONES000287
                23
                24
                25




                                            JA22
USCA4 Appeal: 23-1502    Doc: 14      Filed: 07/07/2023   Pg: 26 of 281




                                                                          Page 5
                 1                     E X H I B I T S (Cont'd)
                 2        Number           Description                Page
                 3      Exhibit 13   E-mail chain, top e-mail .........154
                                     8/23/2019, Jing Wei David Sun
                 4                   to Tanjaneka Jones, Subject:
                                     August Coaching Report - Tanj,
                 5                   with attachments, Bates
                                     LLY-JONES000036-39 with
                 6                   attachments 283-286
                 7      Exhibit 14   8/27/2019 E-mail, Jing Wei .......159
                                     David Sun to Tanjaneka Jones,
                 8                   Subject: PM Check-In
                                     Feedback/Tanj, Confidential,
                 9                   Bates LLY-JONES000040
                10      Exhibit 15   9/25/2019 Field Date, Coaching ...164
                                     report for Tanjaneka Jones
                11                   from Jing Wei Sun,
                                     Confidential, Bates
                12                   LLY-JONES000270-272
                13      Exhibit 16   10/14/2019 Field Date, ...........167
                                     Coaching report for Tanjaneka
                14                   Jones from Jing Wei Sun,
                                     Confidential, Bates
                15                   LLY-JONES000451-453
                16      Exhibit 17   10/16/2019 Notice of Probation ...171
                                     for Tanjaneka Jones from David
                17                   Sun, Confidential, Bates
                                     LLY-JONES000026-30
                18
                        Exhibit 18   Lilly Diabetes BU, Primary .......188
                19                   Care Sales Representative,
                                     July-December 2019 Incentive
                20                   Compensation Plan Details,
                                     Confidential, Bates
                21                   LLY-JONES001724-1731
                22      Exhibit 19   Payroll for Tanjaneka Jones, .....191
                                     2018, Confidential, Bates
                23                   LLY-JONES001106
                24      Exhibit 20   Payroll for Tanjaneka Jones ......191
                                     2019, Confidential, Bates
                25                   LLY-JONES001107




                                            JA23
USCA4 Appeal: 23-1502    Doc: 14      Filed: 07/07/2023   Pg: 27 of 281




                                                                              Page 6
                 1                     E X H I B I T S (Cont'd)
                 2        Number           Description                    Page
                 3      Exhibit 21   Typewritten notes, ...............212
                                     Confidential, Bates
                 4                   LLY-JONES001713-1716
                 5      Exhibit 22   Charge of Discrimination, ........234
                                     Maryland Commission on Civil
                 6                   Rights, Tanjaneka L. Jones,
                                     Bates Jones v. Lilly 000267
                 7
                        Exhibit 23   U.S. Equal Employment ............237
                 8                   Opportunity Commission
                                     Dismissal and Notice of
                 9                   Rights, Tanjaneka L. Jones,
                                     Bates Jones v. Lilly 000266
                10
                        Exhibit 24   Third Amended Complaint       .........238
                11
                        Exhibit 25   Plaintiff's Responses and ........241
                12                   Objections to Defendant's
                                     First Set of Interrogatories
                13
                        Exhibit 26   Progress Notes of Tanjaneka ......252
                14                   Jones 10/21/2019, Bates Jones
                                     v. Lilly 000210-212
                15
                16
                17
                18
                19
                20
                21
                22
                23
                24
                25




                                            JA24
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023     Pg: 28 of 281




                                                                                  Page 7
                 1                        THURSDAY, MAY 5, 2022
                 2                        P R O C E E D I N G S
                 3                                 - - -
                 4                    THE COURT REPORTER:        All parties to this
                 5           deposition are appearing remotely and have
                 6           agreed to the witness being sworn in remotely.
                 7                       TANJANEKA LA-SHAWN JONES
                 8      being first duly sworn, testified as follows:
                 9                    MS. WAKE:   Okay.       Good morning, everyone.
                10                    Let the record reflect that this is the
                11           deposition of Tanjaneka Jones, taken pursuant to
                12           the Federal Rules of Civil Procedure and notice.
                13                              EXAMINATION
                14      BY MS. WAKE:
                15               Q.   Ms. Jones, good morning.         My name is Sarah
                16      Wake, and I am one of the attorneys representing
                17      Eli Lilly in this matter.
                18                    I'm going to ask you a series of questions
                19      today.     Please answer each question fully, as fully
                20      and carefully as you can.           If for any reason you do
                21      not understand a question or you need me to clarify,
                22      please just stop me and ask me to rephrase the
                23      question or make it more clear to you.            I don't ever
                24      want you to answer a question that you're unclear
                25      about.     Do you understand?




                                              JA25
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 29 of 281




                                                                              Page 8
                 1              A.   Yes.
                 2              Q.   And if you answer my question, I'm going
                 3      to assume that you understood the question.        Is that
                 4      fair?
                 5              A.   Yes.
                 6              Q.   The court reporter is here taking down
                 7      everything that we say today.       So please make sure
                 8      that you answer my questions with a spoken response,
                 9      whether -- rather than just shaking your head or
                10      nodding, because the court reporter needs to get
                11      everything down.    Do you understand?
                12              A.   Yes.
                13              Q.   Also, please try to let me finish my
                14      question before you answer, and I'll do the same;
                15      I'll try to make sure that I let you finish answering
                16      before I ask my next question.       That way we won't
                17      talk over each other, and it's easier for the court
                18      reporter to get everything down.        Do you understand?
                19              A.   Yes.
                20              Q.   And if you need to take a break for any
                21      reason at all, please just let me know; I'm happy to
                22      give you a break at any point.       But my only request
                23      is that you please just answer any question that's
                24      pending before we take a break.        Okay?
                25              A.   Yes.




                                             JA26
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 30 of 281




                                                                               Page 9
                 1            Q.   And thank you for your patience this
                 2      morning with the exhibits and getting everything
                 3      settled.   If for any reason you're having trouble
                 4      seeing the exhibits when we pull them up, just let us
                 5      know, and we'll make sure that we rearrange to -- to
                 6      make sure that you can see them appropriately.         Okay?
                 7            A.   Okay.
                 8            Q.   Please state and spell your full name for
                 9      the record.
                10            A.   Tanjaneka La-Shawn Jones.
                11      T-a-n-j-a-n-e-k-a.     L-a-s-h-a-w-n.     J-o-n-e-s.
                12                 MS. WAKE:     Karen, I'm getting a little
                13           feedback.    Can you -- can you hear okay?
                14                 (Discussion off the record.)
                15      BY MS. WAKE:
                16            Q.   All right.     Let's try that question again.
                17                 Can you please state and spell your full
                18      name for the record.
                19            A.   Tanjaneka La-Shawn Jones.
                20      T-a-n-j-a-n-e-k-a, L-a-s-h-a-w-n, J-o-n-e-s.
                21                 MS. WAKE:     I can hear very well now.
                22           Thank you both.
                23      BY MS. WAKE:
                24            Q.   Do you go by any nicknames?
                25            A.   Tanj.    T-a-n-j.




                                             JA27
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023     Pg: 31 of 281




                                                                                Page 26
                 1               A.   Hampton University, Hampton, Virginia.
                 2               Q.   When did you graduate from Hampton?
                 3               A.   2000.    May of 2000.
                 4               Q.   And what degrees did you receive from
                 5      Hampton?
                 6               A.   Bachelor of science in biology.
                 7               Q.   And did you receive any other post college
                 8      education?
                 9               A.   I have a master's degree from the
                10      University of Maryland Global Campus.
                11            Q.      And when did you get your master's?
                12            A.      In May of 2013.
                13            Q.      What do you have a master's in?
                14            A.      Business management.        MBA.
                15            Q.      MBA.    Do you have any other degrees or
                16      certificates?
                17            A.      Yes, I'm a realtor, as well as a -- I have
                18      a title license, and I'm a notary public.
                19            Q.      And when did you get -- I think you named
                20      three.     When did you get those three licenses?
                21            A.      My real estate license, I got in June
                22      of -- June or July of 2021.           My notary license was
                23      licensed in June of 2021.           And my title license, I
                24      was licensed in August of 2021.
                25            Q.      And do you have any other forms of




                                               JA28
USCA4 Appeal: 23-1502    Doc: 14     Filed: 07/07/2023    Pg: 32 of 281




                                                                              Page 27
                 1      educational or vocational training?
                 2            A.   I was a mortgage loan officer as well,
                 3      so . . .
                 4            Q.   When were you a mortgage loan officer?
                 5            A.   In -- I got my license in January of 2020.
                 6            Q.   But you aren't a loan officer anymore?
                 7            A.   No, I'm not.
                 8            Q.   Have you ever served in the armed forces?
                 9            A.   No.
                10            Q.   Prior to working for Eli Lilly, have you
                11      ever been terminated from any job that you worked at?
                12            A.   Not terminated.       Laid off.
                13            Q.   From which company were you laid off?
                14            A.   I was laid off from Cardinal Financial.
                15            Q.   Prior to working at Lilly?
                16            A.   I'm sorry.     Forgive me.    I was laid off
                17      from --
                18            Q.   That's okay.
                19            A.   -- a company called New Star.
                20            Q.   And do you remember why you were laid off
                21      from New Star?
                22            A.   It was a mass layoff.       No, I don't.   They
                23      just laid everybody off.
                24            Q.   Okay.   I understand.
                25                 Prior to working for Lilly, have you ever




                                           JA29
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 33 of 281




                                                                             Page 28
                 1      experienced a break or a gap in employment?
                 2             A.    Yes.
                 3             Q.    Do you remember when?
                 4             A.    In 2011 I was laid off.      Oh -- yes, I was
                 5      laid off from my job.     Sorry.    From UniFirst.   Yes.
                 6             Q.    At any of the employers where you worked
                 7      prior to Eli Lilly -- I'm only asking about before
                 8      Lilly -- did you ever raise an internal complaint of
                 9      discrimination, harassment, or retaliation?
                10             A.    No.
                11             Q.    And do you believe that you were ever
                12      discriminated against by any of those employers prior
                13      to Lilly?
                14             A.    No.
                15             Q.    You've never filed a lawsuit against any
                16      employers other than Eli Lilly?
                17             A.    No.
                18                   I'm thinking; forgive me.
                19                   In -- when I was working at UniFirst,
                20      there was a recovery of wages that I did file a suit
                21      for.
                22             Q.    A claim for unpaid wages, or something
                23      like that?
                24             A.    Correct.
                25             Q.    When was that?




                                             JA30
USCA4 Appeal: 23-1502    Doc: 14     Filed: 07/07/2023   Pg: 34 of 281




                                                                            Page 29
                 1            A.   It might have been between 2011 and 2012.
                 2      I don't remember the dates specifically.
                 3            Q.   Okay.    And what was the result of the wage
                 4      recovery action?
                 5            A.   We settled, and I was -- received the
                 6      compensation that -- that we settled on.
                 7            Q.   Do you remember how much you settled for?
                 8            A.   About $2,500.
                 9            Q.   I'd now like to move to talk about your
                10      employment with Eli Lilly.
                11                 So you began working at Lilly as a senior
                12      sales representative in 2014, correct?
                13            A.   Yes.
                14            Q.   Can you tell me, what are the levels of
                15      sales representatives?     So you were a senior sales
                16      representative.    What were the other sales
                17      representative titles that you --
                18            A.   There was S3.    That's senior -- starting
                19      out, senior sales rep.     I'm not for sure if S4 or --
                20      it's S4 or S5, so that you can go senior sales rep,
                21      executive rep, senior executive rep.
                22            Q.   Can you also be just a regular sales rep?
                23            A.   You can be a sales --
                24                 MS. JONES:    Just a minute.     Would you let
                25           her finish the question before you start




                                            JA31
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 35 of 281




                                                                               Page 30
                 1           talking?     She's not -- you aren't finishing all
                 2           of your questions, and Ms. Jones is talking.           So
                 3           I'm just asking her to do that.
                 4      BY MS. WAKE:
                 5            Q.   You want me to repeat the question?
                 6            A.   Yes, please.
                 7            Q.   Can -- can you be just a regular sales
                 8      representative, like a step below senior?
                 9            A.   S2 is a sales rep.
                10            Q.   So sales rep, senior sales rep, executive
                11      sales rep, and senior executive sales rep?
                12            A.   Yes.
                13            Q.   What were your job duties as a senior
                14      sales representative?
                15            A.   Let's see.      Calling on physicians and
                16      detailing them about the products that were offered
                17      by Eli Lilly.    Providing them with samples.        Engaging
                18      them in conversations around their patients, their
                19      patients' needs for diabetes.        You might be required
                20      to lead conversations for your team.          You want to
                21      perform, your sales results.        You want to engage with
                22      your teammates.
                23            Q.   Did you also have to host events for your
                24      health care provider customers?
                25            A.   Yes.




                                              JA32
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 36 of 281




                                                                            Page 31
                 1               Q.   Any other job duties you can think of?
                 2               A.   No.
                 3               Q.   Did senior sales representatives have
                 4      supervisory authority over anybody else on your team?
                 5               A.   No.
                 6               Q.   Did senior sales representatives -- and
                 7      you, specifically, I should say -- ever conduct a
                 8      performance review for anybody else on your team?
                 9               A.   No.
                10            Q.      Did you sit in on performance reviews for
                11      anybody on your team during your employment with
                12      Lilly?
                13            A.      No.
                14            Q.      Did you ever review any of the performance
                15      reviews that anyone on your team received at any
                16      point during your employment with Lilly?
                17            A.      No.
                18            Q.      And did your -- any of your supervisors
                19      ever ask you to contribute or to help write any of
                20      the performance reviews for anybody on your team
                21      during your employment with Lilly?
                22            A.      No.
                23            Q.      And you worked in what's called the
                24      diabetes business unit for your entire employment
                25      with Lilly, correct?




                                              JA33
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 37 of 281




                                                                               Page 32
                 1            A.    Yes.
                 2            Q.    I -- I assume that in the diabetes
                 3      business unit, you're responsible for selling
                 4      products that relate to diabetes?
                 5            A.    Yes.
                 6            Q.    Which products were you responsible for
                 7      selling?
                 8            A.    Jardiance, Trulicity, Basaglar, Glyxambi,
                 9      Synjardy, Jentadueto, Tradjenta, Humalog.
                10            Q.    Any more?
                11            A.    I mean, the subsequents of Synjardy --
                12      there's different doses and combinations.          But those
                13      are the majority of those, yes.        That's it.
                14            Q.    And those are all diabetes-related
                15      products?
                16            A.    Yes.
                17            Q.    And you were a senior sales representative
                18      for your entire employment with Lilly from 2014 to
                19      2019, right?
                20            A.    Yes.
                21            Q.    And as a senior sales representative, what
                22      type of compensation could you receive from Lilly?
                23            A.    You can go max -- based out, it would be
                24      like at 110,000.
                25            Q.    Were senior sales representatives eligible




                                             JA34
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 38 of 281




                                                                            Page 33
                 1      for increases in the base salary every year?
                 2            A.     Yes.
                 3            Q.     And do you remember when those base
                 4      increases would go into effect?
                 5            A.     Typically the following year after your
                 6      review.    So it would be around February or March.
                 7            Q.     So just to make sure I -- I understand:
                 8      If you in 2018 were going to receive a salary
                 9      increase, you would get that around February of 2019?
                10            A.    Yes.
                11            Q.    And you received several salary increases
                12      during your employment with Lilly, correct?
                13            A.    Yes.
                14            Q.    Tell me a little bit about incentive
                15      compensation.    How did incentive compensation work?
                16            A.    Every year they roll out the incentive
                17      comp, usually typically in January, to show you the
                18      metrics that you need to hit to achieve the payouts.
                19      The last one that we received, the max was 24,000 --
                20      that I received was 24,000.
                21            Q.    And when you say they would give you the
                22      document to show you the payout, so at the beginning
                23      of the year, they're saying, if you hit X number, you
                24      get Y dollars?
                25            A.    Correct.




                                              JA35
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 39 of 281




                                                                               Page 38
                 1                    MS. JONES:     No, the whole document.    She
                 2           wants you to read through it.
                 3      BY MS. WAKE:
                 4            Q.      Ms. Jones, are you saying you're done with
                 5      that first page?
                 6            A.      Give me one moment.
                 7                    MS. JONES:     I can't see where -- Lilly
                 8           Global Sales Rep Mission, Traits, Enablers; I
                 9           can't read that part.
                10                    MS. WAKE:    Would you like me to read it to
                11           you?
                12                    MS. JONES:     No, he just blew it up.    Okay.
                13                    Okay.   Are you ready?
                14                    MS. WAKE:    Jared, I think you can unzoom
                15           now.     Thank you.
                16      BY MS. WAKE:
                17           Q.       All right, Ms. Jones, you can go ahead and
                18      read the second page, just to yourself.
                19                    MS. JONES:     I can't see it.    Can you blow
                20           it up more?
                21                    THE WITNESS:    I'm done.
                22                    MS. WAKE:    Okay.    You can go to the purple
                23           one, Jared, and then I'm going to ask you to
                24           pause.
                25                    THE WITNESS:    I'm done.    I'm finished.




                                              JA36
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 40 of 281




                                                                              Page 39
                 1                    MS. WAKE:   Okay.     Jared, could you go back
                 2           to that first page that Ms. Jones read, please.
                 3      BY MS. WAKE:
                 4            Q.      Ms. Jones, does the document that you just
                 5      read accurately reflect your job duties?
                 6            A.      Yes.
                 7            Q.      Was there anything that you just read
                 8      there that you would say wasn't part of your job
                 9      duties?
                10            A.      No.
                11            Q.      And under the "Understand," that orange --
                12      orangish-reddish arrow right there, it says,
                13      "Understands the healthcare marketplace; the payer
                14      environment; customer (account and stakeholder)
                15      priorities; patient, product and monetary flows;
                16      patient disease states and therapeutic options; and
                17      Lilly resources, processes, policies and procedures."
                18                    Did you understand that this was an
                19      important part of your job at Eli Lilly?
                20            A.      Yes.
                21            Q.      And right there, under the blue arrow that
                22      says "Plan," it says, "Analyzes patient, product and
                23      monetary flows; prioritizes opportunities; builds
                24      territory and account plans; and secures needed
                25      resources."




                                              JA37
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 41 of 281




                                                                            Page 40
                 1                   Did you understand that that was important
                 2      to your job at Eli Lilly?
                 3            A.     Yes.
                 4            Q.     And then finally that purple one.     It
                 5      says, "Executes territory and account plans; achieves
                 6      territory and account plan goals and completes
                 7      actions on a timely basis; and regularly assesses and
                 8      adjusts territory and account plans as needed."
                 9                   Did you understand that that was important
                10      to your job at Lilly?
                11            A.     Yes.
                12                   MS. WAKE:   And Jared, could we zoom in on
                13           "Lilly Global Sales Representative Mission" so
                14           Ms. Williams-Jones can see it.
                15      BY MS. WAKE:
                16            Q.     So it says -- the second one there is to
                17      deliver "improved outcomes for patients through easy
                18      interactions that enable people to feel they are
                19      genuinely cared for and able to trust us."
                20                   Did you understand that how you formed
                21      relationships with your customers was important to
                22      your role?
                23            A.     Yes.
                24            Q.     Did you understand that there were many
                25      skills that go into being a successful sales




                                             JA38
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 42 of 281




                                                                             Page 41
                 1      representative at Lilly?
                 2            A.    Yes.
                 3            Q.    And that there was a certain way that
                 4      Eli Lilly expected its sales representatives to
                 5      engage with the customers?
                 6            A.    Yes.
                 7                  MS. WAKE:    All right.     We can close out of
                 8           that one, Jared, and you can pull up the exhibit
                 9           labeled Number 2, which is Lilly Jones 1804.
                10                  Could you zoom in on that for Ms. Jones
                11           for me?   Make it any bigger?
                12                  Okay, Ms. Jones, I'm showing you what I
                13           would like to please ask Karen to mark as
                14           Exhibit 2.
                15            (Exhibit 2 was marked for identification.)
                16      BY MS. WAKE:
                17            Q.    This is a 2019 SOP, which I think means
                18      "standard operating procedure," for the Washington DC
                19      District.   Correct?
                20            A.    Yes.
                21            Q.    Was this your district in 2019?
                22            A.    Yes.
                23            Q.    And are you familiar with this document?
                24            A.    Yes.
                25            Q.    It sets forth the expectations for your




                                             JA39
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 43 of 281




                                                                               Page 42
                 1      team and your district, correct?
                 2            A.      Yes.
                 3            Q.      And same thing -- this one's about a page
                 4      and a half.     Take your time to read through it to
                 5      yourself, and then just let me know when you're done.
                 6                    And Jared can then flip to the next page.
                 7            A.      I'm all set.    Thank you.
                 8                    MS. WAKE:   Okay, Jared, you could scroll
                 9           down under "Customer" for her, please.
                10                   THE WITNESS:     I'm all set.     Thank you.
                11                   MS. WAKE:    And scroll down for her, Jared,
                12           please, under "P2P Programming."
                13                   THE WITNESS:     I'm all set.     Thank you.
                14      BY MS. WAKE:
                15           Q.      And then this is the last page.
                16           A.      I'm all set.     Thank you.
                17                   I'm finished.     Thank you.
                18           Q.      Great.
                19                   MS. WAKE:    Jared, could you flip back to
                20           the first page for Ms. Jones, please?          Thank
                21           you.
                22      BY MS. WAKE:
                23           Q.      Is there anything in the SOP that you just
                24      read that wasn't part of your job duties at Lilly,
                25      Ms. Jones?




                                              JA40
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023     Pg: 44 of 281




                                                                                    Page 43
                 1               A.   No.
                 2               Q.   If you look under "Customer," that looks
                 3      like it's highlighted in yellow --
                 4                    MS. WAKE:    Jared, could you scroll down a
                 5           little bit, so she can see that "Customer"
                 6           section.        Thank you.     That's good.
                 7      BY MS. WAKE:
                 8               Q.   It says, "Portfolio precall planning.            Use
                 9      Tableau to precall plan.          Utilize PerQs on every
                10      call!"
                11                    Can you tell me what "Tableau" is?
                12            A.      It's a system there where they track the
                13      physicians' writing habits, or data about how many
                14      scripts the physician might write, what they're
                15      writing, how often they're writing, the frequency of
                16      what they're writing.
                17            Q.      So just data about the customers?
                18            A.      Yes.
                19            Q.      And what is "PerQs"?
                20            A.      Patient expectations, results, question --
                21      I forget what the last one was.           But it basically
                22      outlines the precall plan.
                23            Q.      That's an impressive memory.            So it's a --
                24      it's an acronym for precall planning?
                25            A.      Correct.




                                                JA41
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 45 of 281




                                                                              Page 44
                 1               Q.   All right.   How were you supposed to use
                 2      Tableau?
                 3               A.   So when you're in the ride-along with your
                 4      manager, you pull up the physician's information that
                 5      you're going to call on.       You review all three
                 6      products that you're responsible for, and basically
                 7      analyze how they're writing and which brands they're
                 8      writing.
                 9               Q.   And why would that be important?
                10            A.      Because it allows you to see what they're
                11      actually doing, so you know that you -- if they're
                12      just telling you -- you know the difference if
                13      they're just telling you something, or if they're
                14      actually doing it.      It helps you to plan for
                15      precall -- use the information for precall planning.
                16            Q.      Okay.   And then how were you supposed to
                17      use PerQs, or precall planning?
                18            A.      So basically you talk about who the
                19      patient is, what's the expectation or conversation
                20      with the physician that you're trying to get, you
                21      know, the result or -- you know, action that you want
                22      them to take, in terms of acting on behalf of the
                23      patient, what question you're going to ask.
                24                    Like I said, I forget what the last "S"
                25      meant.




                                              JA42
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 46 of 281




                                                                               Page 45
                 1                    So -- and then you just kind of plan out
                 2      the situation, or rehearse what you're going to go in
                 3      there and ask.
                 4            Q.      And there in red, it says you're supposed
                 5      to use PerQs, or precall planning, for every call?
                 6            A.      Yes.
                 7            Q.      And you understood that using Tableau and
                 8      the PerQs method to precall plan were important to
                 9      Eli Lilly?
                10            A.      Yes.
                11            Q.      If you look under "Business Results" --
                12                    MS. WAKE:   So, Jared, if you could scroll
                13           down a little bit for Ms. Jones, please.
                14      BY MS. WAKE:
                15            Q.      There are several things listed under
                16      "Business Results."       One of them is called "CAT
                17      Execution."     Could you explain to me what "CAT
                18      Execution" means?
                19            A.      Call Attainment Tool.
                20            Q.      And how are you supposed to use CAT
                21      execution?
                22            A.      It allows you to see how much touches you
                23      have in the month that you're calling on a physician.
                24      So if you say you have to call on a physician three
                25      times, you know how many times you called, to reach a




                                              JA43
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 47 of 281




                                                                                Page 46
                 1      reach.
                 2               Q.   And for these items listed in the SOP that
                 3      you just reviewed, you knew that these categories of
                 4      the Culture and the Customer and the Business Results
                 5      were important to Lilly, correct?
                 6               A.   Yes.
                 7               Q.   Okay.     Now we're going to go to the next
                 8      exhibit, which is the handbook.         It's numbered 3 in
                 9      the ZIP file.        This is a very big document, but
                10      luckily we're only going to look at a couple pages.
                11                    Lilly had a policy prohibiting
                12      discrimination and retaliation in the workplace,
                13      correct?
                14            A.      Yes.
                15            Q.      And Lilly prohibits discrimination on the
                16      basis of both sex and race?
                17            A.      Yes.
                18                    MS. WAKE:    And Karen, I'm going to ask you
                19           to please mark this handbook as Exhibit 4.
                20            (Exhibit 3 was marked for identification.)
                21                    MS. WAKE:    This is Eli Lilly's
                22           U.S. employee handbook.        And Jared, if you'll go
                23           to the very, very last page for Ms. Jones,
                24           page 242, I would just like to show Ms. Jones
                25           that this is marked as revised January 1st,




                                                JA44
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 48 of 281




                                                                              Page 47
                 1           2019.
                 2                   THE COURT REPORTER:     I believe this is
                 3           Exhibit 3.     Thank you.
                 4                   MS. WAKE:   That's correct.      Yes.
                 5      BY MS. WAKE:
                 6            Q.     Do you see there where it says "Revised
                 7      January 1st, 2019"?
                 8            A.     Yes.
                 9            Q.     And do you recognize this document?
                10            A.     Yes.
                11            Q.     And have you looked at Eli Lilly's
                12      handbook before?
                13            A.     Yes.
                14                   MS. WAKE:   Jared, now I'm going to ask you
                15           to go all the way back to page 2.         And at the
                16           bottom, it would be marked "Page 2 of 242."
                17           Right there, yeah.
                18      BY MS. WAKE:
                19            Q.     So there in that second paragraph under
                20      "Reporting Discrimination or Harassment," it says
                21      employees are expected to report discrimination that
                22      they experience to management or HR so that the
                23      company can promptly investigate.        Correct?
                24            A.     Yes.
                25            Q.     And did you know how to report




                                             JA45
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 49 of 281




                                                                              Page 48
                 1      discrimination and harassment at Eli Lilly?
                 2            A.    Yes.
                 3                  MS. WAKE:    And now if you could go to
                 4           page -- at the bottom, it would be labeled
                 5           page 17, Jared.
                 6                  Great, right there.      Yes.
                 7      BY MS. WAKE:
                 8            Q.    This page talks about disciplinary action.
                 9      And where it says "Performance Management," it says,
                10      "Performance Management helps employees prioritize
                11      their goals and align their individual work to the
                12      goals of the company.     Supervisors provide ongoing
                13      coaching to help their employees learn, grow, and
                14      progress in their work.      Where appropriate, the
                15      company uses discipline to correct behavioral or
                16      performance issues.     And the goal of discipline is to
                17      provide an employee the chance to improve performance
                18      and to meet expectations for his or her job."
                19                  Correct?
                20            A.    Yes.
                21            Q.    Would weekly check-ins with your
                22      supervisor be a way to help correct performance
                23      concerns?
                24            A.    If they happen.
                25            Q.    So that's a yes, they would be?




                                             JA46
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 50 of 281




                                                                               Page 49
                 1            A.   Yes, if they happen.
                 2            Q.   And what about providing specific examples
                 3      on ways to improve performance:        Would that be a
                 4      helpful way to improve on performance?
                 5            A.   Please rephrase your question?          Sorry.
                 6            Q.   And what about a supervisor providing you
                 7      with specific examples on how -- how to do your job:
                 8      Would that be a helpful way to improve performance?
                 9            A.   If they could give that, yes.
                10            Q.   And let's look where it says -- part that
                11      starts "Supervisors" there.        So "Supervisors will
                12      work with employees to address any aspects of
                13      performance or behavior that require correction.
                14      Please note that either an employee or a supervisor
                15      may call upon human resources in connection with
                16      disciplinary action.     If disciplinary action is
                17      warranted, it may range anywhere from a warning to
                18      separation."
                19                 So did you understand that your
                20      supervisors had the right to discipline you?
                21            A.   Yes.
                22            Q.   And did you understand that both you and
                23      your supervisors could talk to and work with HR about
                24      any discipline?
                25            A.   Yes, but -- yes.




                                             JA47
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 51 of 281




                                                                            Page 50
                 1                    MS. WAKE:   And there under "Probation,"
                 2           Jared, if you could scroll down so she could see
                 3           "Probation," please.
                 4      BY MS. WAKE:
                 5               Q.   In that second sentence there, it says,
                 6      "The maximum probationary period is three months."
                 7      Is that right?
                 8               A.   Yes.
                 9               Q.   And under "Probation" there, it says,
                10      "probation provides a period during which an employee
                11      is given an opportunity for immediate improvement."
                12      Right?
                13            A.      Yes.
                14            Q.      And in that same paragraph, it says, "As
                15      with some other discipline, eligibility for and/or
                16      the amount of certain elements of compensation may be
                17      affected as a result of probation."
                18                    So did you understand that your
                19      compensation could be impacted if you were deemed not
                20      meeting performance expectations?
                21            A.      Yes.
                22            Q.      And then the next -- last sentence in the
                23      "Probation" section, it says, "Upon satisfactory
                24      completion of probation, an employee is removed from
                25      probation."




                                              JA48
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 52 of 281




                                                                                 Page 51
                 1                    So if you meet the probation criteria, you
                 2      are removed from probation.         Correct?
                 3            A.      Yes.
                 4                    MS. JONES:    Could you hold a second?
                 5           FedEx just came in.       Let me see if this is our
                 6           package, okay?
                 7                    MS. WAKE:    Can she answer the question
                 8           first?
                 9                    MS. JONES:    Okay.   I'm sorry.      Go ahead.
                10                 THE WITNESS:       Can you repeat the question?
                11      BY MS. WAKE:
                12            Q.   That's okay, sure.        So what I just read to
                13      you was, "Upon satisfactory completion of probation,
                14      an employee is removed from probation."
                15                 And my question to you was, so if the
                16      employee meets the criteria of a probation, they are
                17      removed from probation, correct?
                18            A.   Yes.
                19            Q.   Okay.
                20                 MS. WAKE:       Ms. Jones -- Ms. Jones,
                21           actually, do you want to take just a five-minute
                22           break so Ms. Jones can stand up, stretch, go to
                23           the restroom, you can check FedEx --
                24                 MS. JONES:       Yeah, that's fine.      That's
                25           perfect.




                                              JA49
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 53 of 281




                                                                                 Page 52
                 1                  MS. WAKE:    All right.     Let's take five
                 2           minutes for everybody.
                 3                  MS. JONES:    Okay.
                 4                  (A recess transpired from 11:18 a.m. to
                 5                  11:26 a.m.)
                 6                  THE COURT REPORTER:       Back on the record.
                 7                  MS. WAKE:    Okay.     Great.   Thank you.
                 8                  We now have paper copies of the exhibits
                 9           delivered to Ms. Jones.
                10      BY MS. WAKE:
                11            Q.    So we're going to start now talking
                12      about -- specifically about your employment at Lilly
                13      and your different supervisors, Ms. Jones.
                14                  MS. WAKE:    So, Jared, you can pull down
                15           that exhibit.     We're done with that one.     Thank
                16           you.
                17      BY MS. WAKE:
                18            Q.    Okay.    Ms. Jones, when you started at
                19      Eli Lilly in 2014, was a man named Harold Mendoza
                20      your supervisor?
                21                  I'm sorry.    You're on mute.
                22            A.    Yes.
                23            Q.    What district were you in?
                24            A.    Baltimore District.
                25            Q.    And do you remember what territory you




                                             JA50
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023     Pg: 54 of 281




                                                                                Page 53
                 1      were in?
                 2            A.     Towson.
                 3            Q.     Towson?
                 4            A.     Yes.
                 5            Q.     Did you have a sales partner when you were
                 6      in the Towson, Maryland, territory?
                 7            A.     Yes.
                 8            Q.     Who was the sales partner?
                 9            A.     Tim -- Timothy Schott.
                10           Q.      And can you explain to me, how did it work
                11      when you had a sales partner?          Did you have different
                12      clients you were supposed to call on?           Did you call
                13      on them together?      Just tell me a little bit about
                14      how working in a team works.
                15           A.      You basically call on those same
                16      customers.   However, you might have different
                17      products, or the amount of times that you call on
                18      that customer might vary.          But depending on the lead
                19      product that you're calling on with.
                20           Q.      So you and Timothy could both call on the
                21      same customers, just to sell different products?
                22           A.      Correct.
                23           Q.      And would you get sales credit for the
                24      products that your partner or your teammate was
                25      selling?   Or were your business results numbers just




                                               JA51
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023     Pg: 55 of 281




                                                                                 Page 54
                 1      the products that you were responsible for selling?
                 2               A.   So when we started, my lead product was
                 3      Jardiance; his lead product was Trulicity.            It was
                 4      separate then.        And you got credit based on the
                 5      weight of your lead product, but you still got -- so
                 6      if it wasn't your lead product, you got what he got,
                 7      and vice versa:        He got what I got.      For -- in terms
                 8      of the result, business result.
                 9               Q.   So would you and your partner -- I saw
                10      some examples where like your sales results were
                11      106 percent of your goal.           Would Timothy's also have
                12      been then 106 percent of his goal, or could his have
                13      been different than yours?
                14            A.      I don't remember.        I'm -- it's been a
                15      while.
                16            Q.      Okay.
                17            A.      I don't remember that.        I don't remember.
                18      I just know that --
                19            Q.      That's all right.
                20            A.      I believe your weight -- your first
                21      product is weighted a little differently, because
                22      it's your lead product.        That's what you're
                23      responsible for.
                24            Q.      So you would get like a little more credit
                25      for the one you were responsible for?




                                                JA52
USCA4 Appeal: 23-1502    Doc: 14          Filed: 07/07/2023   Pg: 56 of 281




                                                                                   Page 55
                 1              A.    I don't want to say -- I don't recall
                 2      exactly.     I don't know.      I don't -- I don't know.
                 3              Q.    Okay.    If you don't -- if you don't know,
                 4      I don't want you to answer.           So that's fine.
                 5              A.    Okay.
                 6              Q.    Do you remember how long Mr. Mendoza
                 7      supervised you for?
                 8              A.    From August 2014 to July of 2017.
                 9              Q.    Do you know his sex or his gender?
                10             A.    Male.
                11             Q.    Do you know his race?
                12             A.    Hispanic, or -- I don't know.            White.
                13      Caucasian.
                14             Q.    Did Mr. Mendoza ever issue --
                15                   MS. WAKE:      I'm sorry, did someone want to
                16             say something?
                17                   THE WITNESS:       No.
                18      BY MS. WAKE:
                19             Q.    Did Mr. Mendoza ever issue discipline to
                20      you?
                21             A.    Yes.
                22                   MS. WAKE:      Okay, Jared, why don't you go
                23             ahead and bring up what I think will be Lilly
                24             Jones 4.    It should start with Lilly-Jones 1453
                25             at the bottom.




                                                JA53
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 57 of 281




                                                                              Page 56
                 1            (Exhibit 4 was marked for identification.)
                 2                 MS. WAKE:      And Karen, this is Exhibit 4,
                 3           correct?
                 4      BY MS. WAKE:
                 5            Q.   Okay.     So I'm showing you what's been
                 6      marked as Exhibit 4.      Do you recognize this document?
                 7                 MS. JONES:      You need to -- look.
                 8                 MS. WAKE:      I'm sorry.     I can't hear what
                 9           you are saying.
                10                 THE WITNESS:       I have the document.
                11      BY MS. WAKE:
                12            Q.   Okay.     Do you recognize this document?
                13            A.   Yes.
                14            Q.   What is it?
                15            A.   It's a warning.
                16            Q.   This is a December 9th, 2015, written
                17      warning from Harold Mendoza, correct?
                18            A.   Yes.
                19            Q.   To you?
                20            A.   Yes.
                21            Q.   And did you sign the document on the
                22      second page?
                23            A.   Yes.
                24            Q.   And up there at the top of the first page,
                25      it says that you had a discussion with Mr. Mendoza on




                                              JA54
USCA4 Appeal: 23-1502    Doc: 14     Filed: 07/07/2023   Pg: 58 of 281




                                                                              Page 57
                 1      December 9th, and that someone named Laura Lemons was
                 2      present for that.   Is that correct?
                 3            A.   Yes.
                 4            Q.   Do you remember that meeting?
                 5            A.   Yes.
                 6            Q.   What was the purpose of that meeting?
                 7            A.   It was a warning for my performance.
                 8            Q.   And in that first paragraph there,
                 9      Mr. Mendoza says, "This disciplinary action is being
                10      taken in response to your unacceptable performance."
                11      Correct?
                12            A.   Yes.
                13            Q.   And in the document, he gives some
                14      specific examples of the performance issues.         And he
                15      writes, "Failure to consistently engage customers in
                16      a meaningful selling dialogue including using active
                17      listening skills, asking effective questions and
                18      demonstrating agile communication skills."         Correct?
                19            A.   Yes.
                20            Q.   And in that same paragraph, Mr. Mendoza
                21      says that he gave you significant coaching.         He calls
                22      it significant coaching.
                23                 MS. JONES:   You know what, I'm going to
                24           just object here and say, we will stipulate that
                25           the document says whatever it says.         You don't




                                            JA55
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 59 of 281




                                                                             Page 62
                 1      value-based selling during field visits and
                 2      collaboration days."      Correct?
                 3            A.     Yes.
                 4            Q.     And then if you look down near the bottom
                 5      there, when it says -- again, calls this document
                 6      "disciplinary action," in the second to last
                 7      paragraph.    It says, "I will document this action in
                 8      your performance management year-end summary and
                 9      consider it in determining your year-end performance
                10      level and total compensation."       Correct?
                11            A.     Yes.
                12            Q.     And you understood when you signed this
                13      that there were certain things that you needed to do
                14      for your performance to be considered improved,
                15      correct?
                16            A.     Yes.
                17            Q.     And Mr. Mendoza in this document gives you
                18      several specific instructions about what you need to
                19      do for your performance to improve, correct?
                20            A.     Yes.
                21            Q.     Why do you think that Mr. Mendoza issued
                22      this performance document to you?
                23                   MS. JONES:   Objection.     Calls for
                24           speculation.
                25




                                             JA56
USCA4 Appeal: 23-1502    Doc: 14          Filed: 07/07/2023   Pg: 60 of 281




                                                                                 Page 63
                 1      BY MS. WAKE:
                 2               Q.     Why do you think that he issued the
                 3      document to you?
                 4                      MS. JONES:     Same objection.
                 5                      You can answer.
                 6                      THE WITNESS:    I don't know.     I don't know.
                 7                      MS. WAKE:    Okay.    All right, we're going
                 8           to go ahead and pull up the next exhibit, Jared,
                 9           which is -- starts at the bottom Lilly Jones
                10           1465.      This will be Number 5.
                11            (Exhibit 5 was marked for identification.)
                12      BY MS. WAKE:
                13            Q.        Ms. Jones, what -- are you ready,
                14      Ms. Jones?
                15            A.        Yes.
                16            Q.        Ms. Jones, what's a wrap-up document?
                17            A.        It's an end-of-the-year performance
                18      review.       It tells you --
                19            Q.        Do sales representatives -- I'm sorry.      Go
                20      ahead.
                21            A.        It tells you everything that -- your
                22      performance for the year, for that year-end.
                23            Q.        And it looks to me like you filled out
                24      part of this and then your supervisor filled out part
                25      of this.      Is that how the wrap-ups would work?




                                                JA57
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 61 of 281




                                                                              Page 64
                 1              A.   Yes.
                 2              Q.   And this is a wrap-up from 2015?
                 3              A.   Yes.
                 4              Q.   So why don't you turn to the third page,
                 5      which is where the supervisor comments come into
                 6      play.
                 7                   And this wrap-up document would have been
                 8      given to you by Mr. Mendoza, correct?
                 9              A.   Yes.
                10              Q.   And on page 3 there, under "Customer
                11      Engagement," it talks about not consistently engaging
                12      customers in a meaningful selling dialogue.         Correct?
                13                   MS. JONES:    Same objection, that we'll
                14           stipulate the document says what it says, and
                15           continuing.
                16      BY MS. WAKE:
                17              Q.   Ms. Jones, you can answer the question.
                18              A.   Yes.
                19              Q.   And he also, again, mentions value-based
                20      selling, and several field visits that he did with
                21      you, correct?
                22              A.   Yes.
                23              Q.   Down there at the very bottom, Mr. Mendoza
                24      for 2015 rates you as not sufficiently meeting job
                25      expectations for the year, correct?




                                              JA58
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 62 of 281




                                                                               Page 65
                 1                   MS. JONES:     Can we have the -- Jared move
                 2           this?    I can't see it, because I don't have the
                 3           hard copy.     I gave that to my client.
                 4                   Could you go down to where you're
                 5           referring to?
                 6                   MS. WAKE:    Yes.
                 7                   It's all the way at the bottom, Jared.
                 8      BY MS. WAKE:
                 9            Q.     So for 2015, Ms. Jones, Mr. Mendoza rated
                10      you as not sufficiently meeting job expectations,
                11      correct?
                12           A.      Yes.
                13           Q.      And this was your first full year at
                14      Eli Lilly?
                15           A.      Yes.
                16           Q.      And you signed the document, correct?
                17           A.      Yes.
                18           Q.      And why do you think Mr. Mendoza gave you
                19      the rating of not sufficiently meeting job
                20      expectations?
                21                   MS. JONES:     Objection.    Calls for
                22           speculation.
                23                   You can answer.
                24                   THE WITNESS:     Because he felt like I
                25           wasn't meeting the job expectations.




                                              JA59
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 63 of 281




                                                                           Page 66
                 1      BY MS. WAKE:
                 2            Q.    Any other reasons?
                 3            A.    No.
                 4            Q.    And after receiving this 2015 wrap-up, did
                 5      Mr. Mendoza set up weekly check-ins with you?
                 6            A.    Yes.
                 7            Q.    What do you think the purpose of the
                 8      weekly check-ins was?
                 9            A.    To improve my performance.
                10                  MS. WAKE:    You can take the document down
                11           now, Jared.    Thank you.
                12      BY MS. WAKE:
                13            Q.    And was someone named Andrea Gibson your
                14      next supervisor at Lilly?
                15            A.    Yes.
                16            Q.    And what district did you work in when
                17      Andrea Gibson supervised you?
                18            A.    Baltimore.
                19            Q.    Do you remember how long Andrea Gibson
                20      supervised you?
                21            A.    July of 2017 until February of 2018.
                22            Q.    Do you know Andrea Gibson's sex or gender
                23      identity?
                24            A.    Yes.
                25            Q.    What is it?




                                             JA60
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 64 of 281




                                                                               Page 67
                 1            A.      Female.
                 2            Q.      And do you know their race?
                 3            A.      Yes.
                 4            Q.      What is it?
                 5            A.      African-American.
                 6            Q.      Did Andrea Gibson ever discipline you?
                 7            A.      No.
                 8            Q.      And was Jacquelyne or Jax Porter your next
                 9      supervisor at Eli Lilly?
                10           A.       Yes.
                11                    MS. JONES:    Excuse me.    What was the name
                12           again?     I didn't catch the last name.       Jack who?
                13                    MS. WAKE:    Jax Porter.
                14                    MS. JONES:    Okay.
                15      BY MS. WAKE:
                16           Q.       Was that your next supervisor at
                17      Eli Lilly?
                18           A.       Yes.
                19           Q.       What district were you in when Jax Porter
                20      supervised you?
                21           A.       The Washington district.       Washington, D.C.
                22           Q.       Why did you move from the Baltimore
                23      district to the Washington district?
                24           A.       I was transferred.
                25           Q.       Do you remember when you were transferred?




                                                JA61
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 65 of 281




                                                                               Page 68
                 1               A.   February 1st of 2018.
                 2               Q.   Do you remember why you were transferred?
                 3               A.   They said it was a realignment.
                 4               Q.   Did you have a sales partner when
                 5      Jax Porter supervised you?
                 6               A.   Yes.
                 7               Q.   Who was your sales partner?
                 8               A.   I had two.     Sharon Boggs and Tricia
                 9      Schroll.
                10            Q.      When you say you had two, do you mean you
                11      had two different teams, or were you a group of
                12      three?
                13            A.      We were the only group of three.
                14            Q.      Do you remember how long Jax Porter
                15      supervised you for?
                16            A.      From February 1st of 2018 until February
                17      of 2019 -- February 1st of 2019.
                18            Q.      Do you know Jax Porter's sex?
                19            A.      Yes.
                20            Q.      What is it?
                21            A.      African-American.
                22                    MS. JONES:     She said "sex."
                23                    THE WITNESS:     I'm sorry -- I'm sorry.
                24           Sex:     Female.    Forgive me.    I'm sorry.
                25




                                                JA62
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 66 of 281




                                                                            Page 69
                 1      BY MS. WAKE:
                 2            Q.   That's okay.
                 3                 Do you know Jax Porter's race?
                 4            A.   Yes.
                 5            Q.   What is it?
                 6            A.   African-American.
                 7            (Exhibit 6 was marked for identification.)
                 8                 MS. WAKE:     Jared, if you could please pull
                 9           up the next exhibit, which starts at the bottom
                10           Lilly Jones 1475.
                11      BY MS. WAKE:
                12            Q.   Ms. Jones, take your time to look through
                13      the hard copy, and just let me know when you're done.
                14                 MS. JONES:     And for the record, could
                15           you -- is "Jax Porter" the same as "Jacquelyne
                16           Porter" on this document?
                17                 MS. WAKE:     Yes.
                18                 MS. JONES:     Okay.    Maybe you can -- can
                19           the witness clarify that, please?
                20      BY MS. WAKE:
                21            Q.   Is Jacquelyne Porter Jax Porter?
                22            A.   Yes.
                23            Q.   And this is your 2018 wrap-up or
                24      performance review, correct?
                25            A.   Yes.




                                             JA63
USCA4 Appeal: 23-1502    Doc: 14          Filed: 07/07/2023   Pg: 67 of 281




                                                                              Page 70
                 1               Q.     And if you look to page 3 there, under
                 2      "Supervisor Documentation," Ms. Porter says, under
                 3      "Comments by Jax Porter" and "Customer Value" --
                 4                      MS. JONES:    Can you wait a minute while
                 5              Jared gets there, you know, so I can see it
                 6              also?
                 7                      MS. WAKE:    Yes, I'm speaking to tell Jared
                 8              what page it's on.
                 9                      So, Jared, it's on page 3.
                10                      Thank you.   So under "Results and
                11           Behaviors," where it says "Comments by
                12           Jax Porter," you can scroll to that part, Jared.
                13      BY MS. WAKE:
                14              Q.      Ms. Jones, are you there in the physical
                15      copy?
                16              A.      Yes.
                17              Q.      So under the comments by Jax Porter, it
                18      says "Customer Value," and it talks again about
                19      precall planning and VBS, correct?
                20              A.      Yes.
                21                      MS. JONES:   Same objection.
                22      BY MS. WAKE:
                23              Q.      And it says there that you acknowledged
                24      that you needed to invest more time and practice in
                25      reviewing studies and data.           Correct?




                                                JA64
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 68 of 281




                                                                             Page 71
                 1              A.   Yes.
                 2              Q.   Do you remember telling Ms. Porter that
                 3      you knew that you needed to spend more time doing
                 4      that?
                 5              A.   Yes.
                 6              Q.   And Ms. Porter set a weekly check-in with
                 7      you after receiving this wrap up, correct?
                 8              A.   Yes.
                 9              Q.   Down there at the bottom, Ms. Porter is
                10      telling you how to focus your development for 2019.
                11      Do you see that part?
                12              A.   Yes.
                13              Q.   She's telling you that in 2019, you need
                14      to focus on precall planning and value-based selling.
                15      Do you remember being told in 2019 that you needed to
                16      focus on precall planning and value-based selling?
                17              A.   Based on the document, yes.
                18              Q.   And then if you turn to the next page,
                19      under "Performance Assessment," Jax Porter ranks you
                20      as not sufficiently meeting job expectations for the
                21      performance period, correct?
                22              A.   Correct.
                23              Q.   And why do you think Jax Porter gave you
                24      this performance rating?
                25                   MS. JONES:   Objection.     Calls for




                                             JA65
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 69 of 281




                                                                              Page 72
                 1              speculation.
                 2                    You can answer.
                 3                    THE WITNESS:     I don't know.
                 4      BY MS. WAKE:
                 5               Q.   When Jax Porter supervised you --
                 6                    MS. WAKE:     Jared, we're done with the
                 7              document.    Thank you.
                 8      BY MS. WAKE:
                 9               Q.   When Jax Porter supervised you, do you
                10      remember missing a lunch with a customer?
                11              A.    Yes.
                12              Q.    And do you remember that that customer
                13      asked Jax Porter that you not return to the office?
                14              A.    No.    That's inaccurate.
                15              Q.    So if Ms. Porter said that a customer
                16      asked you not to return to the office, she would be
                17      lying?
                18              A.    It wasn't the customer.      It was somebody
                19      else.
                20              Q.    Who was it?
                21              A.    The office manager, who was fired.
                22              Q.    The office manager worked at the customer,
                23      right?     The doctor's office?
                24              A.    I don't call on the office manager.      I
                25      call on the customer.




                                               JA66
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 70 of 281




                                                                              Page 73
                 1            Q.      Well, the office is your customer, right?
                 2            A.      Correct.
                 3            Q.      And somebody at the office asked that you
                 4      not return?
                 5            A.      Correct.
                 6            Q.      And you didn't tell Jax Porter about
                 7      missing the lunch with the customer, right?
                 8            A.      No, I did.
                 9            Q.      So did she first find out about it from
                10      another sales representative on your team?
                11           A.    Yes.     She found out from my partner.
                12           Q.    Not from you?
                13           A.    No.
                14           Q.    So you didn't tell Ms. Porter that you
                15      missed the lunch?
                16                 MS. JONES:      Objection.     She said that.
                17                 THE WITNESS:       I just said that.
                18      BY MS. WAKE:
                19           Q.    So you didn't talk to Ms. Porter about
                20      missing the lunch; she found out about it from --
                21                 MS. JONES:      That's been asked and
                22           answered.     That's what she said when you asked
                23           her the first time.
                24      BY MS. WAKE:
                25           Q.    Can you answer the question, please?




                                              JA67
USCA4 Appeal: 23-1502    Doc: 14      Filed: 07/07/2023   Pg: 71 of 281




                                                                                Page 74
                 1            A.    After my partner told on me about the
                 2      missed lunch, there was -- there was a communication
                 3      issue, and I explained that to her.
                 4            Q.    You didn't proactively tell Ms. Porter
                 5      about it until your teammate told Ms. Porter?
                 6            A.    Correct.
                 7            Q.    Your next supervisor at Eli Lilly was Mark
                 8      Hudson, correct?
                 9            A.    He wasn't my supervisor.
                10            Q.    Mr. Hudson was not your supervisor?
                11            A.    He was an interim, I guess.       He was
                12      filling in for -- until a manager came.           He wasn't my
                13      manager.   He was an interim.
                14            Q.    And do you mean "interim"?
                15            A.    Yes.
                16            Q.    So he supervised you from February 2019
                17      until about May 2019?
                18            A.    Yes.    He's a trainer.
                19            Q.    But he supervised you from that time?
                20            A.    Yes, the trainer.     Yes, he did.
                21            Q.    Okay.    I understand that he was a trainer.
                22      But from February 2019 to May 2019, he functioned as
                23      your supervisor, correct?
                24            A.    He wasn't my supervisor.       He was the
                25      trainer who oversaw our team.




                                             JA68
USCA4 Appeal: 23-1502    Doc: 14     Filed: 07/07/2023   Pg: 72 of 281




                                                                         Page 75
                 1            Q.   He was the interim district sales manager
                 2      from February 2019 to May 2019; is that correct?
                 3            A.   Yes.
                 4            Q.   And a district sales manager is
                 5      responsible for supervising the team, correct?
                 6            A.   Yes.
                 7            Q.   So on an interim basis, from February 2019
                 8      to May 2019, Mr. Hudson functioned as your
                 9      supervisor, correct?
                10           A.    An acting supervisor, yes.
                11           Q.    And he performed ride-alongs with you,
                12      correct?
                13           A.    He performed two ride-alongs with me, yes.
                14           Q.    So he went into the field with you to see
                15      your customers, correct?
                16           A.    Yes.
                17           Q.    And he offered you feedback on your
                18      performance, correct?
                19           A.    Yes.
                20           Q.    And Mark Hudson was the Mid-Atlantic area
                21      sales trainer for the DBU, correct?
                22           A.    Yes.
                23           Q.    Did you know him before he became your
                24      interim district sales manager?
                25           A.    Yes.   He was a trainer, yes.




                                           JA69
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 73 of 281




                                                                             Page 76
                 1            Q.     Did he provide you with training prior to
                 2      February 2019?
                 3            A.     Yes.
                 4            Q.     Do you remember what he trained you on?
                 5            A.     Again, patient VBS.
                 6            Q.     And as an area sales trainer, Mr. Hudson
                 7      would be very familiar with expectations for Lilly
                 8      sales representatives, correct?
                 9                   MS. JONES:     Objection.   Calls for
                10           speculation about what Mr. Hudson is familiar
                11           with.
                12                   You can answer.
                13      BY MS. WAKE:
                14           Q.      Mr. Hudson trained you -- Mr. Hudson
                15      trained you on expectations for Lilly sales reps,
                16      correct?
                17           A.      Yes.
                18           Q.      How long had you known Mr. Hudson when he
                19      became your interim district sales manager in
                20      February 2019?
                21           A.      Four months?    A few months.
                22           Q.      Prior to him becoming your district sales
                23      manager?
                24           A.      Yes.
                25           Q.      And how many times did he have training




                                             JA70
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 74 of 281




                                                                            Page 77
                 1      sessions with you prior to becoming your district
                 2      sales manager?
                 3            A.      One.
                 4            Q.      Do you remember the topic of the training,
                 5      other than VBS?
                 6            A.      That's what we were there, we were on a
                 7      field ride.
                 8            Q.      Do you know Mr. Hudson's race?
                 9            A.      Yes.
                10           Q.    What is it?
                11           A.    Caucasian.
                12           Q.    Do you know Mr. Hudson's sex?
                13           A.    Yes.
                14           Q.    What is it?
                15           A.    Male.
                16           Q.    And your next district sales manager at
                17      Eli Lilly was someone named David Sun, correct?
                18           A.    Yes.
                19           Q.    And he became your district sales manager
                20      in May of 2019, correct?
                21           A.    Officially, no, no.        No.
                22           Q.    So when did he become your district sales
                23      manager?
                24           A.    June 1st.
                25           Q.    Of 2019?




                                              JA71
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 75 of 281




                                                                                 Page 82
                 1      Exhibit 7.    Do you recognize this document?
                 2            A.     Yes.
                 3            Q.     And this is a copy of the Performance
                 4      Improvement Plan that you received on June 28th,
                 5      2019, correct?
                 6            A.     Correct.
                 7            Q.     And on the first page -- is really the
                 8      last page -- you signed this document, correct?
                 9            A.     Yes.
                10           Q.      And let's go back to that -- the actual
                11      first page of the document, so Lilly Jones 23.
                12                   You received this document during a
                13      meeting with Mr. Sun and someone named
                14      Grace Faulkner, correct?
                15           A.      Yes.
                16           Q.      Who is Grace Faulkner?
                17           A.      She's an HR representative.
                18           Q.      Did you know her before this meeting?
                19           A.      No.
                20           Q.      The meeting was the first time that you
                21      talked to her?
                22           A.      Yes.   Yes.   I mean -- I might have one
                23      other conversation with her, yes.
                24           Q.      And you received this document during a
                25      meeting with Mr. Sun and Grace Faulkner.           Was




                                             JA72
USCA4 Appeal: 23-1502    Doc: 14     Filed: 07/07/2023    Pg: 76 of 281




                                                                               Page 83
                 1      Mr. Hudson at this meeting?
                 2            A.   Yes.
                 3            Q.   And the first paragraph says this, but
                 4      this document was issued to you for unacceptable
                 5      performance, correct?
                 6            A.   Yes.
                 7            Q.   And do you recall the reason that you
                 8      received this document was related to inadequate
                 9      precall planning, lack of technical knowledge and
                10      disease state, inability to achieve consistent --
                11      consistently effective call progression and
                12      consistent sales results, and the lack of
                13      demonstrated team leadership at an S3 level?
                14           A.    Can you repeat the question?
                15           Q.    Yes.   Do you recall that --
                16                 MS. WAKE:    Karen, could you read the
                17           question back to me, please -- or back for
                18           Ms. Jones.
                19                 (Whereupon the Court Reporter read the
                20                 previous question.)
                21                 THE WITNESS:    Yes.
                22                 MS. JONES:     I'm going to object again.
                23           You know, the document says what it says.
                24                 Also, Jared, can you scroll down so I can
                25           read what counsel is talking about?          Thank you.




                                           JA73
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 77 of 281




                                                                             Page 84
                 1      BY MS. WAKE:
                 2             Q.   In that first bolded paragraph there,
                 3      Ms. Jones, do you see where it says that there was a
                 4      trend of unacceptable performance related to precall
                 5      planning and customer-facing abilities?
                 6             A.   Yes.
                 7             Q.   And precall planning and customer-facing
                 8      abilities are the same areas that Mr. Mendoza and
                 9      Ms. Porter discussed with you, right?
                10             A.   Yes.
                11             Q.   And this document makes it clear that the
                12      gaps in performance were observed primarily by
                13      Mr. Hudson, right?
                14             A.   Yes.
                15             Q.   But Mr. Sun says that he also observed
                16      gaps in performance during a field ride with you on
                17      June 26th, 2019, correct?
                18             A.   After one field ride, yes.
                19             Q.   But you remember that field ride with
                20      Mr. Sun?
                21             A.   Yes.
                22             Q.   Why do you think that Mr. Hudson
                23      contributed towards this disciplinary document for
                24      you?
                25                  MS. JONES:    Objection.     Calls for




                                             JA74
USCA4 Appeal: 23-1502    Doc: 14         Filed: 07/07/2023    Pg: 78 of 281




                                                                                    Page 85
                 1             speculation.
                 2                   You can answer.
                 3                   THE WITNESS:      I don't know.      I don't
                 4             recall.
                 5      BY MS. WAKE:
                 6              Q.   And at the time that Mr. Sun and
                 7      Ms. Faulkner and Mr. Hudson met with you about this
                 8      Performance Improvement Plan, Mr. Sun had only been
                 9      your supervisor for approximately one month, correct?
                10             A.    Yes.
                11             Q.    And do you remember during this meeting
                12      that they discussed inadequate precall planning with
                13      you?
                14             A.    Yes.
                15             Q.    And do you remember discussing specific
                16      field rides where Mr. Hudson had observed inadequate
                17      precall planning within the VBS model?
                18             A.    Repeat the question, ma'am.
                19                   MS. WAKE:     Karen, can you read it back,
                20             please.
                21                   (Whereupon the Court Reporter read the
                22                   previous question.)
                23                   THE WITNESS:      Yes.
                24      BY MS. WAKE:
                25             Q.    And under that "Inadequate precall




                                               JA75
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023     Pg: 79 of 281




                                                                             Page 86
                 1      planning within the VBS model" section there, that
                 2      Jared has up on the screen, Mr. Hudson and Mr. Sun
                 3      are acknowledging that your sales numbers improved in
                 4      2019, right?
                 5            A.   Yes.
                 6                 MS. JONES:     Where are you reading from?
                 7           I'm sorry.    I don't see that.
                 8                 Okay.    Yeah, I see it.
                 9      BY MS. WAKE:
                10            Q.   It says, "While sales numbers have
                11      improved in 2019, precall planning and other customer
                12      facing skills have not improved sufficiently."
                13      Correct?
                14            A.   Yes.
                15            Q.   And then this document goes on to give you
                16      examples of how you were not effectively precall
                17      planning within the VBS model, correct?
                18            A.   Yes.
                19            Q.   And there are other areas discussed in
                20      this document, such as lack of technical knowledge,
                21      inability to achieve adequate call progression, lack
                22      of consistent leadership.          Correct?
                23            A.   That's what the document says.
                24            Q.   And you remember discussing these areas
                25      during the meeting with Mr. Sun, Mr. Hudson, and




                                             JA76
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 80 of 281




                                                                            Page 87
                 1      Ms. Faulkner?
                 2            A.     It was read, yes.
                 3            Q.     And then on the last page of the document,
                 4      which is Lilly Jones 21, where your signature
                 5      appears --
                 6            A.     Yes.
                 7                   MS. WAKE:    Could you scroll up a little
                 8           bit, Jared, where it says, "In order to improve
                 9           your performance."
                10      BY MS. WAKE:
                11            Q.     This sets forth four specific areas that
                12      you need to improve on in order to meet the PIP
                13      expectations, correct?
                14            A.     Yes.
                15            Q.     And did you understand these four areas
                16      when you signed the document?
                17            A.     Yes.
                18            Q.     And did you understand that if you didn't
                19      meet the expectations, that you could face additional
                20      disciplinary action?
                21            A.     Yes.
                22            Q.     And Mr. Sun set up weekly check-ins with
                23      you after receiving this document, correct?
                24            A.     No.
                25            Q.     So your testimony is that he did not try




                                              JA77
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 81 of 281




                                                                            Page 88
                 1      to set up weekly meetings with you?
                 2               A.   No.    He did not.
                 3               Q.   Did you try to set up weekly meetings with
                 4      him?
                 5               A.   Yes, I did.
                 6               Q.   You tried to meet with him every week, and
                 7      he told you --
                 8               A.   Yes.
                 9               Q.   -- no?
                10             A.     Yes.   He did -- there was ignorance of
                11      calls.     I was supposed to call him every Friday.     And
                12      I did.
                13             Q.     And did you receive a pay cut when you
                14      received this disciplinary action in June of 2018?
                15             A.     No.
                16             Q.     And you didn't receive any reduction in
                17      your incentive compensation when you received this
                18      document, right?
                19             A.     No.
                20             Q.     Did you receive any type of demotion?
                21             A.     No.
                22             Q.     Did your job duties change at all?
                23             A.     No.
                24             Q.     Did any of your customers get taken away
                25      from you when you got the PIP?




                                               JA78
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 82 of 281




                                                                            Page 89
                 1            A.     No.
                 2            Q.     After you received the PIP, did you have
                 3      regular check-ins with HR?
                 4            A.     Yes.
                 5            Q.     Who in HR?
                 6            A.     Grace Faulkner.
                 7            Q.     What was the purpose of your regular
                 8      check-ins with HR?
                 9            A.     To monitor the progress of my performance.
                10            Q.     Do you remember how often those check-ins
                11      with Ms. Faulkner occurred?
                12            A.     Frequently.     At least -- it depends on the
                13      month, but at least every two weeks.
                14            Q.     And was it you asking Ms. Faulkner for the
                15      meetings, or Ms. Faulkner reaching out to you to ask
                16      for the meetings?
                17            A.     Both.
                18            Q.     Did they occur at a regular cadence, or
                19      what -- like a scheduled cadence, or was it just kind
                20      of as needed?
                21            A.     Both.
                22            Q.     What was the regular schedule for the
                23      meetings, then?
                24            A.     I believe it was every two weeks, if I
                25      recall.    I think it was every two weeks.




                                              JA79
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 83 of 281




                                                                           Page 94
                 1      were throughout the three months in which I was on
                 2      the performance -- I had to meet with her.
                 3            Q.     But do you remember specifically meeting
                 4      with Ms. Faulkner?
                 5            A.     Yes.
                 6            Q.     I'd like you to tell me every time that
                 7      you met with Ms. Faulkner that you complained
                 8      specifically about Mr. Sun.
                 9            A.     All of them?    I don't remember how many
                10      times I met with her, but I do remember telling her
                11      that there were specific issues.
                12            Q.     What issues are those?
                13            A.     I told her that he wasn't able to
                14      demonstrate the precall planning at all, never once.
                15      So if he was asking me to do it, how could I learn if
                16      he wasn't able to do so?
                17                   I told her that he was -- if -- if the
                18      call or the provider didn't want to answer, then he
                19      dinged me for it.    If -- he didn't do weekly
                20      check-ins.   He was just adding petty nuisances
                21      about -- he was just kind of being petty about the
                22      whole interaction.
                23                   I could -- if I went start to finish with
                24      a physician and I made one small mistake, the whole
                25      interaction was wrong.      If -- I believe out of the




                                             JA80
USCA4 Appeal: 23-1502    Doc: 14     Filed: 07/07/2023   Pg: 84 of 281




                                                                               Page 95
                 1      five, you know, physicians that we saw, three or four
                 2      of the interactions would be good, and he would
                 3      negate the other one or two; if we saw them in a
                 4      lunch, or something like that, he would negate the
                 5      whole day as just not performing.
                 6            Q.   Anything else?
                 7            A.   No.
                 8            Q.   In your complaint -- when I say
                 9      "complaint," I mean the lawsuit you filed in this
                10      case -- you talk about a meeting with Ms. Faulkner on
                11      October 15th, 2019, which was the day before you
                12      received probation.   Do you remember that meeting?
                13            A.   Yes.
                14            Q.   And during this meeting on October 15th,
                15      2019, Ms. Faulkner told you that you were going to be
                16      placed on probation, right?
                17            A.   Yes.
                18            Q.   And what was your response to that?
                19            A.   I was very upset.
                20            Q.   Do you remember what you said to
                21      Ms. Faulkner during that October 15th, 2019, meeting?
                22            A.   I think I called him a liar.          I think I --
                23      I told her that David was lying.
                24            Q.   Was anyone else at that meeting?
                25            A.   No.




                                           JA81
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 85 of 281




                                                                             Page 96
                 1              Q.   Do you remember, during that October 15th,
                 2      2019, meeting, saying that you felt Mr. Sun was
                 3      discriminating against you on the basis of your sex?
                 4              A.   I did.
                 5              Q.   Do you remember telling her that you felt
                 6      he discriminated against you on the basis of your
                 7      race?
                 8              A.   I did.
                 9              Q.   What exactly did you say to her about
                10      discrimination on the basis of your sex?
                11              A.   He told me that I was overemotional.      He
                12      just talks down to me.       For instance, in a meeting in
                13      September, I asked -- we were having a meeting as a
                14      team, and I asked a very, very good question about
                15      Sparta to one of my colleagues.        And he shut down the
                16      question and would not allow me to ask the question.
                17      And then when one of my white colleagues asked for
                18      the person who was facilitating the meeting to answer
                19      it, he allowed the question to go through, only
                20      because my white colleague asked.        And he was male.
                21              Q.   And you told Ms. Faulkner that during this
                22      meeting?
                23              A.   I gave her --
                24              Q.   That specific example?
                25              A.   We talked about things that were




                                              JA82
USCA4 Appeal: 23-1502    Doc: 14     Filed: 07/07/2023   Pg: 86 of 281




                                                                             Page 97
                 1      happening, yes.
                 2            Q.   But do you remember telling her that
                 3      specifically, about the meeting with your --
                 4            A.   I don't remember.     I don't remember.
                 5            Q.   What do you remember saying to her about
                 6      feeling like you were discriminated against on the
                 7      basis of race during that October 15th meeting?
                 8            A.   Basically the thing of -- the issue about
                 9      the lunch, she told me that the -- the office said
                10      that I was insincere or unapologetic about the lunch,
                11      which was not true.    I was very sincere and held
                12      myself accountable.    And I apologized immediately.
                13      And she allowed me to reschedule lunch, and I did the
                14      lunch three weeks later, and I was allowed to go back
                15      in and do the lunch.
                16            Q.   Do you remember telling Ms. Faulkner
                17      during that October 15th meeting that you thought
                18      Mr. Sun was unfair?
                19            A.   I did.
                20            Q.   And other than what you've already told
                21      me, do you remember any other things that you told
                22      Ms. Faulkner about your interactions with Mr. Sun
                23      during that October 15th meeting?
                24            A.   I just told her that he was -- his
                25      approach came off very abusive, very demeaning, very




                                            JA83
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 87 of 281




                                                                              Page 106
                 1              Q.    And so you told her about those issues on
                 2      October 15th, 2019.      And then she started
                 3      interviewing -- interviewing your colleagues that
                 4      same day.     Are you aware of that?
                 5              A.    Yes.
                 6              Q.    Okay.   Did you know that she interviewed
                 7      other women on your team?
                 8              A.    Yes.
                 9              Q.    Did you know that she interviewed other
                10      black women on your team as well?
                11              A.   Yes.
                12              Q.   And do you have any way to dispute that
                13      not one person she interviewed said Mr. Sun
                14      discriminated against them on the basis of sex or
                15      race?
                16              A.   She didn't allow them to answer freely,
                17      either.
                18              Q.   What do you mean by that?
                19              A.   She didn't -- there was no -- she just
                20      asked questions, specific questions.          She did not
                21      allow them to elaborate or provide questions or
                22      statements.    Based on what I was told, that she
                23      asked -- she asked them questions where they couldn't
                24      elaborate on situations.
                25              Q.   And who told you that?




                                              JA84
USCA4 Appeal: 23-1502    Doc: 14      Filed: 07/07/2023   Pg: 88 of 281




                                                                          Page 107
                 1             A.   I don't recall off the top of my head.
                 2      That's what I was -- when I spoke to somebody, that's
                 3      what I was told.      I don't remember who I -- who it
                 4      was.
                 5             Q.   Well, you just told me that Krystle
                 6      Allen told you that --
                 7             A.   Right.     I spoke to Krystle Allen, but I
                 8      don't remember if it was Krystle or somebody else I
                 9      had spoken to.      I had spoken to a few
                10      African-American colleagues during that time.
                11             Q.   Okay.    So just -- just to clarify, when I
                12      ask you a question, I would ask that you give a full
                13      answer to my question.
                14                  So when I asked you who did you -- how did
                15      you know that Mrs. Faulkner interviewed your
                16      colleagues, what is the answer to that question?
                17             A.   I told -- I told you I had spoken -- she
                18      said that -- I spoke with Krystle Allen, and she had
                19      told me that she had an interview with
                20      Grace Faulkner.     But there were other colleagues that
                21      she interviewed, as well, that I had spoken to
                22      briefly, done briefly.
                23             Q.   And how do you know that she interviewed
                24      other colleagues?
                25             A.   She told me.




                                              JA85
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 89 of 281




                                                                             Page 108
                 1            Q.     Who is "she"?
                 2            A.     Grace Faulkner.
                 3            Q.     So Krystle Allen told you that she was
                 4      interviewed by Ms. Faulkner, and then Ms. Faulkner
                 5      also told you that she interviewed other people?
                 6            A.     Yes.
                 7            Q.     So who told you that Ms. Faulkner did not
                 8      let them elaborate on their answers?
                 9            A.     Like I told you, I don't recall who told
                10      me that.   I spoke with a few people.        I spoke with
                11      William White.      I spoke with Krystle Allen.     I don't
                12      recall who said it, but I remember in conversation
                13      having specifically -- she didn't ask me questions
                14      where I could elaborate on the situation or tell her
                15      any more information; she just asked specific
                16      questions to control the conversation.
                17            Q.     So then you also, in addition to Krystle
                18      Allen, you spoke to William White about
                19      Ms. Faulkner's interview of her -- him?
                20            A.     Yes.
                21            Q.     Okay.   I'm going to ask again, because I
                22      feel like I'm not getting a straight answer.
                23                   Who else besides William White and
                24      Krystle --
                25                   MS. JONES:   Objection.     She's doing the




                                              JA86
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 90 of 281




                                                                               Page 109
                 1           best she can in her memory.        I don't know what
                 2           you mean by "a straight answer."
                 3                   MS. WAKE:    She's changing her answer.
                 4           So --
                 5                   MS. JONES:     No.
                 6      BY MS. WAKE:
                 7            Q.     Who else did you talk to, besides William
                 8      White and Krystle Allen, about Ms. Faulkner's
                 9      interview of them?
                10            A.     Those are the two specific people that I
                11      spoke to.
                12            Q.     Nobody else?
                13            A.     Not -- no.
                14            Q.     Okay.   So now have we talked about all of
                15      your conversations, the best that you can recall,
                16      related to Ms. Faulkner speaking to your peers?
                17            A.     Yes.
                18            Q.     And you've told me about the
                19      conversations, all of the conversations that you had
                20      with HR about Mr. Sun, correct?
                21            A.     There was -- Grace Faulkner did not
                22      understand why or how I could achieve the results
                23      that I was achieving if I wasn't having
                24      patient-centered conversations.        She seemed to
                25      understand some of the things that I was going




                                             JA87
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 91 of 281




                                                                                 Page 118
                 1             A.   Yes.
                 2             Q.   And do you remember him discussing that
                 3      with you in person, during this field ride or after?
                 4             A.   We discussed it, yes.        But he -- it wasn't
                 5      a field ride.    It was -- he attended a lunch.
                 6             Q.   A lunch -- are you talking about in
                 7      November of 2018, or a different time?
                 8             A.   March of 2019.
                 9             Q.   So he came to a lunch with you in March of
                10      2019, and that's what this is an evaluation of?
                11             A.   It was scheduled as a field ride for the
                12      day.   However, he was three hours late.            So I still
                13      had to continue on with my day.         Everything I had
                14      planned that day was offset because he came late.              So
                15      he only attended the lunch.
                16             Q.   Okay.    So the field -- is it fair to just
                17      call it a field visit, then?
                18             A.   Correct.
                19             Q.   Okay.    So the field visit on March 21st,
                20      2019, is what we're talking about, and these are the
                21      notes that he sent you after that field visit, right?
                22             A.   Correct.
                23             Q.   Putting aside this e-mail, do you remember
                24      talking to him about that field visit in person?
                25             A.   We spoke after the lunch, yes.            And we




                                              JA88
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023    Pg: 92 of 281




                                                                                 Page 119
                 1      spoke after -- yes, we did.
                 2              Q.   Okay.   Do you remember what you talked
                 3      about during that meeting?
                 4              A.   Precall planning.
                 5              Q.   And did he tell you in person during that
                 6      meeting that that was an area for improvement?
                 7              A.   That's all -- yes, it's always going to be
                 8      an area of improvement for, you know, what we do,
                 9      yes.
                10             Q.    Okay.   And he, in this e-mail, he's giving
                11      you seven steps related to precall planning, right?
                12             A.    Yes.
                13             Q.    And these are pretty specific questions on
                14      how to engage in precall planning, right?
                15                   MS. JONES:   Objection.      The questions are
                16             what they are.
                17                   Could you, Jared, move the page up,
                18             please, so I can see the question?           Thank you.
                19                   You can answer, if you can.
                20                   THE WITNESS:    Yes.
                21      BY MS. WAKE:
                22             Q.    Ms. Jones, you can answer.
                23             A.    Yes.
                24             Q.    Okay.   And he's telling you that you
                25      need -- if you look under Number 7 -- not Number 7




                                             JA89
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 93 of 281




                                                                           Page 120
                 1      itself, but the paragraph under Number 7 -- he's
                 2      telling you that you should be doing this precall
                 3      planning, these seven steps, on every call you do,
                 4      right?
                 5            A.   Yes.
                 6            Q.   And then on the last page, kind of right
                 7      above his signature line, he's telling you that he
                 8      really wants to help you, right?
                 9            A.   Yes.
                10                 MS. JONES:     I don't see it on the
                11           document -- okay.
                12                 MS. WAKE:     Okay, Jared, we can take that
                13           one down, and we can pull up the next one, which
                14           would be Exhibit Number 9 -- started Lilly 209.
                15            (Exhibit 9 was marked for identification.)
                16      BY MS. WAKE:
                17            Q.   And again, Ms. Jones, you see up at the
                18      top there, Mr. Hudson is forwarding it to
                19      Grace Faulkner on May 6th, right?
                20            A.   Yes.
                21                 MS. WAKE:     Can you scroll down, Jared, to
                22           the part where Ms. Jones is the actual
                23           recipient.    Thank you.
                24      BY MS. WAKE:
                25            Q.   So, Ms. Jones, this is an e-mail that




                                             JA90
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 94 of 281




                                                                           Page 121
                 1      Mr. Hudson sent to you on April 12th, 2019, correct?
                 2              A.   Yes.
                 3              Q.   And he is summarizing a field ride or a
                 4      field visit that you did together on April 10th,
                 5      2019, right?
                 6              A.   Yes.
                 7              Q.   Do you remember that April 10th, 2019,
                 8      field visit?
                 9              A.   Yes.
                10              Q.   What do you remember about it?
                11              A.   It wasn't the best day for either of us.
                12              Q.   What do you mean by that?
                13              A.   Part of my -- I just felt like, you know,
                14      no matter -- oftentimes when reps bring managers out,
                15      they bring them out to the customers that will sit
                16      there and interact with them -- and not every
                17      customer will do that; most customers -- some
                18      customers will just only give you a signature, and
                19      you have to go and talk to them during a lunch.
                20                   And on my field visit with -- that was the
                21      day that I had, because I had two other partners that
                22      I have to route around.      I brought him to a few
                23      offices that give me limited time to engage with
                24      them.    They either don't want me to, or you can't ask
                25      my questions; they will only give you a signature.




                                             JA91
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 95 of 281




                                                                             Page 122
                 1                   And so because of that, he basically said
                 2      I didn't do a good job that day.        And then also, in
                 3      the discussions in the car, after we debriefed, he
                 4      said he believed that precall planning was the core
                 5      of our job.    And he's like, "Do you agree?"
                 6                   And I told him I didn't, and it became a
                 7      disagreement, because I didn't agree with him.
                 8            Q.     Tell me more about that disagreement.        How
                 9      did it go?
                10            A.     It wasn't -- no yelling.       But it just
                11      was -- I voiced my opinion about the situation, and
                12      he didn't like it.     He didn't like that I didn't
                13      agree with him.
                14                   So I felt like because he didn't like what
                15      I said, then he continued to proceed to what he
                16      was -- he did.    Like -- "Well, she doesn't like it;
                17      she's not going to precall plan, I'm going to write
                18      her up."
                19                   So it became one of those things, and it
                20      became an intense discussion.       I was like, "There are
                21      other areas about our job and what we do that have
                22      nothing to do with precall planning.         So I can't make
                23      that the sole importance of our job, because we make
                24      an impact based on relationships, engaging with
                25      our -- our customers, engaging with HTPs, providing




                                             JA92
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023    Pg: 96 of 281




                                                                              Page 123
                 1      resources for them, talking about their patients,
                 2      engaging their staff, doing peer-to-peer programs,
                 3      showing up every day to deliver those samples that
                 4      are needed for patients.
                 5                    So there's other impacts that I just felt
                 6      like -- like precall planning was important, but it
                 7      just wasn't the most -- he made it like -- "Is this
                 8      the most important thing?"          And I just didn't agree
                 9      with him on that.     And he got mad.
                10            Q.   Okay.     So he told you that for him,
                11      precall planning is one of the most important things
                12      you could do as a rep?
                13            A.   Yes.
                14            Q.   And you don't agree with that?
                15            A.   I didn't say that I didn't -- I didn't
                16      agree that it was the most important thing.          I think
                17      it was important.     I told him, I said, "I think it's
                18      important, but I don't think it's the most important
                19      thing, no."
                20                 Because there are situations where you're
                21      precalling planning, and you can precall plan, you
                22      say, "I'm going to ask this question; I'm going to
                23      talk about these things," and the conversation can go
                24      completely different when you get in there with that
                25      provider, based on what's going on in that office.




                                              JA93
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 97 of 281




                                                                               Page 124
                 1      Or the question doesn't land properly, or the
                 2      physician's not feeling it, and you have nowhere else
                 3      to go.
                 4                   So it's very subjective when you go in
                 5      there.     You don't know what you're going to be
                 6      dealing with, and you don't know how the provider is
                 7      going to respond.
                 8            Q.     Okay.     And in this e-mail to you, he's
                 9      telling you that he thinks there's nothing more
                10      important for you than showing improvement in precall
                11      planning, right?
                12            A.     Uh-huh.    Yes.
                13            Q.     Do you remember him saying that to you in
                14      person?
                15            A.     I just told you that, yes.
                16            Q.     Well, just to clarify, what we talked
                17      about before was that he told you that he thought
                18      precall planning was the most important element of
                19      the role.    And what I was asking you is slightly
                20      different.
                21                   Do you remember him telling you in person
                22      that the most important thing for you to do was to
                23      show improvement in that area?
                24            A.     As I said, I told you that.        Yes.
                25            Q.     And if you look through this, just like




                                               JA94
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023     Pg: 98 of 281




                                                                                Page 125
                 1      you said, he's kind of summarizing in this document
                 2      that -- it sounds like both of you were in agreement
                 3      that the calls on Wednesday were not the strongest,
                 4      right?
                 5            A.     The day just -- it wasn't the strongest,
                 6      no, but there were times and moments where it wasn't
                 7      all bad.     It just wasn't a good day.         It just wasn't
                 8      a good day for him to be with me.           It wasn't a good
                 9      day, period.
                10            Q.     And do you remember him telling you, after
                11      the field ride, that he had mentioned this issue of
                12      precall planning to you the last two times that you
                13      did field rides?
                14            A.     Yes, but I also told him that I had been
                15      out for that time of precall planning, when I went --
                16      that training took place.           So, you know, how they did
                17      precall planning in March of 2018, I wasn't there for
                18      that training.
                19                   I explained to him that engaging with
                20      customers had been a challenge, because now I had to
                21      re-establish relationships with those customers that
                22      I didn't have.     I wasn't returning back to a familiar
                23      territory.    I returned back to an unknown territory,
                24      a new team, and a new manager.
                25            Q.     When did you come back from your leave of




                                              JA95
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 99 of 281




                                                                            Page 126
                 1      having your child?       That was in August of 2018?
                 2               A.   That was in -- June 3rd or 5th, June 5th
                 3      of 2018.
                 4               Q.   And then you -- but then you went on
                 5      another leave --
                 6               A.   Yes.
                 7               Q.   -- in July and August?
                 8               A.   July -- July 10th through October 3rd of
                 9      2018.
                10              Q.    October 3rd.    So when you came back from
                11      the leave on October 3rd, 2018, when Jax Porter was
                12      still your supervisor, you had missed the training,
                13      either when you had your child or when you were on
                14      that kind of second leave in the fall?
                15              A.    Correct.
                16              Q.    Mr. Hudson did a field ride with you when
                17      you came back in November of 2018, right?
                18              A.    Correct.
                19              Q.    And we talked about that already.
                20                    And then he did a field ride with you on
                21      March 21st, 2019, that we just talked about, too,
                22      right?
                23              A.    Yes.   It was a field visit, yes.
                24              Q.    And then we're now talking about the kind
                25      of third field ride that he did with you since you




                                              JA96
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023    Pg: 100 of 281




                                                                             Page 127
                 1      came back from your leaves on April 10th, 2019,
                 2      right?
                 3                 MS. JONES:     Objection.      Mischaracterizes
                 4           the testimony.
                 5                 You can answer.
                 6                 THE WITNESS:      Yes.
                 7      BY MS. WAKE:
                 8            Q.   He had three visits with you after you
                 9      came back from your leave in 2018, right?
                10            A.   Yes.
                11            Q.   And on all three of those visits, he was
                12      observing interactions you had with customers and
                13      providing you with feedback?
                14            A.   Yes.
                15            Q.   And in this document that we're looking at
                16      here, the April 12th, 2019 e-mail, he refers you back
                17      to the kind of seven-steps process that he told you
                18      about previously?
                19                 MS. WAKE:     So, Jared, if you scroll down
                20           to the second page, so Ms. Williams-Jones can
                21           see it.   That one right there, yeah.
                22      BY MS. WAKE:
                23            Q.   He says, "I've already sent you the
                24      stepwise process," and "I recommend you walk through
                25      it line by line on every call"?




                                             JA97
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023    Pg: 101 of 281




                                                                               Page 128
                 1              A.   Yes.
                 2              Q.   Do you remember him telling you that in
                 3      person as well?
                 4              A.   He told me to write out the interactions,
                 5      the same way that the -- the same specific thing I
                 6      told you about with Grace.         That was his example and
                 7      suggestion, for me to write out all my calls.          That's
                 8      what the example he told me that I needed to do.
                 9              Q.   But he gave you that seven-step process
                10      that we talked about in the last exhibit, right?
                11              A.   Yes.
                12              Q.   And he's telling you in this e-mail, he's
                13      already sent you that process?        And then he --
                14              A.   He sent it in March, uh-huh.
                15              Q.   He's saying, "Please take my advice to
                16      print that out," right?
                17              A.   Yes.
                18              Q.   Or use the attached PerQs sheet on every
                19      call.    Do you see that?
                20              A.   Yes.
                21              Q.   Okay.   So he's reminding you again of the
                22      steps that he wanted you to use and of the PerQs
                23      method, right?
                24              A.   Yes.
                25                   MS. WAKE:   Okay.     We can take that one




                                             JA98
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 102 of 281




                                                                               Page 129
                 1             down, and we can pull up the next exhibit, which
                 2             is the attachment to the e-mail.
                 3                   MS. JONES:    Is it page 211?
                 4                   MS. WAKE:    Yes.
                 5             (Exhibit 10 was marked for identification.)
                 6                   MS. WAKE:    Okay.    So I'm going to mark
                 7             this, I think, as Exhibit 10.
                 8      BY MS. WAKE:
                 9             Q.    This is the attachment to the e-mail that
                10      we were just talking about that Mr. Hudson sent to
                11      you.   Do you recognize this document?
                12             A.   Yes.
                13             Q.   And you produced this document in the
                14      litigation, correct?
                15             A.   Yes.
                16             Q.   And it's called:       "Be the Leader in
                17      Patient Outcomes."      The -- right there under the
                18      title, the first paragraph there, it says, "VBS and
                19      Medical Professionalism help us uncover customer
                20      needs."
                21                  Do you see that?
                22             A.   I see it.
                23             Q.   And do you remember reading this document
                24      while you were a sales representative?
                25             A.   Yes.




                                             JA99
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 103 of 281




                                                                             Page 130
                 1             Q.   And do you remember Mr. Hudson sending
                 2      this document to you?
                 3             A.   I don't remember that.
                 4             Q.   Well, how did you get the document to
                 5      produce it in this litigation?
                 6             A.   I had it.    Everyone has a copy of it.
                 7      That's something you just keep in your car.         I had
                 8      it.    Everyone is given a copy.     Mr. Hudson -- I don't
                 9      remember Mr. Hudson giving me that.        I already had
                10      one.
                11             Q.   All right.    So you were familiar with this
                12      document during your time with Lilly?
                13             A.   Yes.
                14             Q.   And if we look at back -- if you look back
                15      to the e-mail that we were just talking about, when I
                16      just asked you, he said, "Please take my advice" to
                17      print out those seven steps, and use that or the
                18      attached PerQs sheet on every call?
                19             A.   Yes.
                20             Q.   So he was sending this to you attached to
                21      that e-mail, correct?
                22             A.   Yes.
                23                  MS. JONES:    Do you know?
                24                  THE WITNESS:     I don't.
                25                  I told you already that I didn't know.          So




                                            JA100
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 104 of 281




                                                                                Page 131
                 1           I -- I guess no.        I don't know.
                 2      BY MS. WAKE:
                 3               Q.   Okay.   So just so the record reflects, so
                 4      your lawyer just told you to change your answer.
                 5                    MS. JONES:     I did not tell her to change
                 6           her answer.      She had already told you she had no
                 7           recollection of him sending it to you.            So you
                 8           keep asking the same question.
                 9                    She doesn't remember; big deal.         You have
                10           Exhibit 9, and it says what it says.            And you
                11           have Exhibit 10.      If she doesn't recall, that's
                12           fine.
                13                    THE WITNESS:    I don't remember the e-mail.
                14      BY MS. WAKE:
                15            Q.      You don't remember getting this e-mail, or
                16      you don't remember --
                17            A.      I got the e-mail, but I don't remember
                18      this document being attached, about him giving me
                19      PerQs.     I already had the PerQs, as I explained.
                20            Q.      Okay.   But this document is attached to
                21      this e-mail, and you said you got this e-mail,
                22      correct?
                23            A.      I got the e-mail, yes.
                24                    MS. JONES:   Asked and answered, four
                25           times.




                                              JA101
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 105 of 281




                                                                               Page 132
                 1                 MS. WAKE:     Jan, I'm going to ask the
                 2           questions I want to ask.       Thank you.
                 3      BY MS. WAKE:
                 4            Q.   And this document is reminding you how to
                 5      engage in precall planning, right?
                 6            A.   Yes.
                 7            Q.   And then on that second page, its title is
                 8      "Precall Planning," and it goes through the PerQs
                 9      steps, correct?
                10            A.   Yes.
                11                 MS. JONES:     You're not looking.
                12                 THE WITNESS:      I know it.    I saw it.
                13                 MS. JONES:     Would you turn the document to
                14           the second page, Jared, please?         Okay.
                15      BY MS. WAKE:
                16            Q.   And up there at the top, it's -- before
                17      you leave your car, you're supposed to ask yourself,
                18      what do I know from my last call, right?
                19            A.   Yes.
                20            Q.   And were you aware of the fact that when
                21      you were a sales rep, you were supposed to be
                22      building on information learned in your prior calls?
                23            A.   Yes.    However --
                24            Q.   And you were supposed --
                25            A.   However, there are times when the




                                            JA102
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 106 of 281




                                                                               Page 133
                 1      physician is not -- out for months on end.           There are
                 2      times where you might be out.       And there are times
                 3      that you can't remember what you last talked about.
                 4            Q.   Well, aren't you supposed to document what
                 5      you talked to the customers about?
                 6            A.   No, you're not.
                 7            Q.   You're not supposed to document what
                 8      you --
                 9            A.   You're not supposed to --
                10            Q.   -- speak to your customers about?
                11            A.   -- because it's a HIPAA violation when
                12      we're talking and discussing patients.         We weren't
                13      allowed to take notes.
                14            Q.   Your testimony is that as a sales rep, you
                15      weren't allowed to take notes about your interactions
                16      with your customers?
                17            A.   You're not supposed to, no.
                18            Q.   Are you sure about that?
                19                 MS. JONES:     Objection.     Asked and
                20           answered.    Move on.    She said no.
                21      BY MS. WAKE:
                22            Q.   So then how were you supposed to build on
                23      your prior visits to your customers, if you weren't
                24      allowed to take any notes?
                25            A.   We go back to when I told you about




                                            JA103
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 107 of 281




                                                                             Page 138
                 1            A.    I believe -- yes.
                 2            Q.    And during that conversation, do you
                 3      recall telling Grace that you -- you know you've
                 4      always needed to improve on progressing the calls and
                 5      asking more patient-focused questions, right?
                 6            A.    Yes.
                 7            Q.    And did you tell her that you didn't get
                 8      along with Jax Porter?
                 9            A.    Yes.
                10            Q.    And that Mark Hudson was nitpicky?
                11            A.    He did, yes.
                12            Q.    I'm not asking if you thought Mark Hudson
                13      was nitpicky.    I'm asking if you remember telling
                14      that to Grace Faulkner on June 28th.
                15            A.    I told Grace about the interaction I had
                16      with Mark on -- after our ride-along, yes.
                17            Q.    But do you remember saying he was very
                18      nitpicky?
                19            A.    I don't recall.
                20            Q.    And do you remember telling Grace Faulkner
                21      during that June 28th meeting that you thought David
                22      Sun was going to be totally different as a manager?
                23            A.    Yes.
                24            Q.    And do you remember telling Grace Faulkner
                25      that David gave you helpful information during your




                                             JA104
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 108 of 281




                                                                             Page 139
                 1      first ride-along?
                 2            A.      I -- yes.
                 3            Q.      And do you remember telling her that David
                 4      had some suggestions for you, about reaching out to
                 5      new people, that you felt like you never got from
                 6      Mark Hudson?
                 7            A.      I don't recall that.
                 8            Q.      And do you recall telling Grace that you
                 9      and David were going to work together on things that
                10      you knew you needed to improve?
                11            A.   I did.
                12            Q.   Is it fair to say that before you received
                13      the PIP, you were fairly positive about Mr. Sun as a
                14      supervisor?
                15            A.   I wanted to be, yes.
                16            Q.   Were you aware that Mr. Sun also spoke
                17      with Grace Faulkner on June 28th about his field
                18      visit with you?
                19            A.   Yes.
                20            Q.   And how were you aware of that?
                21            A.   Because she called me and told me that I
                22      was going to be receiving a PIP.
                23            Q.   Did she call you and tell you that on that
                24      same day, June 28th?
                25            A.   I don't remember.        I don't recall what




                                             JA105
USCA4 Appeal: 23-1502    Doc: 14         Filed: 07/07/2023   Pg: 109 of 281




                                                                              Page 140
                 1      days.
                 2               Q.    You got the PIP on June -- on the next
                 3      day, June 29th.      And so do you remember receiving a
                 4      voicemail from her on June 28th saying that you were
                 5      going to receive the PIP?
                 6               A.    I think she left the voicemail and I
                 7      called her back.      I don't remember how it happened,
                 8      but yes, there was some kind of communication around
                 9      a PIP, yes.
                10                    I knew that well in advance.
                11              Q.    How did you know it well in advance?
                12              A.    Because Mark Hudson had told me that I was
                13      going to be receiving a PIP.         It was not from David.
                14      It was from Mark.
                15              Q.    When did Mr. Hudson tell you that?
                16              A.    In May of 2019.
                17              Q.    But you didn't receive it until June 29th,
                18      2019?
                19              A.    Correct, and I made note of that to Grace
                20      as well.      I said, "Why did this take so long?"     And
                21      she thought it was odd as well.
                22              Q.    All right.    I'm going to now turn to talk
                23      with you about field visits with Mr. Sun.
                24                    MS. WAKE:    So we can take down this
                25              precall planning exhibit.




                                              JA106
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 110 of 281




                                                                            Page 141
                 1                 And for this one, I'm going to ask, Jared,
                 2           to please pull up on the screen Lilly Jones --
                 3           let me see here -- 283 to 286.        It's at the
                 4           bottom of the SharePoint file.        It's the very
                 5           last attachment in the file.
                 6                 MS. JONES:     283 -- I don't have that.
                 7                 MS. WAKE:     You should have 283.
                 8                 MS. JONES:     I thought you said 283
                 9           through 286.
                10                 MS. WAKE:     Yep, and that's why I'm having
                11           him pull it up, because you're missing the last
                12           three pages for some reason.
                13                 MS. JONES:     Yes.
                14                 MS. WAKE:     So we're going to pull up the
                15           full document on here.
                16                 MS. JONES:     Right.
                17                 MS. WAKE:     Right.
                18            (Exhibit 11 was marked for identification.)
                19      BY MS. WAKE:
                20            Q.   So Mr. Sun did several field rides with
                21      you -- or field visits; what do you prefer I call it?
                22      "Field ride" or "field visit"?
                23            A.   Like I said, because Mr. Hudson only
                24      rode -- was there for a lunch, and I think one other
                25      customer, maybe.    It wasn't a whole day, so it wasn't




                                            JA107
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 111 of 281




                                                                               Page 142
                 1      a field ride; it was just a visit.
                 2                    Mr. Sun, there were field visits.
                 3              Q.    Okay.    So I'll just call them "field
                 4      visits," and if for any of them --
                 5              A.    I'm sorry.
                 6              Q.    -- that isn't the right --
                 7              A.    Field rides, yes, uh-huh.
                 8              Q.    Okay.    If for any of them "field ride"
                 9      isn't the right thing, please just correct me; but
                10      I'll call them "field rides" until you tell me not
                11      to.
                12                   So Mr. Sun did several field rides with
                13      you after you got your PIP in June.         Correct?
                14              A.   Uh-huh.    Yes.
                15              Q.   Okay.    So this -- this document, Lilly
                16      Jones 283, this is Mr. Sun sending you the -- what
                17      he's calling a coaching report from a field ride.          Do
                18      you see that?
                19              A.   Yes.
                20              Q.   What's a coaching report from a field
                21      ride?
                22              A.   It's the details of what happened on your
                23      field ride.
                24              Q.   Is this something only Mr. Sun did, or did
                25      all supervisors do these kind of coaching reports




                                               JA108
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 112 of 281




                                                                               Page 143
                 1      after field rides?
                 2            A.   That's the difference between Mr. Hudson
                 3      and Mr. Sun.   That would make the difference.             A
                 4      manager is supposed to tell what happened and --
                 5      throughout your day on the field ride, and they put
                 6      it in Veeva.   Mr. Hudson didn't.
                 7            Q.   What's Veeva?
                 8            A.   Veeva is our sales force tool.
                 9            Q.   So Mr. Hudson didn't upload it into Veeva?
                10            A.   I don't remember -- I don't recall ever
                11      getting a coaching report from Mr. Hudson, because he
                12      was not my manager.     I don't recall that.
                13            Q.   We just talked about the e-mails where he
                14      sent you summaries of the visits and rides, right?
                15            A.   That's not the same thing, though.
                16            Q.   How is it not the same thing, if he's
                17      evaluating your performance on visits with customers?
                18            A.   For instance, Mr. Hudson sent an e-mail.
                19      This is a coaching report.
                20            Q.   But the e-mails Mr. Hudson sent you had
                21      reviews of your field visits and field rides,
                22      correct?
                23                 MS. JONES:     Objection.     Argumentative.
                24           She says it's not a coaching report.           It's
                25           different.    I mean, can we move on?




                                             JA109
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023    Pg: 113 of 281




                                                                             Page 144
                 1                   MS. WAKE:   No.
                 2      BY MS. WAKE:
                 3            Q.     Mr. Hudson sent you e-mails with summaries
                 4      of your field visits, right?
                 5            A.     Summaries, yes.       Not a coaching report.
                 6      It's an e-mail.
                 7            Q.     What does a coaching report contain?
                 8            A.     That's what you're looking at on the
                 9      screen, on the right-hand side there.
                10            Q.    And it's a summary of your field visit?
                11            A.    Right.   It's a summary of a field visit,
                12      put into Veeva.
                13            Q.    Okay.    So do you remember receiving the
                14      August coaching report from Mr. Sun?
                15            A.    Yes.
                16            Q.    Okay.    And let's look at the actual report
                17      itself.    Why don't you just kind of skim through it,
                18      and tell Jared when you're ready to flip pages.        And
                19      let me know when you're done.
                20                  MS. JONES:    Well, he needs to blow it up.
                21           I can't see it.     The second page.
                22                  And again, we don't have it; we just have
                23           the first page.     Page 283 of Exhibit 12, in the
                24           hard copy.
                25                  MS. WAKE:    Yep.      It's up on the screen




                                             JA110
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 114 of 281




                                                                             Page 145
                 1           here.
                 2                   THE WITNESS:    Yes, I'm done.
                 3                   MS. WAKE:    Okay, Jared, you can go to the
                 4           next page there.
                 5                   THE WITNESS:    I'm done.
                 6                   MS. WAKE:    All right.    We can go back to
                 7           the first page.
                 8      BY MS. WAKE:
                 9            Q.     So do you remember Mr. Sun telling you
                10      that one of the purposes of your field rides with him
                11      would be to review the progress of the PIP?
                12            A.     Yes.
                13            Q.     And specifically about your progress with
                14      precall planning?
                15            A.     Yes.
                16            Q.     And it looks like he visited five offices
                17      with you on this field visit on July 30th, 2019.         Do
                18      you remember visiting five offices?
                19            A.     Yes.
                20            Q.     And under "Precall Planning," he's telling
                21      you that you did use PerQs and Tableau.         So you
                22      remember him giving you that positive feedback?
                23                   MS. JONES:   Where is that?
                24                   MS. WAKE:    Under "Precall Planning."
                25                   THE WITNESS:    Can you move it up, please?




                                            JA111
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 115 of 281




                                                                            Page 150
                 1      patients.   We did not interact or dialogue about five
                 2      patients on a weekly basis.        I scheduled calls with
                 3      David because if I did not, I would have gotten
                 4      written up for a PIP.     But just because I schedule
                 5      them does not mean that they took place.
                 6            Q.    Right.    But you just told me they never
                 7      took place.    And this e-mail, to me, looks like a
                 8      summary of a phone conversation that -- phone
                 9      conversation check-in that you had with him.
                10            A.    It was a check-in through the field ride
                11      on the 30th.
                12            Q.    So you're saying this wasn't separate from
                13      your field ride?
                14            A.    No.
                15            Q.    Okay.    So -- but you had a phone
                16      conversation with him about your progress, right?
                17            A.    There might have been a phone
                18      conversation, but -- there's a difference between a
                19      phone conversation and actually dialoguing with a
                20      manager about patients.
                21            Q.    But you had phone conversations with him
                22      about your progress.     That's what this e-mail is
                23      summarizing?
                24                  MS. JONES:    Objection.     Argumentative.
                25           She . . .




                                             JA112
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 116 of 281




                                                                             Page 151
                 1                  THE WITNESS:     As I said before, just
                 2           because it was scheduled does not mean that it
                 3           took place.    There might have been a brief
                 4           conversation about, you know, continue precall
                 5           planning; but check-ins are not progress
                 6           improvement.
                 7                  You know, it was -- you're supposed to
                 8           dialogue with your manager about patient-focused
                 9           questions, dialogue about the patients, dialogue
                10           what would you ask the provider; things of that
                11           nature.   He did not do that.
                12      BY MS. WAKE:
                13            Q.    Ms. Jones, this e-mail says, "Thanks for
                14      scheduling our weekly check-in."
                15                  And then he says, "As per our phone
                16      conversation," and lists what you talked about on the
                17      phone.
                18                  And then he says, "Please continue working
                19      on these areas next week and schedule our weekly
                20      check-in for my further assessment."
                21                  MS. JONES:    I'm going to object.      The
                22           document says what it says.        She's already
                23           testified this was not a weekly check-in for her
                24           PIP.   It was a summary of something else.
                25                  And she was supposed to discuss five




                                            JA113
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 117 of 281




                                                                               Page 152
                 1           patients, according to her PIP.          They didn't do
                 2           that.     And this is about a ride-along.        She
                 3           already told you all of that.
                 4                   Now, if you don't agree, you don't agree.
                 5           But she told you what her recollection is,
                 6           irrespective of what Exhibit 12 says.
                 7      BY MS. WAKE:
                 8            Q.     So, Ms. Jones, you do not believe that
                 9      this phone call that you had with Mr. Sun, that he's
                10      calling a weekly check-in, you do not think that was
                11      a weekly check-in?
                12            A.     No, it wasn't.
                13            Q.     Okay.   So in this e-mail, he's telling
                14      you, "As per our phone conversation, here are the
                15      areas where you need to continue to improve."          Right?
                16            A.     Yes.
                17                   MS. JONES:    Objection.     Asked and
                18           answered.
                19      BY MS. WAKE:
                20            Q.     And do you remember talking to him about
                21      this during this phone conversation?
                22            A.     No, I don't.
                23            Q.     Do you remember receiving this e-mail?
                24            A.     Yes, I do.
                25            Q.     And you read the e-mail?




                                             JA114
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 118 of 281




                                                                                   Page 153
                 1            A.      Yes, I did.
                 2            Q.      And he's telling you in that e-mail, he's
                 3      giving you some specific steps on what type of
                 4      questions to ask, right?
                 5                    MS. JONES:    Objection.    The e-mail says
                 6           what it says.
                 7      BY MS. WAKE:
                 8            Q.      You can answer the question.
                 9            A.      I don't even remember the question.
                10      What's the question, ma'am?
                11            Q.     He's giving you specific steps in this
                12      e-mail of things he'd like to see you do.            For
                13      example, "provide insights or follow-ups from
                14      previous visits" so you can progress the calls.
                15      "Move away from these questions and focus on patient
                16      questions."    Do you see that?
                17            A.     Yeah.
                18                   MS. JONES:     Same objection.     The e-mail
                19           says what it says.       We don't need to read it.
                20      BY MS. WAKE:
                21            Q.     Can you answer my question, please,
                22      Ms. Jones?
                23            A.     I said yes already.      Yes.
                24            Q.     Okay.   Thank you.
                25                   MS. WAKE:     We can pull that one down, pull




                                             JA115
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023     Pg: 119 of 281




                                                                               Page 154
                 1           up another -- another exhibit.
                 2                   The one we're going to pull up next --
                 3           it's the same thing, and this is the last one
                 4           where this happens, where for some reason
                 5           Ms. Jones didn't get the full document.
                 6                   So this is Lilly 36 in the SharePoint
                 7           file.     It's the second-to-last document.
                 8           Ms. Jones has the cover e-mail, which is Lilly
                 9           Jones 36.
                10            (Exhibit 13 was marked for identification.)
                11      BY MS. WAKE:
                12            Q.     Okay, Ms. Jones, this is Exhibit
                13      Number 13.     This is a -- another transmittal e-mail
                14      from Mr. Sun, where he's sending you a coaching
                15      report from a field ride.           Correct?
                16            A.     Yes.
                17            Q.     And he says it's in Veeva?
                18            A.     Yes.
                19                   MS. WAKE:    And then if you scroll to the
                20           next page, Jared, the field visit date here is
                21           August 20th, 2019.
                22      BY MS. WAKE:
                23            Q.     Do you remember doing a field ride with
                24      him on August 20th, 2019?
                25            A.     I do.




                                             JA116
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023     Pg: 120 of 281




                                                                                Page 155
                 1            Q.      Okay.   And in here, he says, "You were
                 2      expected to schedule 30 minutes on my office days to
                 3      have weekly check-in on your precall planning
                 4      improvement."
                 5                    We talked about this.        You said that you
                 6      scheduled them, and he just didn't show up, or they
                 7      were canceled?
                 8            A.      Yes.
                 9            Q.      And do you remember receiving this
                10      coaching report and reviewing it?
                11            A.     Yes.
                12            Q.     And this coaching report -- I'm going to
                13      give you a minute to look at it.           So just let Jared
                14      know when you're -- when you're ready to go to the
                15      next page.
                16            A.     I read it.
                17                   MS. WAKE:    Okay.       Then next page, please,
                18           Jared.    Please.
                19                   THE WITNESS:     Yes, I read it.
                20                   MS. WAKE:    Okay.       Let's go back to the
                21           page that's Lilly Jones 37, so the first page of
                22           the coaching report.           That one.   Yeah.
                23      BY MS. WAKE:
                24            Q.     So he's -- again, he goes through "Precall
                25      Planning," "Customer Facing Skills," "Product and




                                              JA117
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 121 of 281




                                                                              Page 156
                 1      Disease State Knowledge," and a few other categories
                 2      in this document, right?
                 3            A.   Yes.
                 4            Q.   And do you see, under "Precall Planning"
                 5      and "Customer Facing Skills" and "Product and Disease
                 6      State Knowledge," in every one of those sections, he
                 7      has a portion that's called "Example."          And then he
                 8      gives you an example of what he's talking about.         Do
                 9      you see that?
                10            A.   Yes.
                11            Q.   And then if you look to the next page,
                12      under "Summary," he's saying that "During our field
                13      ride today I used several examples to share with you
                14      what good looks like and you told me that you were
                15      clear about the expectation . . . from my coaching."
                16                 Do you remember telling him that you were
                17      clear on the expectation?
                18            A.   I was clear.       However, he documented it as
                19      insufficient improvement.
                20            Q.   But do you remember telling him that you
                21      were clear on the expectation?
                22            A.   Just because I was -- I didn't agree with
                23      it, but I was clear.      It was clear for me that --
                24      what he said.
                25            Q.   Okay.     And if you look down there at your




                                             JA118
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 122 of 281




                                                                             Page 157
                 1      numbers, you're doing very well with your sales,
                 2      right?
                 3               A.   Yeah.
                 4               Q.   Including 108 percent of your target,
                 5      110 percent of your target.         That's very good, right?
                 6               A.   Yes.
                 7               Q.   Okay.   And then back there under "Summary"
                 8      again, he's telling you that "the interim result of
                 9      the PIP assessment is no sufficient improvement
                10      because the areas of improvement remain . . . the
                11      same."     Do you see that?
                12            A.      Yes.
                13            Q.      And do you remember him telling you that
                14      during the field ride, that you weren't making
                15      sufficient improvement?
                16            A.      And I disagreed with him.       Yes.
                17            Q.      Tell me about that interaction.
                18            A.      I told him that we had saw five customers;
                19      three of the interactions with the customers went
                20      very well.     I can name the providers that I
                21      interacted with.
                22                    Maybe two others, they weren't bad, but
                23      they might not have been to the level or degree of
                24      satisfactory as the other three.         And he actually --
                25      instead of putting any of that in my coaching report,




                                              JA119
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 123 of 281




                                                                             Page 162
                 1      required us to put all these lunches on our calendar,
                 2      because -- so it made -- I couldn't see what was
                 3      going on.
                 4                    And because of that, I had already
                 5      scheduled another lunch and confirmed that lunch.         So
                 6      when that office had called, I didn't realize that I
                 7      had double-booked the lunch.        So when I spoke to that
                 8      office manager, I apologized, automatically, and I
                 9      took accountability of my mistake that I made, and I
                10      asked her if I could -- would she allow me to
                11      reschedule, reschedule the lunch.
                12                   I rescheduled the lunch.       That happened in
                13      July, and I rescheduled the lunch and did the lunch
                14      in August.     However, Mr. Sun did not bring it up
                15      until September 25th.
                16            Q.     Did you know that the staff of that
                17      office, or that customer, asked your partner about
                18      the missed lunch?
                19            A.     No, she brought him in there to ask about
                20      that lunch.    Ms. Boggs, the same person that did the
                21      previous lunch as well.       Which I thought was
                22      interesting.
                23                   And I also --
                24            Q.     Why do you think that --
                25            A.     Because I had talked -- I had spoken with




                                             JA120
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 124 of 281




                                                                                 Page 163
                 1      my partner, Krystle Allen, and I was like -- when I
                 2      asked, it was like, "Did you know that she was in
                 3      that office?"    And she said -- she didn't tell me
                 4      that she was going to that office.
                 5                   And we both thought that was interesting,
                 6      because we typically tell each other where we're
                 7      going so we can avoid running into our manager.
                 8      Because it's just -- you know, best practice is not
                 9      to be at the same office at the same time.
                10                   So when she did that, we both realized
                11      that she had brought him in the office.          Because it's
                12      in the book as "canceled last minute," or something
                13      like that.
                14                   But oftentimes things happen.           Things
                15      change.    It's a lunch; things happen, and you just
                16      have to -- you just reschedule and move on.            Offices
                17      have canceled on me, at the last minute, things that
                18      happen with offices previously in the past.
                19                   So the lunch that was missed, it was --
                20      you know, if I missed a lunch, one out -- of I don't
                21      know, 80 lunches -- I'm sorry.        That's just a small
                22      error on my part.
                23            Q.     Okay.
                24                   MS. WAKE:    Let's go ahead and pull up what
                25           will be Exhibit 15, Lilly Jones 270.




                                             JA121
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 125 of 281




                                                                                Page 164
                 1            (Exhibit 15 was marked for identification.)
                 2                 TRIAL TECHNICIAN:        And I believe this one
                 3           should be Exhibit 14.
                 4                 (Discussion off the record.)
                 5                 MS. WAKE:     The August 27th, 2019, e-mail
                 6           was 14.
                 7                 TRIAL TECHNICIAN:        Yes.
                 8                 MS. WAKE:     And so this is September 25th,
                 9           2019 field ride, should be 15?
                10                 TRIAL TECHNICIAN:       Okay.   We'll have to
                11           figure it out off the record.
                12                 MS. WAKE:     Okay.     Thank you.
                13      BY MS. WAKE:
                14            Q.   This is a summary of a field visit.            Do
                15      you remember having a field visit on September 25th,
                16      2019, with Mr. Sun?
                17            A.   I do that day, I do.
                18            Q.   Do you remember using an incorrect
                19      detailing piece on that field visit?
                20            A.   No.    I don't.    That day was flawless from
                21      start to finish.    And if he was, it was reported
                22      as -- you know, he didn't like it.         Mr. Sun often
                23      would do -- like if he didn't like something, he
                24      would make it a negative for you.
                25                 So no, I don't remember that.            So, no.




                                            JA122
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 126 of 281




                                                                             Page 165
                 1            Q.      Do you see under "Precall Planning" on
                 2      this document, it says, "That being said, you
                 3      detailed Basaglar" -- sorry if I'm saying that wrong
                 4      -- "in the fifth office without precall planning with
                 5      me and used the inappropriate detailing piece as a
                 6      result.     You should ensure you follow the precall
                 7      planning and detail customers only after proper
                 8      precall planning."      Do you see that?
                 9            A.      Yes.   However, Mr. Sun knows that we were
                10      supposed to detail three patients set up in a lunch.
                11      We're supposed to talk about what we get paid on is
                12      -- what we get paid on, Trulicity, Jardiance and
                13      Basaglar.
                14                   And that's what I did with my customer.      I
                15      had no other product to discuss with her, and as a
                16      rule of mine, I talk about all three products,
                17      because -- just because a physician might not write
                18      it doesn't mean they won't write it eventually, or
                19      might not make an exception for a patient.
                20                   And he didn't like that, because -- he
                21      just didn't like it.      We're supposed to talk about
                22      the products:    Trulicity, Jardiance, and Basaglar.
                23            Q.     And then do you see under "Customer Facing
                24      Skills," he's giving you another example of how to
                25      ask a question?




                                              JA123
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 127 of 281




                                                                             Page 166
                 1               A.   Yes.
                 2               Q.   And then under "Business Planning and
                 3      Organization," I think that that's the same lunch
                 4      that we just talk about.       Is that fair?
                 5               A.   Yes.   However, there was no mention of
                 6      anything that I did right in this report, as well,
                 7      based on that day.
                 8               Q.   Well, under "Precall Planning," it says,
                 9      "You were able to precall plan based on PerQs and
                10      Tableau throughout the day," and that you brought
                11      more previous interactions to the call, and --
                12            A.      It's still -- it's still insufficient.
                13            Q.      And then he says, "We agreed that the
                14      first and the fourth office today were the
                15      strongest."     And he lists things that you did
                16      successfully, right?      And he says that you asked good
                17      questions.     Do you see that?
                18            A.      Yes.
                19            Q.      And if you turn to the next page, under
                20      "Summary," he talks about the importance of
                21      consistency, and he -- he tells you that given the
                22      kind of canceled lunch, the gap towards meeting the
                23      expectations of the role was actually widened.
                24      Right?
                25            A.      According to him, okay.      Yes.




                                              JA124
USCA4 Appeal: 23-1502    Doc: 14          Filed: 07/07/2023    Pg: 128 of 281




                                                                                 Page 167
                 1               Q.     Do you remember him telling you that?
                 2               A.     Yes, and I also remember -- I do remember
                 3      him telling me that.
                 4               Q.     During a conversation?
                 5               A.     We had a conversation where I told him,
                 6      "Why are you just bringing this up now?             The lunch
                 7      was canceled and missed in July; why are you just now
                 8      bringing it up on September 25th?"
                 9                      And he -- he gave -- he's like, "Oh, I
                10      just found out about it."
                11                      But if the lunch was canceled, if the
                12      lunch was missed and I rescheduled it, what are we
                13      talking about now?          Lunches get canceled all the
                14      time.     Lunches get missed.         You know, problems happen
                15      all the time around lunches.            So why are we making
                16      this an issue, and why am I being docked for a small
                17      oversight that happened based on the excessive
                18      calendar invites on my calendar?
                19              Q.      Okay.
                20                      MS. WAKE:    We can go ahead and take that
                21              down, and pull up the next document, which is
                22              the summary of the October 14th, 2019 field
                23              ride.
                24              (Exhibit 16 was marked for identification.)
                25                      MS. WAKE:    Lilly 451.




                                                JA125
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 129 of 281




                                                                            Page 168
                 1      BY MS. WAKE:
                 2            Q.   And do you remember receiving this
                 3      coaching report from an October 14th, 2019, field
                 4      visit?
                 5            A.   Yes.
                 6            Q.   And do you remember making six detailing
                 7      calls in four offices on that day?
                 8            A.   Yes.
                 9            Q.   And again, in this document, Mr. Sun is
                10      reviewing precall planning, customer-facing skills,
                11      and business planning with you?
                12            A.   Yes.
                13            Q.   And you remember reading this document?
                14            A.   Yes, and I remember telling him that what
                15      he put down was inaccurate throughout the day,
                16      specifically with the call that I had, two provider
                17      calls that I had.    And he got mad.
                18            Q.   What did he get mad about?
                19            A.   Because the -- from start to finish, the
                20      interaction went really, really well, to the point
                21      that the physician at the end of it shook my hand,
                22      how well I detailed her.      And in the -- and in his
                23      notes, he doesn't reflect any of that.
                24                 So he -- I'm trying to get off of a PIP,
                25      and he's inaccurately documenting me, or just trying




                                            JA126
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 130 of 281




                                                                              Page 169
                 1      to find small -- you know, small nuisances to write
                 2      in my report.
                 3                  Specifically -- "Oh, well, that provider
                 4      told you that he doesn't write, you know, a product."
                 5                  I was like, "But he only did one detail
                 6      for him."
                 7                  We're supposed to sell the portfolio.
                 8      That's the mission for VBS, is to sell the portfolio.
                 9      Regardless, you're supposed to do two stand-up calls
                10      per conversation with a provider.
                11                  And he got mad, because I mentioned -- or
                12      suggested maybe considering Glyxambi.          He didn't like
                13      it.   "Well, this provider doesn't write any other of
                14      our drugs other than Jardiance," so I'm only supposed
                15      to talk about one drug.       So -- I mean, it's kind
                16      of -- you still have to continue doing what you're
                17      supposed to do, in terms of selling the portfolio and
                18      making them aware about a patient that might come
                19      down the line, about a product that might benefit
                20      that patient.
                21                  And he didn't like it.        He didn't like it
                22      because the physician gave me kudos.          He didn't like
                23      it that I was engaging her.         He didn't like it that
                24      the office liked me.      He didn't like it that good
                25      things were -- they were acknowledging that I was a




                                             JA127
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 131 of 281




                                                                               Page 170
                 1      good rep.
                 2               Q.   So you -- I mean, you clearly disagree
                 3      with Mr. Sun's assessment of your performance in
                 4      these --
                 5               A.   Yes.
                 6               Q.   -- field rides?
                 7               A.   Because I did improve.      I did improve.
                 8      And he didn't note that.       He did, but not to the
                 9      point where -- he said I was inconsistent.           So --
                10      which would lead to me being on a PIP still.
                11            Q.      Do you have any doubt that Mr. Sun had
                12      concerns about your performance?
                13            A.      I had doubts from the very first day that
                14      Mr. Sun became my manager, after writing me up on a
                15      PIP for one field ride.
                16            Q.      You had doubts about what?
                17            A.      I had -- he only observed one field ride.
                18      All that information is based off Mr. Hudson's
                19      observation.     He had one field -- and we had agreed
                20      that we would be able to -- he had already -- had
                21      placed bias against me, because of the way he came in
                22      and he wrote me up on a PIP.        He didn't give me new
                23      start.     He didn't try to get along with me.       He
                24      didn't try to collaborate with me.         He just tried --
                25      everything -- all our rides were just him documenting




                                             JA128
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 132 of 281




                                                                            Page 171
                 1      me of what I didn't do or what he think I didn't do,
                 2      or the way he didn't like it, or what I said.
                 3                   It became just -- typically, most managers
                 4      don't discredit a whole day based off of small issues
                 5      that you have, something you did or didn't do.        I was
                 6      engaging with my providers.        I was asking questions.
                 7      I was dialoguing with them.
                 8                   Mr. Sun, if you read this report, it
                 9      doesn't accurately depict the way that day went at
                10      all.
                11                   MS. WAKE:   Okay.     We can take that down
                12             and pull up the next document, which is Lilly
                13             Jones 26.    I believe it's Exhibit 17.
                14             (Exhibit 17 was marked for identification.)
                15                   MS. WAKE:   It's a notice of probation.
                16                   Thank you for the zoom.
                17      BY MS. WAKE:
                18             Q.    Ms. Jones, do you recognize this document?
                19             A.    Yes.
                20             Q.    And do you remember receiving this
                21      document?
                22             A.    Yes.
                23             Q.    And this is a copy of the notice of
                24      probation that you received on October 16th, 2019.
                25      Right?




                                              JA129
USCA4 Appeal: 23-1502    Doc: 14      Filed: 07/07/2023   Pg: 133 of 281




                                                                           Page 172
                 1            A.   Yes.
                 2            Q.   And you received this during a meeting
                 3      with Grace Faulkner and David Sun?
                 4            A.   I did.
                 5            Q.   And you did not receive any discipline
                 6      from Mr. Sun after October 16th, correct?
                 7            A.   No.
                 8            Q.   And you refused to sign this document; is
                 9      that right?
                10            A.   Right.
                11            Q.   Why was that?
                12            A.   As I told you previously, David was
                13      inaccurately documenting the day, or how the
                14      interactions were going, based on his lack of
                15      knowledge around VBS.    He could not demonstrate -- he
                16      had limited time as a manager, and he had limited
                17      understanding of how dialoguing or interaction with
                18      providers should go, or detailing it as a manager.
                19                 So that's why I didn't sign it, because,
                20      like I said, in that office, that physician stopped
                21      and shook my hand at the end of the conversation.
                22      Providers would tell him what a great rep I was.       I
                23      was engaging with conversations with providers.
                24                 So if -- if the conversation on one
                25      question went bad, it was all bad.       So that doesn't




                                            JA130
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 134 of 281




                                                                              Page 173
                 1      reflect that in the report.
                 2            Q.     And this document is placing you on
                 3      probation for three months, right?
                 4            A.     Correct.
                 5            Q.     And the basis of this document was
                 6      "unacceptable performance since being put on a
                 7      Performance Improvement Plan in June 2019."          Right?
                 8            A.     Correct.
                 9            Q.     And the document gives you specific areas
                10      where you needed to improve over the next three
                11      months.    Do you remember going through each of those
                12      areas during your meeting with Mr. Sun and
                13      Ms. Faulkner?
                14            A.    I remember Grace Faulkner reading it.
                15            Q.    Did she read straight from the document?
                16            A.    Straight from the document.
                17            Q.    I'll give you a minute to flip through
                18      this document, if you want to review it to refresh
                19      your memory.    I know you produced it, so you're
                20      familiar with it.     But go ahead and flip through it
                21      if you need to.
                22                  MS. JONES:     I hope we aren't going to just
                23           go over the words in the document, because I'll
                24           stipulate the words say what they say.          And
                25           she's already established a foundation that it




                                             JA131
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023    Pg: 135 of 281




                                                                              Page 174
                 1           was read to her.       So whatever is in there is in
                 2           there.
                 3                   Do you need more time?
                 4                   THE WITNESS:     No.
                 5                   MS. JONES:     She doesn't need any more
                 6           time.
                 7      BY MS. WAKE:
                 8            Q.     Okay, Ms. Jones, is there anything in this
                 9      document that Ms. Faulkner did not review with you
                10      during your meeting with her?
                11            A.     No.
                12            Q.     And what was your response to receiving
                13      this document?
                14            A.     I called David a liar.
                15            Q.     Is that all?
                16            A.     I told them that I wasn't signing it, and
                17      that was the end of the conversation.
                18            Q.     Do you remember saying that he was crazy,
                19      and that "You guys are bogus"?
                20            A.     It was bogus.    I mean, I know what
                21      happened throughout the day, so -- what does that
                22      have to do with it?     That's just my opinion about the
                23      situation, so . . .
                24            Q.     That's not what I asked you.        Do you
                25      remember saying --




                                             JA132
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023     Pg: 136 of 281




                                                                               Page 175
                 1               A.   Yes, I do now.        I do.
                 2               Q.   -- "You are crazy," and "You guys are
                 3      bogus"?
                 4                    Yes?
                 5               A.   I already answered your question:        Yes.
                 6               Q.   And do you remember shouting that he was a
                 7      liar?
                 8               A.   Yes, I do.
                 9               Q.   And do you remember doing that multiple
                10      times?
                11              A.    I do.
                12              Q.    And do you remember shouting any other
                13      things at him?
                14              A.    I said, "You're a liar."        That's what I
                15      recall.
                16              Q.    You were not fired after this meeting,
                17      were you?
                18              A.    No.
                19              Q.    And the document that you just reviewed,
                20      that Ms. Faulkner talked to you about during the
                21      meeting, you were given specific things that you
                22      needed to do to improve, right?
                23              A.    Yes.
                24              Q.    In a three-month time frame?
                25              A.    Yes.




                                              JA133
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 137 of 281




                                                                             Page 176
                 1               Q.   And there are five different areas where
                 2      you needed to improve listed there?
                 3               A.   Yes.
                 4               Q.   With instructions below each one, right?
                 5               A.   The document says that, yes.
                 6               Q.   And Ms. Faulkner talked to you about,
                 7      right?
                 8               A.   She read it.
                 9                    MS. JONES:     She read it.
                10                    THE WITNESS:    She read it.
                11      BY MS. WAKE:
                12             Q.     She talked to you about it during that
                13      meeting?
                14             A.     She read the document.      That's what she
                15      did.
                16             Q.     Okay.   So you were aware of these
                17      expectations after your meeting with Ms. Faulkner and
                18      Mr. Sun?
                19             A.     Yes.
                20             Q.     And in the document, at the very end -- so
                21      it's the second-to-last page -- at the bottom:         "As a
                22      result of receiving this disciplinary action."
                23      There.
                24                    So, as a result of receiving this
                25      disciplinary action, you were told that it would be




                                              JA134
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023    Pg: 138 of 281




                                                                                 Page 177
                 1      documented in your performance management year-end
                 2      summary -- that's the wrap-up that we talked about --
                 3      and that you would be deemed as not sufficiently
                 4      meeting expectations for 2019.         Right?
                 5            A.     Yes.
                 6            Q.     And you can't dispute that Mr. Sun
                 7      believed you were not meeting expectations, right?
                 8                   MS. JONES:   Objection.
                 9                   Listen, it says what it says.           She agrees
                10           that that's what Mr. Sun wrote here.            Okay?   I
                11           mean -- come on.
                12      BY MS. WAKE:
                13            Q.     So you can't dispute that Mr. Sun believed
                14      you were not meeting expectations?
                15                   MS. JONES:   Objection.      Calls for
                16           speculation about what's in Mr. Sun's mind, when
                17           she can't talk about what he believed.
                18      BY MS. WAKE:
                19            Q.     You can answer the question, Ms. Jones.
                20            A.     I don't recall.       I don't know.
                21            Q.     This document shows that Mr. Sun believed
                22      you weren't meeting expectations, right?
                23                   MS. JONES:   Objection.      The document
                24           speaks for itself.      That's what the document
                25           says.




                                            JA135
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 139 of 281




                                                                              Page 182
                 1      that you were meeting performance expectations in
                 2      2019?
                 3              A.    No.
                 4                    MS. JONES:   Objection.     Calls for
                 5              speculation.
                 6                    MS. WAKE:    Okay.    She just answered the
                 7              question, "no."
                 8                    THE WITNESS:     Because I'm tired of this.
                 9      BY MS. WAKE:
                10              Q.   Okay, well, we're going to keep --
                11                   MS. JONES:    She doesn't know what Mr. Sun
                12           thought.
                13      BY MS. WAKE:
                14              Q.   Did you receive documentation from Mr. Sun
                15      that gave you any impression that he thought you were
                16      meeting performance expectations in 2019?
                17              A.   I didn't need to receive any documents.        I
                18      knew what I was doing.
                19              Q.   Did -- you knew what you were doing?
                20              A.   I knew what I was doing in the field, in
                21      terms of my provider, in terms of my results, in
                22      terms of conversations I had.
                23                   I knew what he was doing, too.
                24              Q.   Did Mr. Sun give you any indication that
                25      he thought you were meeting performance expectations




                                               JA136
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 140 of 281




                                                                             Page 183
                 1      in 2019?
                 2            A.    Yes.    And on our September ride-along, he
                 3      told me that it was a great day.         It was a good day.
                 4                  But that's not reflective in that
                 5      document.   It just says little things that I had
                 6      improved upon.     And he said it was "small
                 7      improvement," or however -- he tried to minimalize
                 8      it.   Or there was small -- you know, insufficient
                 9      improvement, as he would try to say.
                10            Q.    But Mr. Sun gave you three, four, five --
                11      I think it's actually six documents where he told you
                12      he thought you weren't meeting expectations, right?
                13            A.    If the document said that, then yes.
                14            Q.    And if you look at the bottom of the
                15      document there, where it says that you weren't
                16      meeting performance expectations for 2019, it says,
                17      "You will be ineligible for a base pay increase."        Do
                18      you see that?
                19            A.    I see the document, yes.
                20            Q.    So you were ineligible for a base pay
                21      increase, based on this performance review?
                22            A.    That's what the document says, yes.
                23            Q.    And you were ineligible for promotional
                24      consideration?
                25            A.    That's what the document says, yes.




                                             JA137
USCA4 Appeal: 23-1502    Doc: 14     Filed: 07/07/2023   Pg: 141 of 281




                                                                          Page 184
                 1            Q.   And ineligible for a total equity program
                 2      grant, if applicable, right?
                 3            A.   That's what the document said, yes.
                 4            Q.   What is a total equity program grant?
                 5            A.   Stock, I believe.
                 6            Q.   And you told me earlier that you
                 7      weren't -- that you never received stock at Lilly,
                 8      right?
                 9            A.   I received stock, but not as an incentive.
                10      It was given to everyone.
                11            Q.   For what?
                12            A.   As a part of a benefit.
                13            Q.   And you did not receive a performance
                14      review for 2019, or a wrap-up for 2019, correct?
                15            A.   Correct.
                16            Q.   And that's because you resigned prior to
                17      when they were issued?
                18            A.   Yes.
                19            Q.   And the document on the next page says
                20      that you would be ineligible for incentive pay under
                21      the Premier Rewards Plan, right?
                22            A.   Correct.
                23            Q.   And the document doesn't address any
                24      deficiencies with your sales, correct?
                25            A.   It doesn't address any of the interactions




                                          JA138
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 142 of 281




                                                                             Page 185
                 1      that I had either.     It just --
                 2              Q.   The document --
                 3              A.   It just -- it's just specific ones that he
                 4      wanted to nitpick, call out, or deem as not
                 5      performing.
                 6              Q.   But the document didn't say --
                 7              A.   Or -- or subjective.     Subjective.
                 8              Q.   But you weren't disciplined for not
                 9      meeting your sales numbers?
                10              A.   I was told it didn't matter.       So that's
                11      discipline enough, to disregard someone's producing
                12      at that level, even separating themselves from their
                13      own partners, it's a dismissal, as you're not doing
                14      your part, or you're not being acknowledged to the --
                15      to the success that I had with my sales results.
                16              Q.   But you did not receive discipline because
                17      you didn't hit your sales targets?
                18              A.   No.
                19              Q.   And during this meeting where you received
                20      a probation document, on October 16th, 2019, do you
                21      remember telling Ms. Faulkner that you had more to
                22      share about David's leadership and how he was telling
                23      lies?
                24              A.   And then that's what -- I was talking
                25      about the document.     Yes, I did.




                                             JA139
USCA4 Appeal: 23-1502    Doc: 14      Filed: 07/07/2023   Pg: 143 of 281




                                                                           Page 186
                 1            Q.    And do you remember Ms. Faulkner setting
                 2      up a meeting with you on October 21st, 2019, to
                 3      follow up on that?
                 4            A.    Yes, but I didn't have -- I didn't want to
                 5      share anything with her at that point.
                 6            Q.    And why was that?
                 7            A.    Because she was conspiring with David to
                 8      get me discharged.    Why would I want to tell you
                 9      anything about -- I've been talking to you for the
                10      last six months; why would I ever confide in you
                11      about anything else, when I know you use it against
                12      me?
                13            Q.    And she asked you to write down your
                14      thoughts, but you told her no.      Right?
                15            A.    Told her no.
                16            Q.    Okay.   Are you aware that Mr. Sun made the
                17      decision to place you on probation in September?
                18            A.    No.   That's funny.    After -- it's supposed
                19      to take three months, but you had already made the
                20      decision.   That's interesting.
                21                  I was told that after I spoke with Grace
                22      on October 14th or 15th, that that's when the
                23      decision was made.    So he had already placed me on
                24      probation, not even after three months, even though
                25      that September field ride was near perfection.      All




                                             JA140
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 144 of 281




                                                                               Page 187
                 1      those details with those five interactions were very
                 2      good.    So he would have been lying.
                 3              Q.   Ms. Jones, but it wasn't the PIP that had
                 4      the three-month improvement period, right?          It was
                 5      the probation document that you got in October --
                 6              A.   I wasn't on probation.      This is the
                 7      probation document; it says 10-16.        So if he was
                 8      writing to write me up in September, that wouldn't
                 9      have been justified.     Because I had a September
                10      ride-along on September 25th.
                11              Q.   And -- right.    Are you aware that after
                12      that ride-along, he made the decision to put you on
                13      probation?
                14              A.   No, because Grace Faulkner did not tell me
                15      that in any of our interactions, nor did she tell me
                16      that -- she didn't tell me that until October 14th.
                17              Q.   October 15th, I think, right?
                18              A.   Whatever.   No, I talked to her on
                19      the 14th, after our call -- or our ride-along.
                20              Q.   Well, when we talked before --
                21              A.   Whatever day I talked to him -- it's one
                22      of those days where I talked to her after I rode with
                23      him.    Maybe it was the next day.
                24              Q.   When we talked before, we talked about you
                25      got the probation on the 16th, and you met with




                                            JA141
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 145 of 281




                                                                            Page 188
                 1      Ms. Faulkner on the 15th.
                 2            A.    But I had --
                 3            Q.    That's when you found out.
                 4            A.    I had called her.      I had called her one of
                 5      the days.   I don't remember what date it was, but I
                 6      called her either the 14th or the 15th, telling her
                 7      about what happened, and what happened throughout
                 8      that day on that field ride.
                 9            Q.    And that was --
                10            A.    So she didn't -- she didn't tell me that
                11      until -- that I was getting on probation until
                12      October -- 14th or 15th.
                13            Q.    Right, but so -- during that phone call
                14      with Ms. Faulkner, which we talked about before as
                15      the 15th; but either way, that was the call where you
                16      found out you were going to be on probation?
                17            A.    I told you that just now, yes.
                18            Q.    Okay.
                19                  MS. WAKE:    We can take that document down,
                20           and we can pull up the next one, which is Lilly
                21           Jones 1724.
                22            (Exhibit 18 was marked for identification.)
                23      BY MS. WAKE:
                24            Q.    So this document -- Ms. Jones, do you
                25      recognize this document?




                                            JA142
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 146 of 281




                                                                               Page 189
                 1               A.   Yes.
                 2               Q.   And at the beginning of the dep, you told
                 3      me that every year, Lilly would set incentive
                 4      compensation goals and timing, right?
                 5               A.   Yes.
                 6               Q.   And that's what this document is?
                 7               A.   Yes.
                 8               Q.   If you look to page 6 of this document,
                 9      which is Lilly Jones 1729, this is what you were
                10      telling me about earlier, I think, where there were
                11      kind of four different days throughout the year where
                12      you would get your incentive comp payments; is that
                13      right?
                14            A.      Yes.
                15            Q.      And so for 2019 incentive comp, you would
                16      have got -- you would have gotten that in March,
                17      June, September, and December.        Is that right?
                18            A.      Yes.
                19            Q.      And do you remember receiving incentive
                20      comp in March, June, and September?
                21            A.      And December, yes.
                22            Q.      So you got your incentive comp payment on
                23      December 13th, 2019, right?
                24            A.      Got a partial bonus.
                25            Q.      And you had resigned on the 5th of




                                             JA143
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 147 of 281




                                                                            Page 190
                 1      December?
                 2            A.    Uh-huh.     Yes.    I still got a partial.
                 3            Q.    And if you look on the next page, Lilly
                 4      Jones 1730, "Termination of Participation" -- the
                 5      bottom, there -- were you aware that you were no
                 6      longer eligible for incentive comp once your
                 7      employment with the company ended for any reason?
                 8            A.    Yes, I was aware, but I still got my
                 9      payout.
                10            Q.    And if you look under "Conditions on
                11      Incentive Pay," it says that incentive pay is not
                12      guaranteed or automatic.       Do you see that?
                13            A.    Yes.
                14                  MS. WAKE:    Okay.     We can take that one
                15           down, and we can pull up the next one, which is
                16           Lilly Jones 1106.        And I would ask that you
                17           please blow this up for Ms. Williams-Jones it's
                18           a little small.     Thank you.
                19                  MS. JONES:    Well, I actually have the hard
                20           copy here, so . . . thank you.
                21                  MS. WAKE:    Oh, okay.     Never mind, then.
                22                  MS. JONES:    All right.
                23                  MS. WAKE:    No problem, then.
                24      BY MS. WAKE:
                25            Q.    I'm showing you what I think is




                                              JA144
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 148 of 281




                                                                              Page 191
                 1      Exhibit 19.    This is --
                 2            (Exhibit 19 was marked for identification.)
                 3                 MS. JONES:     Yes.     Exhibit 19.
                 4      BY MS. WAKE:
                 5            Q.   This is a summary of your compensation
                 6      from Lilly in 2018.     Is that right?
                 7            A.   That's what it says, yes.
                 8            Q.   So in -- is it right that in 2018, your
                 9      compensation from Lilly was $111,101.49?
                10            A.   I don't see 111,000; I see 105.          Can you
                11      scroll down?
                12                 Okay, I see that, yes.        Yes.
                13            Q.   Okay.    And it looks like $82,652.53 of
                14      that was your salary?     Is that right?
                15            A.   Yes.
                16            Q.   And that you got $15,807 in that -- in
                17      that Premier Rewards Program; is that right?
                18            A.   Yes.
                19            Q.   Is Premier Rewards incentive compensation?
                20            A.   Yes.
                21                 MS. WAKE:     And we can take this one down,
                22           and let's pull up the next one, which is Lilly
                23           Jones 1107.
                24            (Exhibit 20 was marked for identification.)
                25




                                            JA145
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 149 of 281




                                                                             Page 192
                 1      BY MS. WAKE:
                 2               Q.   So this is the same type of document; it's
                 3      a summary of your earnings from Lilly in 2019, right?
                 4               A.   Yes.
                 5               Q.   And in 2019, you earned your total
                 6      compensation.        So down a little bit lower, your total
                 7      compensation there in the middle, projected on the
                 8      screen, is $115,710.15, right?
                 9               A.   Yes.
                10            Q.      And that's more than you earned in 2018,
                11      right?
                12            A.      Yes.
                13            Q.      And it's actually the highest annual
                14      compensation you earned when you were at Lilly,
                15      right?
                16            A.      Yes.
                17            Q.      And it was $83,082 in your salary, right?
                18            A.      Yes.
                19            Q.      And $20,320 in that incentive
                20      compensation, right?
                21            A.      Yes.
                22            Q.      And that is more than you earned in
                23      incentive compensation in 2018, correct?
                24            A.      Due to a -- due to an incentive pay
                25      increase, yes.




                                                JA146
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023     Pg: 150 of 281




                                                                                Page 193
                 1               Q.   An incentive pay increase in 2019, you
                 2      mean?
                 3               A.   It didn't reflect until 20 -- it would
                 4      have reflected in 2018, so that's why -- it's odd
                 5      that it's less.
                 6               Q.   No, it's more.        In 2019 --
                 7               A.   No, I'm saying -- yeah, it's more, but it
                 8      should -- it took place in -- yeah, it took place in
                 9      February, March of 2019, forgive me.             Yes.
                10              Q.    Okay.   All right.      You resigned your
                11      employment from Eli Lilly on December 5th, 2019,
                12      right?
                13              A.    Yes.
                14              Q.    And you resigned to a woman named Bernice
                15      Anthony?
                16              A.    Yes.
                17                    MS. WAKE:   You can take that exhibit down.
                18           Thanks, Jared.
                19      BY MS. WAKE:
                20              Q.    Who is Bernice Anthony?        Do you know?
                21              A.    She's an investigator.
                22              Q.    At Lilly?
                23              A.    At Lilly.
                24              Q.    And she was calling you to ask you about a
                25      compliance-related investigation, right?




                                              JA147
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 151 of 281




                                                                             Page 194
                 1               A.   Yes.
                 2               Q.   And you -- your employment was not
                 3      terminated, correct?
                 4               A.   No.
                 5               Q.   And your probationary period was still
                 6      going on when you resigned, right?
                 7               A.   Yes.
                 8               Q.   All right.   Let's just maybe do -- maybe
                 9      10, 15 more minutes, and then we can take a quick
                10      break.     Does that sound okay to you?
                11            A.      Yes.
                12            Q.      Or would you rather do one now?
                13            A.      No, go ahead.
                14            Q.      Okay.
                15                    So in your complaint -- and by
                16      "complaint," I mean the lawsuit that you filed in
                17      this case -- you allege that Mr. Sun retaliated
                18      against you on the basis of your race and sex when he
                19      issued you the October probation document, correct?
                20            A.      Correct.
                21            Q.      And you've already told me everything
                22      about the way in which you believe he retaliated
                23      against you with that October 16th document, correct?
                24            A.      Some of it, yes.
                25            Q.      What haven't you told me?




                                              JA148
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 152 of 281




                                                                            Page 195
                 1            A.     That he wasn't doing it to not --
                 2      nonminorities as much as he was doing it to minority
                 3      employees.
                 4            Q.     What else?
                 5            A.     That's it.
                 6            Q.     So now you've told me everything that
                 7      supports your allegation that that October 16th
                 8      probation document was retaliatory?
                 9            A.     Basically, the things that I was -- that I
                10      were written up for, other people were even given
                11      leniency, or it was not deemed as much of an issue as
                12      they made it with me.
                13            Q.     Anything else?
                14            A.     No.
                15            Q.     Other than Mr. Sun, with the probationary
                16      document from October, are there other ways in which
                17      you feel Lilly retaliated against you?
                18            A.     Well, for instance, if -- if you put
                19      somebody on a warning or a probation, then if I
                20      have -- if I lost my pay, my incentive pay, I was
                21      ineligible for incentive pay for four quarters, and
                22      other people who were nonminorities got the same type
                23      of probation or warning, when they were allowed to
                24      still receive 50 percent of their incentive pay until
                25      they reached 100 percent to pay it back, that's not




                                            JA149
USCA4 Appeal: 23-1502    Doc: 14     Filed: 07/07/2023   Pg: 153 of 281




                                                                            Page 196
                 1      the same thing.
                 2                 I was -- I was -- basically I was
                 3      restricted from incentive pay for a full year, based
                 4      on what my sales results were, so I would have been
                 5      working for free.
                 6            Q.   That goes back to --
                 7            A.   Other employees -- other employees were
                 8      allowed to still receive their incentive pay.        Other
                 9      employees were not given a PIP.      They were -- they
                10      were given a longer period of time.      Other employees
                11      were given the excuse of only having themselves in
                12      the territory.    Other employees were given excuses of
                13      being able to have mismanaged samples in storage.         I
                14      did not have any of those issues.
                15            Q.   I appreciate that clarification.        That
                16      relates to that -- to the actual October 16th, 2019,
                17      probation, though, right?
                18            A.   In general, yes.      Yes, all of it.
                19            Q.   So we talked about the actual
                20      October 16th, 2019, probation.     But were there --
                21      taking that probation document aside, were there any
                22      other ways that you think Lilly retaliated against
                23      you when you worked there?
                24            A.   As I go back to -- had I not received a
                25      nonperforming in 2018, and given the sufficient




                                            JA150
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023     Pg: 154 of 281




                                                                                  Page 197
                 1      training that I should have received when I was out
                 2      on my maternity leave, this would not have led up to
                 3      these occurrences of PIPs, Performance Improvement
                 4      Plans, warnings, and probations.
                 5            Q.   So you think the 2018 "not meeting
                 6      expectations" that Ms. Porter gave you was
                 7      retaliatory?
                 8            A.   It was an FMLA violation.           Because she
                 9      retaliated the day I came back.          I don't know how
                10      else you would take that.          The day I rode with her is
                11      the day that she told me I would be receiving a
                12      nonperforming.
                13            Q.   But you didn't receive a demotion?
                14            A.   That has nothing to do with that.              That --
                15      that nonperforming is reason enough for another
                16      hiring manager -- manager to not hire you, or give
                17      you a promotion, or give you -- let you go to
                18      specialty, or transfer to another position.
                19                 So it didn't matter.          It was there.      It
                20      was documented.    It's in your file.        They go back and
                21      they look at your performance over the years.              So if
                22      you're given any type of performance issue, they
                23      don't want to hire you.
                24                 And they typically make you wait three
                25      years to get off that one nonperforming.              So, say, if




                                            JA151
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 155 of 281




                                                                              Page 210
                 1              A.   I can tell you that in -- August 30th, I
                 2      spoke with Victoria Ajaoudi, and I think -- I'm not
                 3      specifically remembering why she called me, but -- I
                 4      don't know; it was like a kind of a check-in-in team
                 5      call.    And she was aware that her partner, William
                 6      White, was having issues with Mr. Sun, and she
                 7      mentioned that she was not having similar issues with
                 8      him, or having the same difficult time with him.
                 9                   And like I said, I also knew that other
                10      people did not get their incentive pay suspended.         I
                11      also knew that other people had more serious
                12      violations that were not immediately -- caused them
                13      to receive -- you know, not have a bonus pay.
                14                   I know that -- that's it.
                15              Q.   When you say that people had more serious
                16      violations that didn't impact their bonus pay, who
                17      had more serious violations?
                18              A.   Brandon Fell.
                19              Q.   And what were his violations?
                20              A.   His violations was he used an unapproved
                21      app, called Coverage, to detail a provider.          He also
                22      used the app, Coverage, and mobility to -- it was
                23      unapproved, so it wasn't supposed to be on your
                24      iPad at all.     He had a sample violation, storage
                25      violation.     He didn't set up two patient detail calls




                                             JA152
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 156 of 281




                                                                                    Page 211
                 1      on a stand-up call.      If he didn't do it on a stand-up
                 2      call, he didn't do it in a lunch either.             He's
                 3      supposed to talk about three patients.          He missed
                 4      field rides.
                 5                    There were a number of different things
                 6      that were done that he wasn't doing, that if I had
                 7      done those things -- like for instance, I did my
                 8      routing and my action plan.         That's like every
                 9      quarter, everyone knows it's mandatory.          He did not
                10      do that.    And still his incentive pay was not
                11      suspended.    So he --
                12            Q.     How do you know that?
                13            A.     I just know.     Because I -- I talked to
                14      people.     I talked -- I heard about it, and I knew
                15      about it.
                16            Q.     You heard about what?
                17            A.     That Mr. Sun was having issues -- I mean
                18      Mr. Fell; forgive me -- Mr. Fell was having issues.
                19            Q.     And you heard from other people about
                20      those issues, and that he wasn't disciplined?
                21            A.     Correct.    And then he was given the excuse
                22      that he was in the territory alone.         You can still
                23      run a territory without another -- a partner.
                24            Q.     Okay.   Can you identify any other employee
                25      at Lilly who had performance issues with four




                                             JA153
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 157 of 281




                                                                            Page 212
                 1      different supervisors who wasn't put on probation?
                 2            A.   No, I don't know that.
                 3            Q.   Did you know a woman named Stephanie Long
                 4      in human resources?
                 5            A.   I spoke to her one time.
                 6            Q.   Do you remember calling her on
                 7      November 1st, 2019?
                 8            A.   Yes.
                 9            Q.   What did you talk to Stephanie Long about?
                10            A.   My issues, that I felt like David Sun was
                11      retaliating against me.      I talked to her about race
                12      and sex discrimination.
                13                 MS. WAKE:     Okay.     And let's mark this next
                14           document here, and after we go through this
                15           document, we'll take a break.
                16                 This is Lilly Jones 1713.
                17            (Exhibit 21 was marked for identification.)
                18      BY MS. WAKE:
                19            Q.   Ms. Jones, do you recognize this one?
                20            A.   Yes.
                21            Q.   And what is this?
                22            A.   This is a statement that I made.
                23            Q.   And did you send this statement to someone
                24      named Richard Ruth?
                25            A.   Yes.




                                            JA154
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 158 of 281




                                                                              Page 213
                 1            Q.    Do you remember sending it to him on
                 2      November 5th, 2019?
                 3            A.    Yes.
                 4            Q.    Why did you send it to Mr. Ruth?
                 5            A.    Because I didn't trust that Grace Faulkner
                 6      was going to do anything about it.         She had already
                 7      caused a problem between Mr. Sun and I.          Instead of
                 8      trying to make the -- reconcile the situation or try
                 9      to make it better, it just seemed that it went in the
                10      wrong direction every time -- every month that I was
                11      with him.
                12            Q.    How did you know who Mr. Ruth was, or that
                13      he was the person that you should send this to?
                14            A.    I didn't.     I talked to Stephanie.     I asked
                15      to speak to her supervisor.
                16            Q.    So Stephanie referred you to Richard Ruth?
                17            A.    Correct.
                18            Q.    Okay.    And flip to page 3.
                19                  You have a section that you call
                20      "Questions and Concerns"?
                21            A.    Yes.
                22            Q.    Above that, it says on October 15th, you
                23      spoke with Grace and told her about the things that
                24      had happened.    "I told her about how I felt he was
                25      abusive in his tone and demeanor and that he lied and




                                             JA155
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023   Pg: 159 of 281




                                                                            Page 214
                 1      . . . gave me negative feedback."        Do you see that?
                 2              A.   Yes.
                 3              Q.   And that was the meeting that we've
                 4      already talked about, right?
                 5              A.   Correct.
                 6              Q.   Do you remember telling Mr. Ruth that he
                 7      should interview Krystle Allen and William White?
                 8              A.   Yes.
                 9              Q.   Do you know if he did?
                10              A.   He told me he did.      I think they talked to
                11      him briefly, but I don't know -- you know, I don't
                12      know.    He told me he did.
                13              Q.   Were you aware that Krystle Allen and
                14      William White both told Richard Ruth that they don't
                15      believe that Mr. Sun engaged in race or sex
                16      discrimination?
                17              A.   No, I'm not.      That's not what I was told.
                18              Q.   By who?
                19              A.   I spoke to both of them.      Krystle Allen
                20      and William White.
                21              Q.   Did you know that when Ms. Allen spoke
                22      with Mr. Ruth, she mentioned that she cried on a
                23      field ride with David, but he apologized, and they
                24      had resolved the issue?
                25              A.   She did not tell me that.




                                               JA156
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 160 of 281




                                                                                Page 215
                 1               Q.   Did you know that Ms. -- or were you aware
                 2      that Ms. Allen told Mr. Ruth that she thinks that
                 3      David treats everybody consistently, and that his
                 4      treatment towards people is the same regardless of
                 5      race?
                 6               A.   No, I did not.
                 7               Q.   And were you aware that Mr. Ruth conducted
                 8      an investigation into your allegations?
                 9               A.   He never told me that.      He never called me
                10      back about it, so no, I did not.
                11              Q.    So you only spoke with him -- how many
                12      times?
                13              A.    One time.
                14              Q.    And then you sent him this e-mail after
                15      you spoke, or at the same time?
                16              A.    Before.
                17              Q.    So you sent him the e-mail November 5th,
                18      and then you spoke with him sometime after that?
                19              A.    I believe it was around like the --
                20      November 11th, or -- something like that.            Middle of
                21      November.
                22              Q.    And then you never talked to him again?
                23              A.    Never talked to him again.
                24                    MS. WAKE:    Okay, why don't we take a
                25           break?




                                                JA157
USCA4 Appeal: 23-1502   Doc: 14       Filed: 07/07/2023     Pg: 161 of 281




                                                                              Page 216
                 1                  MS. JONES:    Counsel, was there any kind of
                 2         report, or -- you know, we don't have any
                 3         documents from Mr. Ruth showing that he
                 4         interviewed Ms. Allen and Mr. -- where are
                 5         those?
                 6                  MS. WAKE:    I produced it to you.       The
                 7         entire report.
                 8                  MS. JONES:    Really?
                 9                  MS. WAKE:    Yeah.
                10                MS. JONES:     Okay.       All right.
                11                MS. WAKE:      Called an eyesight report?        And
                12         it's Mr. Ruth's entire investigation, including
                13         his interviews with the other reps.
                14                THE WITNESS:      I saw notes on that.       I
                15         didn't see . . .
                16                MS. WAKE:      Okay.      Well, this is a good
                17         time to --
                18                MS. JONES:     Can you tell us what day this
                19         is on?
                20                MS. WAKE:      It's identified in the
                21         discovery responses.           But I can pull that for
                22         you later and e-mail it to you.            We produced it.
                23                MS. JONES:     Okay.
                24                MS. WAKE:      All right.      Let's take a quick
                25         break.    We'll come back in about -- maybe five




                                           JA158
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023    Pg: 162 of 281




                                                                                 Page 217
                 1           minutes.
                 2                 MS. JONES:       Well, let's come back --
                 3                 MS. WAKE:        I can't hear you, Ms. Jones.
                 4           You cut out.
                 5                 THE COURT REPORTER:          I can't hear you,
                 6           Ms. Jones.
                 7                 MS. JONES:       Let's come back at 3:25.
                 8                 MS. WAKE:        Okay.    That sounds good.
                 9                 MS. JONES:       All right.
                10                 (A recess transpired from 3:19 p.m. until
                11                 3:28 p.m.)
                12                 MS. WAKE:      Okay.      We're back on the
                13           record, Karen, if you're ready.           Okay.   Great.
                14      BY MS. WAKE:
                15            Q.   In your lawsuit, you allege that Mr. Sun
                16      did not overly scrutinize or criticize two white men,
                17      Douglas Barna and Brandon Fell.          Is that right?
                18            A.   Yes.     However, at that time I did not have
                19      the --
                20                 MS. WAKE:      There's an echo.
                21                 THE WITNESS:       Can you hear me?
                22                 Can you hear me?
                23                 MS. WAKE:      There was some feedback.        It's
                24           better now.     Yes.
                25                 THE WITNESS:       Yes.




                                             JA159
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 163 of 281




                                                                              Page 218
                 1                 At the time, I was unaware -- I was
                 2           unaware that Mr. Barna and -- where Mr. Barna
                 3           and Mr. -- what I had was a December dashboard
                 4           of 2019.    I now have knowledge that Mr. Fell and
                 5           Mr. Barna were performing in their sales
                 6           results; however, Mr. Fell's results were lower
                 7           than mine.
                 8      BY MS. WAKE:
                 9            Q.   Okay.     That gets to my next question.
                10                 So you allege that Mr. Barna and Mr. Fell
                11      had far lower sales rankings than you.          That was your
                12      initial allegation, right?
                13            A.   Correct.
                14            Q.   And so you're saying now you know that
                15      Mr. Barna's numbers were not lower than yours, but
                16      Mr. Fell's were?
                17            A.   I'm just, what -- I'm saying is that they
                18      were not -- they were meeting their sales
                19      expectations, but Mr. Fell's numbers were below mine.
                20            Q.   I see.     And you were also meeting your
                21      sales expectations?
                22            A.   Correct.
                23            Q.   And in your lawsuit, you allege that
                24      Mr. Fell was treated better than you because he was
                25      not placed on a PIP like you, right?




                                             JA160
USCA4 Appeal: 23-1502    Doc: 14      Filed: 07/07/2023     Pg: 164 of 281




                                                                                 Page 219
                 1            A.    Correct.
                 2            Q.    Are you aware that Mr. Fell did receive
                 3      written discipline from Mr. Sun on March 13th, 2020?
                 4            A.    Yes, but that was after 2019.            He received
                 5      it performing for his 2019, but he got that in 2020.
                 6            Q.    How do you know what he received in 2019?
                 7            A.    How do I know?        Because I -- I saw the
                 8      document.
                 9            Q.    When did you see it?
                10            A.    The discovery document?        When it was --
                11            Q.    You weren't -- the first time you learned
                12      of what his performance ranking was in 2019 was
                13      through the discovery in this case?
                14            A.    Oh, no, I'm sorry.        I was -- like I said,
                15      it was based on the December 2019 payout document
                16      that I received.
                17            Q.    How would a December 2019 payout document
                18      show you what Mr. Fell had received for the year?
                19            A.    Because it shows the entire team, based on
                20      their territory, and based on the territory they work
                21      and all the products.
                22            Q.    Right.   But right now, we're talking about
                23      him receiving discipline.         So in your lawsuit, you
                24      allege that Mr. Fell was treated better than you
                25      because he wasn't placed on a PIP like you.




                                             JA161
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 165 of 281




                                                                             Page 220
                 1            A.     Right.
                 2            Q.     And my question to you is, were you aware
                 3      that Mr. Fell actually did receive written discipline
                 4      from Mr. Sun in March of 2020?
                 5            A.     Yes.    That was after the fact, yes.    After
                 6      I filed, yes.
                 7            Q.     And when did you become aware that
                 8      Mr. Fell had received written discipline from
                 9      Mr. Sun?     Was it through discovery in this case?
                10            A.     Correct.    Yes, it was.
                11            Q.     Okay.    Are you aware that Mr. Fell was
                12      actually disciplined for seven different reasons by
                13      Mr. Sun?
                14            A.     Yes.
                15            Q.     And you became aware of that through
                16      discovery?
                17            A.     Correct, yes.
                18            Q.     And are you aware that one of the reasons
                19      that Mr. Fell was disciplined was not using
                20      promotional materials correctly?
                21            A.     Yes, correct.
                22            Q.     And you learned that through this lawsuit?
                23            A.     Yes.
                24            Q.     Were you aware that Mr. Fell was given
                25      performance management goals, just like you were?




                                              JA162
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 166 of 281




                                                                             Page 221
                 1               A.   Yes, but his -- he was -- he was still
                 2      going to -- performing.
                 3               Q.   For 2019?
                 4               A.   For 2019.
                 5               Q.   Were you aware that he was actually given
                 6      more performance management goals than you were?
                 7               A.   I didn't see that.     No, I was not aware.
                 8               Q.   Were you aware that he was told that he
                 9      was going to be deemed as not sufficiently meeting
                10      expectations in 2020?
                11            A.      I wouldn't -- I am now, but I would not
                12      have known that previously.
                13            Q.      And are you aware that he actually did
                14      receive a "not sufficiently meeting performance
                15      expectations" rating from Mr. Sun in 2020?
                16            A.      Yes.
                17            Q.      You learned that through this lawsuit, the
                18      discovery?
                19            A.      Correct.    Yes.
                20            Q.      Are you aware that at the time Mr. Fell
                21      received the "not sufficiently meeting performance
                22      expectations" in 2020, that he was meeting his sales
                23      goals?
                24            A.      Yes.
                25            Q.      You learned that through the discovery in




                                             JA163
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 167 of 281




                                                                             Page 222
                 1      this lawsuit?
                 2            A.   Yes.
                 3            Q.   And are you aware that Mr. Fell was told
                 4      that assessment of customer-facing improvement
                 5      against the PIP would continue into 2021?
                 6            A.   He did not give -- I was aware of it;
                 7      however, he did not give specifics placed in his
                 8      warning at the same level that Mr. Fell received.         It
                 9      was just -- it states on my performance -- or
                10      warning, it states insufficient call details, or VBS;
                11      but on his, it states that you are required to do so.
                12      There's no specifics on that warning.
                13            Q.   But you both received not sufficiently
                14      meeting performance expectations and were given
                15      Performance Improvement Plans, correct?
                16            A.   His was in 2020.         So he was allowed three
                17      months before -- three or four months before he
                18      received that.
                19            Q.   But you both received not meeting
                20      expectations and a Performance Improvement Plan from
                21      the same supervisor?
                22            A.   Yes.
                23            Q.   And Mr. Fell is a white male?
                24            A.   Yes.
                25            Q.   And in your third amended complaint, you




                                             JA164
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 168 of 281




                                                                             Page 223
                 1      also allege that Mr. Sun discriminated against
                 2      William White and Brian Calloway, who you told me
                 3      were two black male sales representatives, correct?
                 4               A.   Yes.
                 5               Q.   So these are men that you think were
                 6      treated less favorably by Mr. Sun?
                 7               A.   Yes.
                 8               Q.   And you allege that Mr. Sun discharged, or
                 9      constructively discharged Mr. White and Mr. Calloway,
                10      right?
                11            A.      No, Mr. White was fired.      Mr. Calloway
                12      resigned.
                13            Q.      But in your complaint, you allege that
                14      Mr. Sun discharged, or constructively discharged --
                15            A.      Yes.
                16            Q.      -- constructively discharged or received a
                17      resignation?
                18            A.      Yes.
                19            Q.      Mr. White and Mr. Calloway, right?
                20            A.      Yes.
                21            Q.      And Mr. Calloway resigned for a serious
                22      compliance issue, right?
                23            A.      Yes.   He resigned for falsifying calls.
                24            Q.      And as a sales rep, would you agree that
                25      that's a pretty serious violation?




                                              JA165
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 169 of 281




                                                                             Page 224
                 1               A.   I don't know what -- in the manner, and
                 2      based on what I know about David, that could -- I
                 3      don't know what he was thinking, but based on what I
                 4      know, no.
                 5               Q.   Have you ever falsified sales calls?
                 6               A.   No, but it's -- how do I say, if you -- if
                 7      there are no "see physicians," and you can't see the
                 8      physician, you're still held accountable for them.
                 9      So whether that -- you might not see the physician,
                10      but you still have to -- you're still responsible for
                11      the physician.
                12                    So he could have marked it, and Mr. Sun
                13              could have seen that as falsifying calls.
                14              Q.    So you don't know any of the details of
                15      what went into someone else's --
                16              A.    I -- I --
                17              Q.    -- call-in?
                18              A.    I spoke to Mr. Calloway briefly, and
                19      that's basically what he told me.         And that's what I
                20      know.     When you can't see a physician, when they --
                21      they don't want to see reps, you're still responsible
                22      for that physician.       And it's still part of your
                23      caller team.     You're still responsible to call on
                24      them.
                25                    So that can -- even though you might not




                                             JA166
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 170 of 281




                                                                              Page 225
                 1      see them, you might leave something.          You might drop
                 2      off samples.
                 3             Q.     But as a sales rep, you personally knew
                 4      that you were not supposed to falsify sales calls,
                 5      correct?
                 6             A.     Correct.
                 7             Q.     And you mentioned to me earlier that
                 8      Mr. White's employment was terminated for performance
                 9      issues.     Is that right?
                10             A.    For administrative and performance issues,
                11      yes.
                12             Q.    And he's a male, correct?
                13             A.    Yes.   But -- however --
                14             Q.    Were you aware --
                15             A.    What I know about him is that when you're
                16      a new rep -- Mr. White was a fairly new rep; and as a
                17      few rep, you're typically given a "performing" your
                18      first year, because you haven't been in the territory
                19      long enough for them to really observe you, as a new
                20      learner.    And the expectations are a little bit
                21      different.
                22             Q.    Were you aware that in 2019, Mr. White
                23      received a performance rating of not meeting
                24      expectations?
                25             A.    Yes.




                                             JA167
USCA4 Appeal: 23-1502   Doc: 14      Filed: 07/07/2023    Pg: 171 of 281




                                                                            Page 278
                 1                 MS. WAKE:    Okay.     Thank you.   That's all.
                 2                 MS. JONES:     Okay.   We want to read and
                 3         sign.
                 4                 MS. WAKE:    What's that?     You want to
                 5         reserve signature?
                 6                 MS. JONES:     Yes.
                 7                 MS. WAKE:    Yes.
                 8                 THE COURT REPORTER:      And this is Karen.
                 9         Who wants a copy of the deposition?
                10                 MS. WAKE:    I would like one, please.
                11                 MS. JONES:   I'd like to order a copy,
                12         also.
                13                 (Discussion off the record.)
                14                 (Time Noted:    4:52 p.m.)
                15
                16
                17
                18
                19
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                25




                                          JA168
USCA4 Appeal: 23-1502    Doc: 14     Filed: 07/07/2023   Pg: 172 of 281




                                                                          Page 279
                 1                    CERTIFICATE OF REPORTER
                 2            I, Karen K. Kidwell, Registered Merit Reporter
                 3      and Notary Public for the State of Maryland at Large,
                 4      do hereby certify:
                 5            That the foregoing deposition was taken
                 6      remotely before me on the date and at the time stated
                 7      on page 1 of this transcript; that the deponent was
                 8      duly sworn to testify to the truth, the whole truth
                 9      and nothing but the truth; that the testimony of the
                10      deponent and all objections made at the time of the
                11      examination were recorded stenographically by me and
                12      were thereafter transcribed; that the foregoing
                13      deposition as typed is a true, accurate and complete
                14      record of the testimony of the deponent and of all
                15      objections made at the time of the examination to the
                16      best of my ability.
                17            I further certify that I am neither related to
                18      nor counsel for any party to the cause pending or
                19      interested in the events thereof.
                20            Witness my hand this 17th day of May, 2022.
                21
                22                      ______________________________
                                        Karen K. Kidwell,
                23                      Registered Merit Reporter
                                        Notary Public
                24                      State of Maryland at Large
                                        My Commission expires:
                25                      April 14, 2025




                                             JA169
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 173 of 281




                                                                               Page 280
                 1                       INSTRUCTIONS TO WITNESS
                 2                    Please read your deposition over
                 3      carefully and make any necessary corrections.
                 4      You should state the reason in the
                 5      appropriate space on the errata sheet for any
                 6      corrections that are made.
                 7                    After doing so, please sign the
                 8      errata sheet and date it.
                 9                    You are signing same subject to
                10      the changes you have noted on the errata
                11      sheet, which will be attached to your
                12      deposition.
                13                 It is imperative that you return
                14      the original errata sheet to the deposing
                15      attorney within thirty (30) days of receipt
                16      of the deposition transcript by you.          If you
                17      fail to do so, the deposition transcript may
                18      be deemed to be accurate and may be used in
                19      court.
                20
                21
                22
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                24
                25




                                             JA170
USCA4 Appeal: 23-1502    Doc: 14       Filed: 07/07/2023    Pg: 174 of 281




                                                                             Page 281
                 1                                 ERRATA
                 2      PAGE   LINE   CHANGE
                 3      ____   ____   _________________________________
                 4             REASON: _______________________________
                 5      ____   ____   _________________________________
                 6             REASON: _______________________________
                 7      ____   ____   _________________________________
                 8             REASON: _______________________________
                 9      ____   ____   _________________________________
                10             REASON: _______________________________
                11      ____   ____   _________________________________
                12             REASON: _______________________________
                13      ____   ____   _________________________________
                14             REASON: _______________________________
                15      ____   ____   _________________________________
                16             REASON: _______________________________
                17      ____   ____   _________________________________
                18             REASON: _______________________________
                19      ____   ____   _________________________________
                20             REASON: _______________________________
                21      ____   ____   _________________________________
                22             REASON: _______________________________
                23      ____   ____   _________________________________
                24             REASON: _______________________________
                25




                                               JA171
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 175 of 281




                                                                             Page 282
                 1                      ACKNOWLEDGMENT OF DEPONENT
                 2
                 3                 I, TANJANEKA LA-SHAWN JONES, do hereby
                 4      certify that I have read the foregoing pages and that
                 5      the same is a correct transcription of the
                 6      answers given by me to the questions therein
                 7      propounded, except for the corrections or
                 8      changes in form or substance, if any, noted
                 9      in the attached Errata Sheet.
                10
                11
                12      ___________________________________________
                13      TANJANEKA LA-SHAWN JONES                    DATE
                14
                15
                16      Subscribed and sworn to before me this
                17      _______ day of _______________, 20 _____.
                18      My commission expires: _______________
                19
                20      _______________________________
                21      Notary Public
                22
                23
                24
                25




                                             JA172
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 176 of 281


                 Case 8:20-cv-03564-GJH Document 48-3 Filed 10/12/22 Page 1 of 3




                                                                               Exhibit B
                                                                     Jones v. Lilly 000028


                                             JA173
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 177 of 281


                 Case 8:20-cv-03564-GJH Document 48-3 Filed 10/12/22 Page 2 of 3




                                                                     Jones v. Lilly 000029


                                             JA174
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 178 of 281


                 Case 8:20-cv-03564-GJH Document 48-3 Filed 10/12/22 Page 3 of 3




                                                                     Jones v. Lilly 000030


                                             JA175
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 179 of 281


                 Case 8:20-cv-03564-GJH Document 48-4 Filed 10/12/22 Page 1 of 5




                                                                                Exhibit C
                                                                     Jones v. Lilly 000023


                                             JA176
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 180 of 281


                 Case 8:20-cv-03564-GJH Document 48-4 Filed 10/12/22 Page 2 of 5




                                                                     Jones v. Lilly 000024


                                             JA177
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 181 of 281


                 Case 8:20-cv-03564-GJH Document 48-4 Filed 10/12/22 Page 3 of 5




                                                                     Jones v. Lilly 000025


                                            JA178
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 182 of 281


                 Case 8:20-cv-03564-GJH Document 48-4 Filed 10/12/22 Page 4 of 5




                                                                     Jones v. Lilly 000026


                                            JA179
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 183 of 281


                 Case 8:20-cv-03564-GJH Document 48-4 Filed 10/12/22 Page 5 of 5




                                                                     Jones v. Lilly 000027


                                             JA180
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 184 of 281




           Faulkner, Grace                                             June 29, 2022

                                                                                1
                             IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF MARYLAND



                  TANJANEKA JONES                :

                              Plaintiff          :

                  v.                             :   20-CV-03564 (GJH)

                  ELI LILLY AND COMPANY          :

                              Defendant          :

                  ---------------------------X



                              Deposition of GRACE FAULKNER, held on

                  Wednesday, June 29, 2022, commencing at 10:00 a.m EST

                  via Zoom before Linda M. Bahur, Notary Public.




                  Reported by:     Linda M. Bahur, RPR




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                                            JA181
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 185 of 281




           Faulkner, Grace                                             June 29, 2022

                                                                                2
              1   A P P E A R A N C E S:

              2   ON BEHALF OF THE PLAINTIFF:

              3         Janice Williams-Jones, Esquire

              4         Law Office of Janice Williams-Jones

              5         3545 Ellicott Mills Drive

              6         Suite 308

              7         Ellicott City, Maryland 21043

              8         (410) 203-1246

              9         (410) 203-2301 (fax)

             10         Lawofficeofjwjones@gmail.com

             11

             12   ON BEHALF OF THE DEFENDANT:

             13         Sarah K. Wake, Esquire

             14         McGuireWoods LLP

             15         77 West Wacker Drive

             16         Suite 4100

             17         Chicago, IL 60601-1818

             18         (312) 849-8238

             19         swake@mcguirewoods.com

             20

             21

             22   Also present:     Tanjaneka Jones




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                                            JA182
USCA4 Appeal: 23-1502    Doc: 14        Filed: 07/07/2023   Pg: 186 of 281




           Faulkner, Grace                                              June 29, 2022

                                                                                 3
              1                             I N D E X

              2
                                      E X A M I N A T I O N
              3
                  Witness Name                                          Page
              4
                  Grace Faulkner
              5
                        By Ms. Jones ............................. 4
              6

              7                          E X H I B I T S

              8   Exhibit     Description                               Page

              9   Exhibit A   Disciplinary Action policy, pages . 29

             10               17-18 of 242 of employee handbook

             11   Exhibit B   Disciplinary action policy, pages . 29

             12               16-17 of 243 of employee handbook

             13   Exhibit C   Case record re complaint of ....... 29

             14               retaliation, pages 1-29

             15   Exhibit D   Case notes re Ching Wei Sun ....... 65

             16               Interview by Grace Faulkner

             17   Exhibit E   Case notes re Ching Wei Sun       ...... 65

             18               Interview by Stephanie Long

             19

             20

             21

             22




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                                             JA183
USCA4 Appeal: 23-1502   Doc: 14         Filed: 07/07/2023    Pg: 187 of 281




           Faulkner, Grace                                               June 29, 2022

                                                                                  4
              1                      P R O C E E D I N G S

              2   Whereupon,

              3                          GRACE FAULKNER

              4   having been first duly sworn, was examined and

              5   testified as follows:

              6                            EXAMINATION

              7   BY MS. JONES:

              8         Q      Good morning.    Ms. Jones.     How are you

              9   doing?

             10         A      Good morning, everyone.      Good morning.
             11         Q      Good morning, Ms. Faulkner.       I'm Janice

             12   Williams-Jones.      I'm the attorney for Tanjaneka Jones.

             13   How are you doing this morning?

             14         A      I'm good.    How are you?
             15         Q      Fine.   Have you ever been deposed before?

             16         A      Yes, I have.
             17         Q      Okay.   So I'm just going to go over the

             18   rules of your deposition, what your counsel probably

             19   discussed with you.      But, you know, certain things

             20   like you have to make sure you answer verbally for the

             21   record so the court reporter can take it down because

             22   she can't take down nods of the head.         If you don't




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                                              JA184
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023     Pg: 188 of 281




           Faulkner, Grace                                               June 29, 2022

                                                                                  5
              1   understand my question, just feel free to ask me to

              2   rephrase it, and I will do that.         But if you do answer

              3   it, I'm going to assume that, you know, that's your

              4   testimony.

              5                If you need to take a break at any time,

              6   that's perfectly fine.     I just ask that you, if there

              7   is a question pending, just answer the question before

              8   you take the break.

              9                The other thing is try not to talk over top

             10   of me.    I know I talk kind of slow sometimes.        Let me

             11   finish the question and I'll let you finish your

             12   answer.    Okay?

             13         A      Okay.
             14         Q      All right.   Would you state your full name

             15   for the record, Ms. Faulkner?

             16         A      Grace Karen Faulkner.
             17         Q      And what is your educational background?

             18         A      I have a degree from University of
             19   Minneapolis in organizational leadership with a minor
             20   in psychology.
             21         Q      And what type of degree do you have?

             22         A      It's a Bachelor of Science.




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                                            JA185
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023      Pg: 189 of 281




           Faulkner, Grace                                                June 29, 2022

                                                                                  58
              1         A    I don't have any recollection of that.
              2         Q    Can you tell me any steps you took to

              3   resolve the problems that were going on between

              4   Mr. Sun and Ms. Jones?

              5         A    I had multiple discussions with both of
              6   them to discuss their concerns.          I followed our
              7   investigative process to address issues.
              8         Q    So other than talk to the two of them, did

              9   you do anything else?     Take any other steps to resolve

             10   it?   I mean, you have Ms. Jones saying he's a liar.

             11   He's not giving an accurate account of her

             12   performance.     What other steps did you take besides

             13   talking to the two of them?

             14         A    I interviewed, I believe, five other people
             15   concerning his performance as a supervisor and I spoke
             16   to his supervisor.
             17         Q    Okay.     Do you recall that Ms. Jones

             18   presented a doctor's note supporting her request for

             19   leave when she was under Mr. Sun?

             20         A    I'm not aware of what she may have
             21   submitted related to her medical needs.
             22         Q    Do you have any duties with respect to




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                                            JA186
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 190 of 281




           Faulkner, Grace                                             June 29, 2022

                                                                                 59
              1   investigating discrimination complaints for Eli Lilly?

              2         A     Yes.
              3         Q     What are your duties?

              4         A     If a complaint comes in to me, I'm expected
              5   to look into it.
              6         Q     What does that entail?

              7         A     That entails following an investigative
              8   process and determining if there's been a violation of
              9   company policy.
             10         Q     Okay.    So how do you do that?    What steps

             11   do you take?

             12         A     I interview the person who alleges that
             13   there's been an act of discrimination.       I interview
             14   any relative witnesses, look at any documentation
             15   that's available.     Interview the person that's accused
             16   of it.    Consult with subject matter experts.      Take the
             17   appropriate actions if there's been a violation.
             18   Document my findings.
             19         Q     And how many discrimination complaints have

             20   you investigated at Lilly?

             21         A     I wouldn't know the number.
             22         Q     Have you investigated one?




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                                            JA187
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023     Pg: 191 of 281




           Faulkner, Grace                                               June 29, 2022

                                                                                 60
              1         A    More than one.
              2         Q    More than two?

              3         A    Yes.
              4         Q    More than five?

              5         A    Yes.
              6         Q    What is Lilly's policy about taking

              7   FAMLA -- strike that.     Do you know what FAMLA is?

              8         A    Yes, I do.
              9         Q    What is FAMLA?

             10         A    Family Medical Leave Act for time off.
             11         Q    What's Lilly's policy about reporting time

             12   off through FAMLA?

             13         A    We have a separate organization that
             14   manages any type of protected leave.         They're called
             15   Sedgwick and through our Lilly leave and disability
             16   center.
             17         Q    And how many days before an employee is to

             18   report it to Sedgwick under the FAMLA policy?

             19              MS. WAKE:     Objection.      Vague.

             20         Q    You can answer.

             21         A    There's a prescribed number of days that a
             22   person -- after which a person needs to report their




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                                            JA188
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023     Pg: 192 of 281




           Faulkner, Grace                                               June 29, 2022

                                                                                  61
              1   continued absence to the leave center.         I believe it's
              2   the eighth working day or the eighth calendar day.
              3   I'm not an expert on the leave process myself.
              4              MS. JONES:     Okay.    I want to take about a

              5         15-minute break and then I'm going to wrap up.

              6         So it's 11:40.     Let's just come back at 12.

              7         Does that work?

              8              THE WITNESS:     Yes.

              9              MS. WAKE:     Sure.

             10              MS. JONES:     Okay.

             11              (Break taken, 11:39 - 11:59 a.m.)

             12   BY MS. JONES:

             13         Q    Ms. Faulkner, can you tell me the date of

             14   the notes that you reviewed for this deposition?

             15              MS. WAKE:     Objection.      Vague.

             16         Q    You can answer.

             17         A    The dates would be on the top of the case
             18   note forms.
             19         Q    Okay.     What were the dates of your notes

             20   that you reviewed for the deposition?

             21         A    Each of the case notes that I looked at
             22   have different dates.




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                                            JA189
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 193 of 281




           Faulkner, Grace                                             June 29, 2022

                                                                               66
              1     CERTIFICATE OF SHORTHAND REPORTER - NOTARY PUBLIC

              2              I, Linda M. Bahur, Registered Professional

              3   Reporter, the officer before whom the foregoing

              4   proceedings were taken, do hereby certify that the

              5   foregoing transcript is a true and correct record of

              6   the proceedings; that said proceedings were taken by

              7   me stenographically and thereafter reduced to

              8   typewriting under my supervision; and that I am

              9   neither counsel for, related to, nor employed by any

             10   of the parties to this case and have no interest,

             11   financial or otherwise, in its outcome.

             12              IN WITNESS WHEREOF, I have hereunto set my

             13   hand and affixed my notarial seal this 8th day of

             14   July, 2022.

             15

             16   My commission expires August 27, 2023.

             17

             18

             19   ______________________________

             20   NOTARY PUBLIC IN AND FOR

             21   THE STATE OF MARYLAND

             22




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                                            JA190
USCA4 Appeal: 23-1502     Doc: 14        Filed: 07/07/2023   Pg: 194 of 281




           Faulkner, Grace                                               June 29, 2022

                                                                                 67
              1                  ACKNOWLEDGMENT OF DEPONENT

              2

              3                  I, _______________________, do hereby

              4   acknowledge that I have read and examined the

              5   foregoing testimony, and the same is a true, correct

              6   and complete transcription of the testimony given by

              7   me, and any corrections appear on the attached Errata

              8   Sheet signed by me.

              9

             10   ____________          ___________________________________

             11         (DATE)                      (SIGNATURE)

             12

             13                  NOTARIZATION    (If Required)

             14   State of ______________________

             15   County of _____________________

             16   Subscribed and sworn to (or affirmed) before me on

             17   this ______ day of ______________________, 20____, by

             18   ____________________________, proved to me on the

             19   basis of satisfactory evidence to be the person who

             20   appeared before me.

             21   Signature: __________________________________

             22                               (Seal)




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                                              JA191
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 195 of 281


                 Case 8:20-cv-03564-GJH Document 48-6 Filed 10/12/22 Page 1 of 3




                                                                             Exhibit E



                                            JA192
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 196 of 281


                 Case 8:20-cv-03564-GJH Document 48-6 Filed 10/12/22 Page 2 of 3




                                            JA193
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 197 of 281


                 Case 8:20-cv-03564-GJH Document 48-6 Filed 10/12/22 Page 3 of 3




                                            JA194
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 198 of 281


                 Case 8:20-cv-03564-GJH Document 51-2 Filed 11/23/22 Page 1 of 6




                                             JA195
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 199 of 281


                 Case 8:20-cv-03564-GJH Document 51-2 Filed 11/23/22 Page 2 of 6




                                             JA196
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 200 of 281


                 Case 8:20-cv-03564-GJH Document 51-2 Filed 11/23/22 Page 3 of 6




                                             JA197
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 201 of 281


                 Case 8:20-cv-03564-GJH Document 51-2 Filed 11/23/22 Page 4 of 6




                                             JA198
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 202 of 281


                 Case 8:20-cv-03564-GJH Document 51-2 Filed 11/23/22 Page 5 of 6




                                             JA199
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 203 of 281


                 Case 8:20-cv-03564-GJH Document 51-2 Filed 11/23/22 Page 6 of 6




                                             JA200
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 204 of 281




                                       JA201
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 205 of 281




                                       JA202
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 206 of 281




                                       JA203
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 207 of 281




                                       JA204
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 208 of 281




                                       JA205
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 209 of 281




                                       JA206
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 210 of 281




                                       JA207
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 211 of 281




                                       JA208
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 212 of 281




                                       JA209
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 213 of 281




                                       JA210
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 214 of 281




                                       JA211
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 215 of 281




                                       JA212
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 216 of 281




                                       JA213
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 217 of 281




                                       JA214
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 218 of 281




                                       JA215
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 219 of 281




                                       JA216
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 220 of 281




                                       JA217
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 221 of 281




                                       JA218
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 222 of 281




                                       JA219
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 223 of 281




                                       JA220
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 224 of 281




                                       JA221
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 225 of 281




                                       JA222
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 226 of 281




                                       JA223
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 227 of 281




                                       JA224
USCA4 Appeal: 23-1502   Doc: 14   Filed: 07/07/2023   Pg: 228 of 281




                                       JA225
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 229 of 281


                 Case 8:20-cv-03564-GJH Document 51-7 Filed 11/23/22 Page 1 of 4




                                             JA226
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 230 of 281


                 Case 8:20-cv-03564-GJH Document 51-7 Filed 11/23/22 Page 2 of 4




                                             JA227
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 231 of 281


                 Case 8:20-cv-03564-GJH Document 51-7 Filed 11/23/22 Page 3 of 4




                                             JA228
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 232 of 281


                 Case 8:20-cv-03564-GJH Document 51-7 Filed 11/23/22 Page 4 of 4




                                             JA229
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 233 of 281


                 Case 8:20-cv-03564-GJH Document 51-9 Filed 11/23/22 Page 1 of 4




                                             JA230
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 234 of 281


                 Case 8:20-cv-03564-GJH Document 51-9 Filed 11/23/22 Page 2 of 4




                                             JA231
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 235 of 281


                 Case 8:20-cv-03564-GJH Document 51-9 Filed 11/23/22 Page 3 of 4




                                             JA232
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 236 of 281


                 Case 8:20-cv-03564-GJH Document 51-9 Filed 11/23/22 Page 4 of 4




                                             JA233
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023    Pg: 237 of 281


                 Case 8:20-cv-03564-GJH Document 51-12 Filed 11/23/22 Page 1 of 5




                                             JA234
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023    Pg: 238 of 281


                 Case 8:20-cv-03564-GJH Document 51-12 Filed 11/23/22 Page 2 of 5




                                             JA235
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023    Pg: 239 of 281


                 Case 8:20-cv-03564-GJH Document 51-12 Filed 11/23/22 Page 3 of 5




                                             JA236
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023    Pg: 240 of 281


                 Case 8:20-cv-03564-GJH Document 51-12 Filed 11/23/22 Page 4 of 5




                                             JA237
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023    Pg: 241 of 281


                 Case 8:20-cv-03564-GJH Document 51-12 Filed 11/23/22 Page 5 of 5




                                             JA238
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023    Pg: 242 of 281


                 Case 8:20-cv-03564-GJH Document 51-13 Filed 11/23/22 Page 1 of 4




                                             JA239
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023    Pg: 243 of 281


                 Case 8:20-cv-03564-GJH Document 51-13 Filed 11/23/22 Page 2 of 4




                                             JA240
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023    Pg: 244 of 281


                 Case 8:20-cv-03564-GJH Document 51-13 Filed 11/23/22 Page 3 of 4




                                             JA241
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023    Pg: 245 of 281


                 Case 8:20-cv-03564-GJH Document 51-13 Filed 11/23/22 Page 4 of 4




                                             JA242
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 246 of 281




           Schott, Timothy                                             June 10, 2022

                                                                                1
                             IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF MARYLAND

                  TANJANEKA JONES,               )

                               Plaintiff,        ) Case No.

                  v.                             ) 20-cv-03564(GJH)

                  ELI LILLY AND COMPANY,         )

                               Defendant.        )

                             REMOTE DEPOSITION OF TIMOTHY SCHOTT

                                     Friday, June 10, 2022

                             10:00 A.M. EASTERN STANDARD TIME




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                                            JA243
USCA4 Appeal: 23-1502   Doc: 14         Filed: 07/07/2023   Pg: 247 of 281




           Schott, Timothy                                                June 10, 2022

                                                                                  86
              1         A.    No, she did not.
              2         Q.    Now, you spoke to Ms. Jones after she

              3   resigned.    Right?

              4         A.    She sent me a text message.      I don't recall
              5   whether we had a specific -- the only specific
              6   incident I remember is one of the offices wanted to
              7   see a picture of Chiron and she sent that to me.           I
              8   gave her feedback.
              9         Q.    How did you become aware Ms. Jones resigned

             10   from Lilly?

             11         A.    As I recall, she contacted me and said
             12   that, you know, she's had enough and that's it.            I
             13   don't even know whether she -- I thought she left on
             14   her own.    I didn't realize or I don't know whether
             15   she was actually fired or left on her own.         My
             16   understanding is she left on her own.
             17         Q.    Were you surprised when she left?

             18         A.    I was disappointed because I considered her
             19   a good sales partner and I consider Tanj a friend.
             20   From a surprise standpoint, it is a tough industry
             21   and there's lots of really talented people coming and
             22   going.     So, no.   The reason I guess I wasn't




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                                             JA244
USCA4 Appeal: 23-1502     Doc: 14        Filed: 07/07/2023   Pg: 248 of 281




           Schott, Timothy                                               June 10, 2022

                                                                                 87
              1   surprised as well with Tanj is as talented as she
              2   was, it didn't seem to matter what manager she was
              3   under.     She always -- it was difficult for her to
              4   take constructive criticism.        You have to have a
              5   thick skin because managers are going to constantly
              6   push us to be our very best, and she struggled with
              7   constructive criticism, regardless of the manager.
              8         Q.    Do you have a specific recollection of

              9   speaking to Ms. Jones after she resigned?

             10         A.    I don't recall whether it was right before
             11   or right after, but I do remember there was no
             12   communication with her.       She did reach out and let me
             13   know.
             14         Q.    Do you recall during that conversation

             15   anything that Ms. Jones told you about why she

             16   resigned?

             17         A.    Just that she had had enough and -- I don't
             18   recall specifics from -- it is a hard -- it is a
             19   tough industry.       There's a lot of sales
             20   representatives that come in and a lot of very good
             21   sales representatives that leave, but I don't
             22   remember a specific conversation other than she had




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                                              JA245
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 249 of 281




           Schott, Timothy                                             June 10, 2022

                                                                                88
              1   had enough and she was leaving.
              2         Q.   Do you remember that Ms. Jones told you she

              3   was tired of Mr. Sun overly scrutinizing her?

              4         A.   I don't remember specifics.      That would be
              5   -- we worked very closely with our managers, so that
              6   would make sense.
              7         Q.   Do you remember Ms. Jones telling you that

              8   Mr. Sun was racist?

              9         A.   No, I do not.
             10         Q.   Did anyone ever tell you that Mr. Sun was

             11   unfair to black people?

             12         A.   No.
             13         Q.   Did anyone ever tell you that three

             14   African-Americans were either fired or quit from

             15   Mr. Sun's team?

             16         A.   I know that there were others that left.       I
             17   don't have any -- with that not being in our
             18   district, I don't have any -- we don't get any
             19   announcements from other districts when people come
             20   and go.    It would just be through sales
             21   representatives contacting each other.       Lilly
             22   management holds that confidential between the sales




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                                             JA246
USCA4 Appeal: 23-1502     Doc: 14        Filed: 07/07/2023   Pg: 250 of 281




           Schott, Timothy                                               June 10, 2022

                                                                                     89
              1   representative that's leaving.
              2         Q.    Okay, but did anyone ever say to you,

              3   listen, three African-Americans on his team,

              4   Mr. Sun's team, either quit or were fired at the same

              5   time or near the same time, did anyone ever tell you

              6   that?

              7         A.    No.     I'm not aware of -- I know in general
              8   that there's turnover within districts, and I know
              9   I've been here awhile, but I'm the only one that's
             10   still with our district.       There's been dozens and
             11   dozens of sales reps that have come and gone.          I just
             12   have to say, though, as a point in general, Lilly is
             13   not racist.       Lilly is -- that is not tolerated.        That
             14   is --
             15         Q.    Excuse me, sir.      Do you know Mr. Sun?

             16         A.    No.     I'm speaking for Lilly.
             17         Q.    I know, but I'm asking another question.

             18   Do you know Mr. Sun?

             19         A.    No, I do not.
             20         Q.    Do you know anything about him or what he

             21   believes or anything like that?

             22         A.    I don't even ever recall having a




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                                              JA247
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023     Pg: 251 of 281




           Schott, Timothy                                               June 10, 2022

                                                                                 98
              1   our routing in Viva.     You talked about a routing
              2   plan, so it holds our routing plan.         We also enter
              3   calls into Viva.
              4               Viva also handles signatures from the
              5   physicians for samples that we have left.          So then
              6   that's what is used in your calls per day and stuff
              7   like that.
              8         Q.    If a sales rep is going to be out of the

              9   field for being sick, what are they supposed to enter

             10   in Viva during that period?

             11         A.    Viva is not very good as far as the number
             12   of choices as far as pull-downs.         If I'm sick, what I
             13   just put in there is out of territory and then you
             14   basically have three choices.      As I recall, you have
             15   vacation, you have Lilly meeting, and then you have
             16   Lilly training.     So obviously, it is not training.
             17   Obviously, it is not an Lilly meeting.         So like
             18   today, I put in Lilly meeting into my Viva.          But if
             19   you're sick, it is like this big bucket for vacation.
             20   But once again, Viva is not the official keeper of
             21   vacation.    That's just showing out of field.        The
             22   official keeper of vacation is Workday.




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                                            JA248
USCA4 Appeal: 23-1502     Doc: 14        Filed: 07/07/2023     Pg: 252 of 281




           Schott, Timothy                                                 June 10, 2022

                                                                                   99
              1               MS. WILLIAMS-JONES:        I don't have anything
              2   else.
              3               MS. WAKE:     Just a few questions,

              4   Mr. Schott.

              5                             EXAMINATION

              6   BY MS. WAKE:

              7         Q.    As you know, Ms. Jones is done asking her

              8   questions.    I'll ask just a few and Ms. Jones may

              9   have a couple more and then we should be done soon.

             10   In 2019, you were not Ms. Jones' supervisor.

             11   Correct?

             12         A.    That's correct.      In 2019, yes.     I have
             13   never been her supervisor.        Yes.     That's right.
             14         Q.    In 2019, you were not in her district.

             15   Correct?

             16         A.    That's correct.      I was part of the
             17   Baltimore district.       She was a part of the
             18   Washington, D.C. district.
             19         Q.    And those districts have different district

             20   sales managers.       Right?

             21         A.    Yes, they do.
             22         Q.    You never prepared a performance review for




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                                                 JA249
USCA4 Appeal: 23-1502     Doc: 14           Filed: 07/07/2023   Pg: 253 of 281




           Schott, Timothy                                                  June 10, 2022

                                                                                    100
              1   Ms. Jones.    Correct?

              2         A.    No.     I never prepared a performance review
              3   for Ms. Jones.
              4         Q.    Did you ever review a performance review

              5   for Ms. Jones that was prepared by someone else?

              6         A.    No.     I've never reviewed a performance
              7   review for Tanjaneka.
              8         Q.    Did any manager ever consult with you on

              9   the contents of Ms. Jones' performance reviews?

             10         A.    No.     No.
             11         Q.    So you don't have any firsthand knowledge

             12   of her performance issues while she was at Lilly.

             13   Correct?

             14         A.    No.     I don't have any other than just, as I
             15   explained before, she had some difficulty with some
             16   of the constructive criticism.           Unfortunately, that's
             17   part of our job.       We are never good enough.        We are
             18   always driving.
             19               MS. WAKE:       Nothing further from me.      Thank

             20   you, Mr. Schott.

             21               MS. WILLIAMS-JONES:         I don't have anything

             22   else.




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                                                 JA250
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 254 of 281




           Schott, Timothy                                             June 10, 2022

                                                                              101
              1              MS. WAKE:    Carol, I would like to reserve

              2   signature and request a copy of the transcript when

              3   it is ready, please.

              4              (Whereupon, at 1:30 p.m., the deposition of

              5   Timothy Schott concluded.)

              6

              7

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                                            JA251
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 255 of 281




           Faulkner, Grace                                             June 29, 2022

                                                                                1
                             IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF MARYLAND



                  TANJANEKA JONES                :

                              Plaintiff          :

                  v.                             :   20-CV-03564 (GJH)

                  ELI LILLY AND COMPANY          :

                              Defendant          :

                  ---------------------------X



                              Deposition of GRACE FAULKNER, held on

                  Wednesday, June 29, 2022, commencing at 10:00 a.m EST

                  via Zoom before Linda M. Bahur, Notary Public.




                  Reported by:     Linda M. Bahur, RPR




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                                            JA252
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023     Pg: 256 of 281




           Faulkner, Grace                                               June 29, 2022

                                                                                   18
              1               MS. JONES:    And I would ask you to please

              2         have the witness answer the questions.

              3         Q     You can answer.

              4         A     I can't answer that question because every
              5   case is going to be investigated.        Saying something
              6   like "ethics policy" is too broad.        I cannot say that
              7   a person is a discharged every time they violate an
              8   ethics policy because it just depends on what the
              9   situation is.
             10         Q     Of course not.     That makes sense to me.      So

             11   that's why I'm asking you whether the same

             12   disciplinary policy applies even if the person

             13   violates some ethics issues where they won't be

             14   discharged or if they're tardy or some other

             15   performance issue.     That's why I'm asking you that

             16   question.

             17               It's the same discipline policy; right?

             18               MS. WAKE:    Objection.      Very vague.

             19         Confusing.

             20         Q     You can answer.

             21         A     We have one disciplinary process for
             22   performance issues.     We have a different policy and a




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                                            JA253
USCA4 Appeal: 23-1502     Doc: 14        Filed: 07/07/2023      Pg: 257 of 281




           Faulkner, Grace                                                  June 29, 2022

                                                                                    19
              1   different process for those who have been determined
              2   to have committed misconduct.
              3           Q    Okay.     There you go.       All right.   So for

              4   first violation of misconduct, you investigate it.

              5   That's what you're saying; correct?

              6                MS. WAKE:     Objection.      Misstates her

              7           testimony.

              8           Q    You can answer.

              9           A    We investigate every case that comes to us.
             10           Q    Okay.     And you find the employer -- strike

             11   that.

             12                If you find that the employee did engage in

             13   some ethics violation, do you -- strike that.

             14                If you find that the employee engaged in an

             15   ethical violation and it's not dischargeable, what is

             16   the penalty for that under Lilly's disciplinary policy

             17   in 2019?

             18                MS. WAKE:     Objection.      Vague.

             19           Q    You can answer.

             20           A    It depends on the details of the case.
             21           Q    Okay.     What are the possible disciplinary

             22   scenarios?




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                                              JA254
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 258 of 281




           Faulkner, Grace                                             June 29, 2022

                                                                                      20
              1         A    If a person is determined to have violated
              2   a policy or procedure about how sales reps are
              3   expected to interact with doctors, for example, it
              4   could result in, I think it's a one-time violation.            I
              5   mean, you're asking me to speculate about the
              6   possibilities of a case where there are so many
              7   details that would determine the outcome of this.             But
              8   it could range from corrective feedback to separation
              9   depending on whether it rose with the level of
             10   misconduct or not.
             11         Q    Okay.     What's in between corrected feedback

             12   and discharge?

             13              MS. WAKE:     Objection as to the time.        I

             14         assume you mean 2019-2020?

             15              MS. JONES:     Yes.

             16         Q    You can answer.

             17         A    So corrective feedback, written warning or
             18   a performance improvement plan at the time, it would
             19   have been probation.     We call it final written warning
             20   now, but at that time it was called probation.        And
             21   then termination.
             22         Q    So if you were engaged in a violation of




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                                            JA255
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023     Pg: 259 of 281




           Faulkner, Grace                                               June 29, 2022

                                                                                   21
              1   some ethical rule, the discipline would be corrective

              2   feedback, written warning or probation or discharge.

              3   Those were the possible options after an

              4   investigation; right?

              5         A     If it rises to the level of misconduct, it
              6   would be termination.
              7         Q     Automatic termination?

              8         A     Yes.    If it resulted in something that was
              9   considered performance, it would follow the
             10   disciplinary path of written warning or probation at
             11   the time.   Currently called final written warning.         If
             12   it was something that didn't rise to the level of
             13   discipline, it would be corrective feedback.
             14         Q     So if I engage in some kind of performance

             15   issues, for instance, I'm not meeting my sales goal,

             16   what would the possible range of discipline be for a

             17   sales rep in 2019 and 2020?

             18         A     It could range from corrective feedback to
             19   written warning to probation at that time.
             20         Q     So it's the same as if you violate ethics

             21   except for the discharge parts; right?

             22               MS. WAKE:    Objection.      Misstates her




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                                            JA256
USCA4 Appeal: 23-1502           Doc: 14             Filed: 07/07/2023          Pg: 260 of 281
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                      Case 8:20-cv-03564-ADC Document 60 Filed 04/07/23 Page 1 of 20



                                      IN THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF MARYLAND

             TANJANEKA JONES,              *
                                           *
                             Plaintiff,    *
                                           *
                         vs.               *      Civil Action No. ADC-20-3564
                                           *
             ELI LILLY AND COMPANY,        *
                                           *
                             Defendant.    *
                                           *
                             ****************************
                                               MEMORANDUM OPINION

                    Defendant Eli Lilly and Company ("Defendant" or "Eli Lilly") moves this Court for

             summary judgment on PlaintiffTanjaneka Jones's Third Amended Complaint. ECF Nos. 26, 48.

             After considering Defendant's Motion and the responses thereto (ECF Nos. 48, 51, 52, 55), the

             Court finds that no hearing is necessary. 1 Loc.R. 105 .6 (D.Md. 2021 ). For the reasons stated herein,

             Defendant's motion for summary judgment is GRANTED.

                                                    Factual Background

                    Plaintiff is a Black woman who was hired as a senior sales representative at Eli Lilly in

             2014. ECF No ..48-2 at 29. 2 She was originally assigned to the Baltimore District of Eli Lily's

             Diabetes Business Unit where she was responsible for selling diabetes related products to

             physicians. Id. at 31-32. 51-52. Plaintiff received a base salary for her role and was also eligible

             for additional incentive compensation through Eli Lilly's Premier Regards Program. Id at 191-93;




             1 On March 2, 2023, this case was referred to United States Magistrate Judge A. David Copperthite

             for all proceedings in accordance with 28 U.S.C. § 636 and Local Rules 301 and 302 (D.Md. 2021).
             ECFNo. 59.
             2
               ECF No. 48-2 is a condensed copy of Plaintiff's deposition with four pages of deposition
             testimony printed to one page. Citations in this Opinion correspond to the deposition page number.
                                                               1




                                                            JA257
USCA4 Appeal: 23-1502        Doc: 14            Filed: 07/07/2023          Pg: 261 of 281


                    Case 8:20-cv-03564-ADC Document 60 Filed 04/07/23 Page 2 of 20



           ECF No. 51-4.

                  Plaintiff was originally supervised by Harald Mendoza, a White or Hispanic male. ECF

           No. 48-2 at 52, 55. In December of 2015, during Plaintiffs first full year at Eli Lilly, Mr. Mendoza

           issued Plaintiff a written warning for deficient performance. Id. at 56-57. Plaintiff was, in Mr.

           Mendoza's opinion, failing to "consistently engage customers in a meaningful selling dialogue

           including using active listening skills, asking effective questions and demonstrating agile

           communications skills." Id. at 57. Given these issues, and others, he concluded that Plaintiff did

           not sufficiently meet her job expectations in 2015. Id. at 64-65. This was, however, the only

           disciplinary warning that Plaintiff received under Mr. Mendoza's supervision, and she

           subsequently received a satisfactory performance rating in 2016. Id. at 66. In July 2017, Andrea

           Gibson-a Black female-replaced Mr. Mendoza. Id. Under Ms. Gibson's supervision, Plaintiff

           received a satisfactory performance rating in 2017. ECF No. 51-2 at 1.

                  As part of a company realignment, Plaintiff was transferred to the Washington D.C. District

           of the Diabetes Business Unit in February 2018 where she was supervised by Jacquelyne Porter-

           a Black female. ECF No. 52 at 68-69. 3 Shortly after her transfer, Plaintiff went out on maternity

           leave for three months. ECF No. 51-2 at 2. Although she briefly returned to work in June 2018,

           Plaintiff had to take medical leave in July 2018 for emergency neck surgery. Id. After nearly seven

           months of leave, Plaintiff returned to Eli Lilly on Octo.ber 3, 2018. ECF No. 51-2 at 2. Once

           Plaintiff was back in the sales force, Ms. Porter noticed several performance deficiencies related

           to Plaintiffs value-based selling and pre-call planning. ECF No. 48-2 at 70. Based on these

           performance inadequacies, Ms. Porter rated Plaintiffs 2018 performance as "not sufficiently



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            ECF No. 52 is a condensed copy of Plaintiffs deposition with four pages of deposition testimony
           printed to one page. Citations in this Opinion correspond to the deposition page number.

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                                                        JA258
USCA4 Appeal: 23-1502         Doc: 14            Filed: 07/07/2023          Pg: 262 of 281


                    Case 8:20-cv-03564-ADC Document 60 Filed 04/07/23 Page 3 of 20



           meeting job expectations." Id. at 71. To spark improvement, Ms. Porter set up weekly check-in

           meetings with Plaintiff and advised her to "invest more time and practice in reviewing studies and

           data." Id. at 70-71.

                  In February 2019, Mark Hudson became the interim supervisor of Plaintiffs team. ECF

           No. 52 at 74. Prior to assuming this position, Mr. Hudson was the Mid-Atlantic sales trainer for

           Eli Lilly's Diabetes Business Unit. Id. at 75. In his training roll, Mr. Hudson accompanied Plaintiff

           on a field ride and trained her in value-based selling. Id. at 76, 126. In the months after assuming

           his new supervisory responsibilities, Mr. Hudson completed two additional field rides/visits with

           Plaintiff during which he-like Ms. Porter-noticed that Plaintiffs pre-call planning and value-

           based selling were inadequate. ECF No. 48-2 at 127-32. To correct these deficiencies, Mr. Hudson

           sent Plaintiff Eli Lilly training literature reenforcing the processes and procedures that sales

           representatives were expected to adhere to. Id. Despite these efforts, Plaintiffs performance in

           these areas did not improve. Consequently, in May 2019, Mr. Hudson informed Plaintiff that she

           would be receiving a Performance Improvement Plan ("PIP"). Id. at 140. Mr. Hudson was,

           however, ultimately replaced before the PIP was issued. Id.

                  On June 1, 2019, David Sun took over as the supervisor of Plaintiffs team. Id. at 77. During

           his first month on the job, Mr. Sun accompanied Plaintiff on a field ride and, like Ms. Porter and

           Mr. Hudson, observed gaps in Plaintiffs pre-call planning and customer facing abilities. ECF No.

           48-3 at 1. Due to her "trend of unacceptable performance," Plaintiff was issued a PIP by Mr.

           Hudson and Mr. Sun on June 28, 2019. Id This disciplinary action was taken despite Plaintiff

           exceeding her sales goals. ECF No. 26 at 1 8. The PIP specifically identified the following

           performance inadequacies: "[i]nadequate pre-call planning which has led to ineffective discussions

           with customers, lack of impact and influence during customer interactions"; "[!Jack of technical



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                                                        JA259
USCA4 Appeal: 23-1502         Doc: 14            Filed: 07/07/2023          Pg: 263 of 281


                    Case 8:20-cv-03564-ADC Document 60 Filed 04/07/23 Page 4 of 20



           knowledge of disease state"; "[i]nability to achieve consistently effective call progression and

           consistent sales results"; and "[!Jack of demonstrated team leadership at an 83 level." Id. Plaintiff

           was required to meet the following performance management goals to complete the PIP: adhere to

           value-based selling based on a structured pre-call plan; show sufficient technical knowledge on

           disease state with customers; conduct efficient dialogue with customers; and conduct monthly

           communications with her district. Id. at 3. Failure to meet these goals could "lead to further

           disciplinary action." Id.

                   After receiving the PIP, Plaintiff met regularly with Grace Faulkner, a member of the

           human resources office at Eli Lilly. ECF No. 48-2 at 89. In August 2019, Plaintiff reported to Ms.

           Faulkner that Mr. Sun was not accurately documenting her performance as he only documented

           interactions where she "had a slight error, or Ddidn't show something properly." ECF No. 52 at

           110. She also expressed that Mr. Sun was discrediting her accomplishments, such as her "strong

           sales record and client relationships." ECF No, 51-2 at 4. Two months later, Plaintiff reported that

           Mr. Sun was discriminating against her on the basis of her sex and race. ECF No. 52 at 96. She

           alleged that Mr. Sun's management style was abusive, demeaning, and upsetting. Id. at 97. She

           specifically recalled that Mr. Sun accused her of being "overemotional" and that he dismissed her

           questions but answered identical questions posed by her white colleagues. Id. at 96-98.

                   Based on Plaintiffs allegations of discrimination, Ms. Faulkner immediately opened an

           investigation into Mr. Sun's conduct. ECF No. 48-2 at 106. As part of this investigation, Ms.

           Faulkner interviewed five female members of Plaintiffs team as well as Mr. Sun's supervisor.

           ECF No. 48-5 at 58.4 While Plaintiff's teammates described Mr. Sun's management style as



           4 ECF No. 48-5 is a condensed copy of Ms. Faulkner's deposition with four pages of deposition
           testimony printed to one page. Citations in this Opinion correspond to the deposition page number.

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                                                         JA260
USCA4 Appeal: 23-1502        Doc: 14            Filed: 07/07/2023          Pg: 264 of 281


                    Case 8:20-cv-03564-ADC Document 60 Filed 04/07/23 Page 5 of 20



           "different," none of them accused him of race or sex discrimination. ECF No. 51-7 at 2-4.

           Additionally, Mr. Sun's supervisor explained that he was "doing exactly what she's been asking

           him to do which is to add more structure to the team and hold people accountable (where they may

           not have been held accountable before)." Id. at 4. Based on these interviews, Ms. Falkner deemed

           Plaintiff's complaints unfounded. Id at 1.

                  The day after Plaintiff reported this discriminatory conduct, Mr. Sun placed her on a three-

           month probationary period for her "unacceptable performance since being put on a [PIP]." ECF

           No. 48-4 at 1. Mr. Sun explained that Plaintiff had failed to: "provide positive customer

           experiences"; "pre-call plan efficiently within the VSB model"; "achieve adequate call

           progression"'; and "complete administrative deliverables in a timely manner." Id. at 1-5. As a

           consequence of this disciplinary action, Plaintiff would be "deemed as not sufficiently meeting

           expectations for performance for 2019" and was "ineligible for a base pay increase, promotional

           consideration, and Total Equity Program grant" as well as "any Incentive Pay under the Premier

           Rewards Plan." Id. at 4-5.

                  On November 1, 2019, Plaintiff contacted Stephanie Long-another member of the human

           resources office at Eli Lilly-to report that Mr. Sun was discriminating against her based on her

           race and sex and was retaliating against her for reporting his behavior. ECF No. 52 at 212.

           Plaintiff's allegations were ultimately brought to a human resources supervisor, Richard Ruth. Id.

           at 212-13. In her interview with Mr. Ruth, Plaintiff reported that Mr. Sun was not fair and balanced

           in his feedback, was abusive and dismissive towards women, and was racially discriminatory

           toward Black employees. ECF No. 51-11 at 3-5. To investigate these claims, Mr. Ruth interviewed

           William White and Krystal Allen, two Black members of Mr. Sun's team whom Plaintiff alleged

           were s_imilarly discriminated against. Id. at 6; ECF No. 48-2 at 214. Mr. White expressed that there



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                                                        JA261
USCA4 Appeal: 23-1502        Doc: 14             Filed: 07/07/2023         Pg: 265 of 281


                    Case 8:20-cv-03564-ADC Document 60 Filed 04/07/23 Page 6 of 20



           was "a cultural clash between management and the team" and that Mr. Sun did not respect the

           sales representatives. ECF No. 51-11 at 6. He went on to say that, in his view, it was "50/50"

           whether Mr. Sun was targeting Black employees. Id However, he later clarified that Mr. Sun's

           behavior was "not about race" but more about Mr. Sun's "leadership and how he runs the team

           like a dictatorship." Id. Ms. Allen similarly explained that, while Mr. Sun was a micromanager,

           she did not believe that he was targeting Black members of the team. Id. at 7.

                  While Mr. Ruth's investigation was ongoing, Plaintiff filed a charge of discrimination with

           the United States Equal Employment Opportunity Commission ("EEOC") alleging that she had

           been discriminated against based on her sex and retaliated against for engaging in protected

           activity. ECF No. 12-2. After filing this charge, Plaintiff alleged that the frequency and intensity

           of Mr. Sun's discrimination and retaliation escalated, making the workplace feel "more and more

           hostile because she was being disciplined for false reasons." ECF No. 18-1 at ,r 15. Plaintiff

           ultimately resigned her employment at Eli Lilly on December 5, 2019, after learning that the

           company was investigating her for compliance related violations. ECF No. 52 at 193-94.

                                               Procedural Background

                  Plaintiff filed a Complaint in the Circuit Court for Prince George's County on or around

           February 28, 2020. ECF No. 23 at 5. She subsequently filed an Amended Complaint on October

           21, 2020. ECF No. 3. Defendant removed the action to this Court on December 9, 2020. ECF Nos.

           1-6. On January 29, 2021, Defendant filed a Motion to Dismiss Plaintiffs Amended Complaint.

           ECF No. 12. Plaintiff filed a Response in Opposition, Motion for Leave to Amend, and proposed

           Second Amended Complaint on March 11, 2021. ECF No. 18. Plaintiffs proposed Second

           Amended Complaint alleged Sex Discrimination in violation of Title VII and Maryland Code,

           State Government Article, § 120-606 (Count I); Sex Based Retaliation in violation of Title VII and



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                                                        JA262
USCA4 Appeal: 23-1502         Doc: 14             Filed: 07/07/2023           Pg: 266 of 281


                    Case 8:20-cv-03564-ADC Document 60 Filed 04/07/23 Page 7 of 20



           Maryland Code,       State Government Article,          § 120-606      (Count II);     Hostile   Work

           Environment/Harassment in vioiation of 42 U.S.C. § 1981 (Count III); Race Discrimination in

           violation of 42 U.S.C. § 1981 (Count VI); Retaliation in violation of 42 U.S.C. § 1981 (Count V);

           and Constructive Discharge based on race and/or sex in violation of Title VII and 42 U.S.C. § 1981

           (Count VI). ECF No. 18-1. Defendant filed its Reply and Opposition to Plaintiff's Motion for

           Leave to Amend on March 25, 2021. ECF Nos. 19, 20.

                   On September 30, 2021, this Court granted in part and denied in part Defendant's Motion

           to Dismiss and granted in part and denied in part Plaintiffs Motion for Leave to Amend. ECF Nos.

           23, 24. The Court dismissed Count III, finding that Plaintiff had not sufficiently alleged that

           Defendant's conduct was "severe or pervasive." Id. at 16. The Court also dismissed Count VI,

           finding that Plaintiff failed to allege a viable constructive discharge claim. Id at 18. Plaintiff was,

           however, granted leave to amend Counts I, II, IV, and V. Id. at 11-14, 19-23.

                  Plaintiff filed a Third Amended Complaint on October 13, 2021. ECF No. 26. This

           Complaint alleged the following counts: Sex Discrimination in violation of Title VII and the
                                                                                              \
           Maryland Fair Employment Practices Act ("MFEPA"), Maryland Code, State Government

           Article, § 20-606 (Count I); Sex Retaliation in violation of Title VII and the MFEPA (Count II);

           Race Discrimination in violation of 42 U.S.C. § 1981 (Count III); and Retaliation in violation of

           42 U.S.C. § 1981 (Count VI). Id

                  Defendant filed the instant Motion for Summary Judgment on October 12, 2022. ECF No.

           48. Plaintiff Responded in Opposition on November 23, 2022. ECF No. 51. Defendant Replied on

           December 21, 2022. ECF No. 55.




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                                                          JA263
USCA4 Appeal: 23-1502        Doc: 14             Filed: 07/07/2023          Pg: 267 of 281


                    Case 8:20-cv-03564-ADC Document 60 Filed 04/07/23 Page 8 of 20



                                                       DISCUSSION
           A.      Standard of Review

                  Pursuant to Rule 56, a movant is entitled to summary judgment where the pleadings,

           depositions, answers to interrogatories, and admissions on file, together with affidavits, if any,

           show that there is no genuine issue as to any material fact. Fed.R.Civ.P. 56(a). See Celotex Corp.

           v. Catrett, 477 U.S. 317, 322-23 (1986); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48

           (1986) ("[T]he mere existence of some alleged factual dispute between the parties will not defeat

           an otherwise properly supported motion for summary judgment; the requirement is that there be

           no genuine issue of material fact." (emphasis in original)). An issue of fact is material if, under

           the substantive law of the case, resolution of the factual dispute could affect the outcome.

           Anderson, 477 U.S. at 248. There is a genuine issue as to material fact "if the evidence is such that

           a reasonable jury could return a verdict for the nonmoving party." Id. See Dulaney v. Packaging

           Corp. of Am., 673 F.3d 323, 330 (4th Cir. 2012). On the other hand, if after the Court has drawn

           all reasonable inferences in favor of the nonmoving party, and "the evidence is merely colorable,

           or is not significantly probative, summary judgment may be granted." Anderson, 477 U.S. at 249-

           50 (citations omitted).

                  The party seeking summary judgment bears the initial burden of establishing either that no

           genuine issue of material fact exists or that a material fact essential to the non-movant's claim is

           absent. Celotex Corp., 477 U.S. at 322-24. Once the movant has met its burden, the onus is on the

           non-movant to establish that there is a genuine issue of material fact. Matsushita Elec. Indus. Co.

           v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). In order to meet this burden, the non-movant

           "may not rest upon the mere allegations or denials of [its] pleadings," but must instead "set forth

           specific facts showing that there is a genuine issue for trial." Bouchat v. Bait. Ravens Football

           Club, Inc., 346 F.3d 514,522 (4th Cir. 2003) (quoting Fed.R.Civ.P. 56(e)).

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                                                        JA264
USCA4 Appeal: 23-1502        Doc: 14             Filed: 07/07/2023          Pg: 268 of 281


                    Case 8:20-cv-03564-ADC Document 60 Filed 04/07/23 Page 9 of 20



           B.     The Race and Sex Discrimination Claims (Counts I & III)

                  Defendant first argues that it is entitled to summary judgment on Plaintiff's sex and race

           discrimination claims brought under Title VII, the MFEPA and 42 U.S.C. § 1981. ECF No. 48-1

           at 12-16. Discrimination claims brought under Title VII, § 1983, and the MFEPA are analyzed

           under the same standards. See Love-Lane v. Martin, 355 F.3d 766, 786 (4th Cir. 2004); Hawkins

           v. Leggett, 955 F.Supp.2d 474, 496-97 (D.Md. 2013). To survive summary judgment on these

           claims, "a plaintiff must either proceed under the mixed-motive framework or the McDonnell

           Douglas burden-shifting framework." Sempowich v. Tactile Sys. Tech., Inc., 19 F.4th 643, 649

           (4th Cir. 2021) (citing Perkins v. Int'/ Paper Co., 936 F.3d 196, 206 n.4 (4th Cir. 2014)). Here,

           Plaintiff has chosen to proceed under the McDonnell Douglas burden-shifting framework. ECF

           No. 51 at 13.

                  Under the burden-shifting framework, a plaintiff must first offer a prima facie case of

           discrimination. Sempowich, 19 F.4th at 649. A plaintiff may do so by showing: (1) membership in

           a protected class; (2) satisfactory job performance; (3) that her employer took an adverse action

           against her; and (4) that she was treated differently from similarly situated employees outside the

           protected class. Bing v. Brivo Sys., LLC, 959 F.3d 605, 626 n.8 (4th Cir. 2020); Coleman v. Md.

           Court ofAppeals, 626 F.3d 187, 190 (4th Cir. 2010). Once the plaintiff makes this initial showing,

           "the burden shifts to the employer to put forth a nondiscriminatory explanation for its actions."

           Sempowich, 19 F.4th at 650 (citing Lettieri v. Equant Inc., 478 F.3d 640, 646 (4th Cir. 2007)). If

           the defendant does so, "the burden then shifts back to the plaintiff to show that the employer's

           explanation was 'actually a pretext for discrimination."' Id. (quoting Lettieri, 478 F.3d at 646).

                  Here, Defendant does not contest that, as a Black female, Plaintiff is a member of a

           protected class. ECF No, 48-1. Defendant does, however, argue that Plaintiff cannot make the



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                                                         JA265
USCA4 Appeal: 23-1502         Doc: 14              Filed: 07/07/2023          Pg: 269 of 281


                    Case 8:20-cv-03564-ADC Document 60 Filed 04/07/23 Page 10 of 20



           requisite showing on the second, third, and fourth prong of the prima facie case. ECF No. 48-1 at

           12-15. For the reasons explained below, the Court finds that Plaintiff has not successfully alleged

           that she was satisfactorily performing her job or that she was disciplined more severely than other

           similarly situated employees outside of the protected class. Accordingly, Plaintiff cannot make out

           a prima facie case of discrimination.

             1.    Satisfactory Job Performance

                   Defendant first argues that Plaintiff cannot establish that she was satisfactorily performing

           her job as she ''.received coaching and criticism for the same performance deficiencies by four

           different supervisors ... over a five-year period." ECF No. 48-1 at 12-13. To establish the

           satisfactory job performance element of a prima facie case, a plaintiff must show that she was

           "performing her job duties at a level that met her employer's legitimate expectations at the time of

           the adverse employment action." Hill v. Lockheed Martin Logistics Mgmt., Inc., 354 F.3d 277, 285

           (4th Cir. 2004). "Generally, in evaluating whether a plaintiff has met the legitimate expectations

           of her employer, '[i]t is the perception of the decision maker which is relevant, not the self-

           assessment of the plaintiff."' Rodgers v. Eagle Alliance, 586 F.Supp.3d 398,438 (D.Md. 2022)

           (quoting King v. Rumsfeld, 328 F.3d 145, 149 (4th Cir. 2003)). A plaintiff need not "show that

           [s]he was a perfect or model employee." Haynes v. Waste Connections, Inc., 922 F.3d 219, 225

           (4th Cir. 2019). Moreover, a plaintiff may introduce "evidence that demonstrates (or at least creates

           a question of fact) that the proffered 'expectation' is not, in fact, legitimate at all." Warch v. Ohio

           Cas. Ins. Co., 435 F.3d 510,517 (4th Cir. 2006).

                  Plaintiff here argues that she was meeting Eli Lilly's performance expectations as she was

           reaching and exceeding her sales quota. ECF No. 51 at 17. The Court initially notes that Plaintiff




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                                                          JA266
USCA4 Appeal: 23-1502        Doc: 14             Filed: 07/07/2023          Pg: 270 of 281


                   Case 8:20-cv-03564-ADC Document 60 Filed 04/07/23 Page 11 of 20



           submits scant evidence demonstrating that she was achieving her sales quota. 5 However, even if

           this assertion was properly supported, Defendant has introduced evidence that meeting the

           requisite sales quota was but one of many duties Plaintiff was expected to perform as a Senior

           Sales Representative. Indeed, Plaintiff agreed during her deposition that she was expected to

           perform all of the following functions:

                  •   Understand-"Understands the healthcare marketplace; the payer environment;
                      customer (account and stakeholder) priorities; patient, product and money
                      flows; patient disease states and therapeutic options; and Lilly resources,
                      processes, policies and procedures."
                  •   Plan-"Analyzes patient, product and monetary flows; prioritizes
                      opportunities; builds territory and account plans; and secures needed
                      resources."
                  •   Execute-"Executes territory and account plans; achieves territory and account
                      plan goals and completes actions on a timely basis; and regularly assesses and
                      adjusts territory and account plans as needed."

           ECF No. 48-2 at 39-40. In light of this array of expectations, the Court finds that achievement of

           Plaintiff's sales quota was necessary but not sufficient to meet Defendant's legitimate job

           expectations. More importantly, Plaintiff has not offered evidence showing that she was

           satisfactorily performing these other job functions. This omission is especially problematic given

           that all of Plaintiff's disciplinary violations relate to her deficient planning and communications

           skills-not the failure to achieve the requisite sales quota.

                  Plaintiff also argues that Mr. Sun used subjective criteria to falsely evaluate her

           performance. ECF No. 51 at 17-19. I disagree. To the contrary, Mr. Sun included in Plaintiff's

           PIP and Notice of Probation concrete and specific performance deficiencies that he heard about or

           personally observed. ECF No. 48-4. For example, he notes that the staff at the Maryland Primary


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            In support of this assertion, Plaintiff offers only her own affidavit in which she alleges that "her
           sales were the second highest in the Washington, DC, team district." ECF No. 51-2 at 3. This is,
           however, unhelpful as a Plaintiff's "own testimony ... cannot establish a genuine issue as to
           whether [a plaintiff] was meeting [their employer's] expectations." See King, 328 F.3d at 149.
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                                                         JA267
USCA4 Appeal: 23-1502        Doc: 14             Filed: 07/07/2023           Pg: 271 of 281


                   Case 8:20-cv-03564-ADC Document 60 Filed 04/07/23 Page 12 of 20



           Care/Arnold office "brought up to [him] a lunch that was cancelled" by Plaintiff and that he

           witnessed Plaintiff neglect several provisions of the "Global SR Competency Model" during their

           field rides. Id. at 3-4. Mr. Sun also developed five specific performance management goals to

           ensure that Plaintiffs performance improved. Id Among other things, he explained that Plaintiff

           was "expected to develop [a] pre-call plan that is customer centric, sequential and anticipates

           customer needs, concerns and outcomes of the call." Id at 3. Considering the detailed nature of

           Plaintiff's disciplinary reprimands, the Court finds that Mr. Sun's criticisms are not too subjective

           to be considered at the prima facie stage. See Warch, 435 F.3d at 517-18 (reasoning that an

           employer's criticisms were not too subjective when they were based on "concrete, specific

           observations and accompanied ... with explicit instructions on how to improve").

                   In sum, Plaintiff has not offered facts to show that she was satisfactorily performing all or

           even most of her legitimate job expectations. Moreover, Defendant has introduced undisputedfacts

           that, over her five-year tenure with the company, multiple supervisors-of different genders and

           races-found that she was not satisfactorily meeting performance expectations. This is evidenced

           by her written warning, PIP, Notice of Probation, and three unsatisfactory performance ratings.

           ECF Nos. 48-2 at 56-57; 48-3; 48-4; 52 at 127-32. When evidence of a plaintiffs deficient

           performance is presented, it is not this Court's role "to sit 'as a kind of super-personnel department

           weighing the prudence of employment decisions."' Villa v. CavaMezze Grill, LLC, 858 F.3d 896,

           901 (4th Cir. 2017) (quoting DeJarnette v. Corning Inc., 133 F.3d 293, 299 (4th Cir. 1998)).

           Accordingly, the Court finds that there is no genuine dispute of material fact as to this element of

           Plaintiff's discrimination claim.

            ii.   Adverse Employment Action

                  Defendant next argues that Plaintiff did not suffer an adverse employment action because



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                                                         JA268
USCA4 Appeal: 23-1502        Doc: 14             Filed: 07/07/2023         Pg: 272 of 281


                   Case 8:20-cv-03564-ADC Document 60 Filed 04/07/23 Page 13 of 20



           she resigned prior to experiencing the "tangible consequences" of her probationary term. ECF No.

           48-1 at 14. I disagree. The United States Court of Appeals for the Fourth Circuit has explained that

           "[a]n adverse employment action is a discriminatory act that 'adversely affect[s] the terms,

           conditions, or benefits of the plaintiff's employment."' Holland v. Washington Homes, Inc., 487

           F.3d 208,219 (4th Cir. 2007) (quoting James v. Boaz-Allen & Hamilton, Inc., 368 F.3d 371,375

           (4th Cir. 2004)). Adverse actions include "discharge, demotion, decrease in pay or benefits, loss

           of job title or supervisory responsibility, or reduced opportunities for promotion." Boone v.

           Goldin, 178 F.3d 253, 255 (4th Cir. 1999) (emphasis added). Here, Plaintiffs Notice of Probation

           made her ineligible for, among other things, "promotional consideration." ECF_ No. 48-4 at 4-5.

           Plaintiff therefore worked without the possibility of promotion from the date she received the

           Notice of Probation through the date that she resigned. Accordingly, the Court finds that she has

           sufficiently alleged an adverse employment action.

            iii.   Disparate Treatment

                   Finally, Defendant argues that "Plaintiff was treated the same as employees outside her

           protected classes." ECF No. 48-1 at 14, "Where a plaintiff attempts to rely on comparator evidence

           to establish circumstances giving rise to an inference of unlawful discrimination ... '[t]he

           similarities between comparators ... must be clearly established to be meaningful."' Swaso v.

           Onslow Cnty. Bd. of Educ., 698 Fed.App'x 745, 748 (4th Cir. 2017) (quoting Lightner v. City of

           Wilmington, NC., 545 F.3d 260, 265 (4th Cir. 2008)). "In the employee discipline context, a prima

           facia case of discrimination is established if the plaintiff shows that [she] 'engaged in prohibited

           conduct similar to that of a person of another race [or sex] ... and ... that disciplinary measures

           enforced against the plaintiff were more severe than those enforced against the other person."'

           Kelley v. U.S. Parcel Serv., Inc., 528 Fed.App'x 285,286 (4th Cir. 2013) (quoting Moore v. City



                                                           13




                                                        JA269
USCA4 Appeal: 23-1502        Doc: 14             Filed: 07/07/2023          Pg: 273 of 281


                   Case 8:20-cv-03564-ADC Document 60 Filed 04/07/23 Page 14 of 20



           of Charlotte, 754 F.2d 1100, 1105-06 (4th Cir. 1985)).

                  Plaintiff provides specific evidence of only one comparator, a white male sales

           representative named Brandon Fell. ECF No. 51 at 18-20. She argues that Mr. Fell received

           preferential treatment as Mr. Sun gave him a satisfactory performance rating in 2019 despite

           serious performance deficiencies. ECF No. 51-12. The Court is, however, dubious of this

           comparison as Plaintiff has not introduced evidence suggesting that she and Mr. Fell were

           reprimanded for the same or similar conduct. For example, while Plaintiff was consistently

           disciplined for her deficient pre-call planning skills, Mr. Fell was noted as having "good customer

           facing skills" and a "systematic approach for pre-call planning which enabled [his] understanding

           of customer needs." Id. at 4. Mr. Fell was, instead, disciplined for, among other things, using

           unapproved electronic resources and failing to utilize all promotional materials. ECF No. 48-6.

           These differentiating circumstances leave the Court unable to determine whether any disciplinary

           disparity is attributable to Plaintiff's sex/race or simply the differences in Mr. Fell's actionable

           conduct.

                  Even if Mr. Fell was deemed a proper comparator, Plaintiff has failed to show she was

           disciplined more severely. Just three months after Mr. Fell was given a satisfactory rating, Mr. Sun

           issued him a "Written Warning for Violation" of various Eli Lilly policies and procedures. ECF

           No. 48-6 at 1. In her deposition, Ms. Faulkner explained that at some point after Plaintiff resigned,

           the Company eliminated "probation" from its disciplinary structure and replaced it with "final

           written warning." ECF No. 51-8 at 20. Accordingly, despite the difference in title, there is no

           material difference between Plaintiff's "Notice of Probation" and Mr. Fell's "Written Warning for

           Violation." Indeed, much of the language explaining the consequences of the disciplinary actions

           is repeated verbatim in both documents. Like Plaintiff's "Notice of Probation," Mr. Fell's "Written



                                                            14




                                                         JA270
USCA4 Appeal: 23-1502        Doc: 14             Filed: 07/07/2023          Pg: 274 of 281


                   Case 8:20-cv-03564-ADC Document 60 Filed 04/07/23 Page 15 of 20



           Waming for Violation" required that he be deemed "as not sufficiently meeting expectations for

           performance" and assigned him specific performance management goals. ECF No. 48-6 at 2-3.

           Accordingly, while there are differences in the specific terms of the disciplinary documents, the

           Court finds that Mr. Fell and Plaintiff were both disciplined and that there is no evidence that Mr.

           Fell was treated more favorably. Therefore, Plaintiff has failed to generate a genuine dispute of

           material fact on this element of her discrimination claim.

                  Because Plaintiff has failed to show that she was satisfactorily performing her job and that

           other employees outside of the protected class were treated more favorably, she has failed to make

           out a prima facie case of discrimination.

            1v.   Legitimate Nondiscriminatory Reason & Pretext

                  Even if Plaintiff could establish a prima facie case, she has failed to rebut Defendant's

           legitimate, non-discriminatory reason for placing her on probation: namely, her unsatisfactory

           performance. As explained above, Plaintiff's performance deficiencies were documented by four

           different supervisors of various genders and races (including a Black female) over a five-year span.

           Plaintiff has failed to rebut this evidence by showing that she was in fact satisfactorily performing

           the functions of her job or that other similarly situated employees were more leniently disciplined

           for similar violations. Accordingly, Plaintiff has failed to show that Defendants proffered non-

           discriminatory reason is "false" or "unworthy of credence" and therefore, pretextual. See Price v.

           Thompson, 380 F.3d 209, 212 (4th Cir. 2004) (Pretext can be proven "by showing that the

           explanation is unworthy of credence or by offering other forms of circumstantial evidence

           sufficiently probative of' race/sex discrimination (citation omitted)); see also King, 328 F.3d at

           152 (explaining that the plaintiff's comparator pretext argument fails because he did not "present




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                                                         JA271
USCA4 Appeal: 23-1502         Doc: 14            Filed: 07/07/2023           Pg: 275 of 281


                   Case 8:20-cv-03564-ADC Document 60 Filed 04/07/23 Page 16 of 20



           the first form or proof ... testimony that the administrators believed the two teachers were similarly

           situated in the relevant respect").

                  For all these reasons, the Court fmds that summary judgment in favor of Defendant is

           appropriate as to Counts I & III.

           C.     The Retaliation_Claims (Counts II & IV)

                  Defendant further argues that it is entitled to summary judgment on Plaintiff's retaliation

           claims brought under Title VII, the MFEPA, and 42 U.S. C. § 1981. ECF No. 48-1 at 16-18.

           Plaintiff's retaliation claims are all analyzed under the same standard. Boyer-Liberto v.

           Fontainebleau Corp., 786 F.3d 264, 281 (4th Cir. 2015); Lowman v. Md. Aviation Admin., No.

           JKB-18-1146, 2019 WL 133267, at *4 (D.Md. Jan. 8, 2019) ("[C]ourtsjudge discrimination and

           retaliation clfims brought under MFEPA by the same standards as those same claims brought

           under Title VII."). As with discrimination claims, "[t]he series of proofs and burdens outlined in

           McDonnell Douglas apply to retaliation claims." Karpel v. /nova Health Sys. Servs., 134 F.3d

           1222, 1228 (4th Cir. 1998). To make out a prima facie case of retaliation, a plaintiff must prove

           three elements: (1) "that she engaged in a protected activity"; (2) "that her employer took an

           adverse employment action against her"; and (3) "that there was a causal link between two events."

           EEOC v. Navy Fed. Credit Union, 424 F.3d 397, 405-06 (4th Cir. 2005).

             i.   The Prima Facia Case

                  In the instant case, Defendant does not dispute that Plaintiff engaged in protected activity

           when she reported Mr. Sun's behavior to Ms. Faulkner. See Roberts v. Glen Indus Grp., Inc., 998

           F.3d 111, 122 (4th Cir. 2021) ("Complaints raised through internal company procedures are

           recognized as protected activity."). And, 11s explained above, restricting Plaintiff's promotional

           opportunities constitutes an adverse employment action. See Burlington Northern & Santa Fe Ry.



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                                                         JA272
USCA4 Appeal: 23-1502        Doc: 14                Filed: 07/07/2023       Pg: 276 of 281


                   Case 8:20-cv-03564-ADC Document 60 Filed 04/07/23 Page 17 of 20



           Co. v. White, 548 U.S. 53, 67-68 (2006) (In the context ofretaliation, any action which "well might

           have dissuaded a reasonable worker from making or supporting a charge of discrimination"

           constitutes an adverse employment action (cleaned up)). Accordingly, to make out a prima facie

           case of retaliation Plaintiff need only show that her placement on probation was causally connected

           to her engaging in protected activity.

                  The United States Court of Appeals for the Fourth Circuit has held that "establishing a

           'causal relationship' at the prima facia stage is not an onerous burden." Strothers v. City ofLaurel,

           895 F.3d 317, 335 (4th Cir. 2018). "An employee may establish prima facia causation simply by

           showing that (1) the employer either understood or should have understood the employee to be

           engaged in protected activity and (2) the employer took adverse action against the employee soon

           after becoming aware of such activity." Id. at 335-36; Sempowich v. Tactile Sys. Tech., Inc., 19

           F.4th 643, 654 (4th Cir. 2021) ("[T]emporal proximity suffices to show a causal relationship.").

           When a plaintiff relies on the temporal proximity between an employer's knowledge of protected

           activity and an adverse employment action, "the temporal proximity must be 'very close."' Clark

           Cnty. Sch. Dist. v. Breeden, 532 U.S. 268,273 (2001); see King v. Rumsfeld, 328 F.3d 145, 151

           n.5 (4th Cir. 2003) (noting that a gap of two months and two weeks between protected activity and

           an adverse action did "not undercut the inference of causation enough to render [the plaintiffs]

           prima facie claim unsuccessful.").

                  Here, Defendant argues that Plaintiff did not complain about Mr. Sun's behavior until after

           she was informed that she would be placed on probation. ECFNo. 48-1 at 17. Not so. Plaintiff has

           submitted evidence that she first accused Mr. Sun of fabricating false performance reviews in

           August 2019, two months before she was ultimately placed on probation. ECF No. 52 at 110-11.

           She also alleges that Ms. Faulkner kept Mr. Sun apprised of her complaints and that the two were



                                                            17




                                                         JA273
USCA4 Appeal: 23-1502           Doc: 14             Filed: 07/07/2023          Pg: 277 of 281


                     Case 8:20-cv-03564-ADC Document 60 Filed 04/07/23 Page 18 of 20



           "conspiring ... to get her discharged." Id at 113, 186. While there is no evidence of"conspiracy,"

           there are facts to support Ms. Faulkner's integral involvement in drafting, presenting, and

           executing Plaintiffs PIP and Notice of Probation. ECF Nos. 52 at 82-83, 171-72; 51-14. Based

           primarily on the timing of the events, the Court finds that Plaintiff has established prima facia

           causation, although causation is dubious at best.

               ii.   Non-Retaliatory Reason & Pretext

                     Assuming, based upon the timing of these events, that Plaintiff has established a prima

           facie case of retaliation, the burden shifts back to Defendant to "articulate a lawful, non-retaliatory

           reason for the adverse employment decision." Shaffer v. ACS Gov. Servs., Inc., 454 F.Supp.2d 330,

           335-36 (D.Md. 2006). Here, as explained above, Defendant has done so by detailing Plaintiff's

           extensive history of unsatisfactory performance. ECF No. 48-1 at 18. Accordingly, ''the burden

           shifts back on the plaintiff to establish that the proffered explanation is pretextual." Shaffer, 454

           F.Supp.2d at 336. At this stage, Plaintiff"faces a heavier burden than [she] did at the prima facie

           stage." Marley v. Kaiser Permanente Found. Health Plan, No. PWG-17-1902, 2021 WL 927459,

           at 8 (D.Md. March 11, 2021). To meet her burden, Plaintiff "must establish 'both that the

           [employer's] reason was false and that [retaliation] was the real reason for the challenged

           conduct."' Foster v. Univ. ofMd-E. Shore, 787 F.3d 243,252 (4th Cir. 2015) (quoting Jiminez v.

           Mary Washington Coll., 57 F.3d 369,378 (4th Cir. 1995)).

                     In support of her pretext claim, Plaintiff argues that Mr. Sun fabricated false and misleading

           performance evaluations. 6 ECF No. 51 at 23. This argument is, however, undermined by the great




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             The Court notes that Plaintiff does not clearly argue that Defendant's stated non-retaliatory
           reason for placing her on probation was pretextual. Indeed, the majority of her pretext arguments
           address Defendant's "nondiscriminatory reason" for placing her on probation. ECF No. 51 at 22
           (emphasis added).
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                                                           JA274
USCA4 Appeal: 23-1502        Doc: 14             Filed: 07/07/2023          Pg: 278 of 281


                   Case 8:20-cv-03564-ADC Document 60 Filed 04/07/23 Page 19 of 20



           deal of evidence showing that Plaintiffs performance deficiencies began well before Mr. Sun took

           over as her supervisor. Indeed, Mr. Mendoza, Ms. Porter, and Mr. Hudson all found Plaintiffs

           performance to be deficient in the same critical areas that Mr. Sun did. Moreover, as explained

           above, Plaintiff has not rebutted Defendant's evidence with competing evidence that she was

           satisfactorily performing the functions of her job on a consistent basis. Without such evidence,

           Plaintiff cannot show that Defendants non-retaliatory reason-her poor performance----is false and

           therefore pretextual.

                  Plaintiff has further failed to demonstrate that her participation in protected activity-as

           opposed to her deficient job performance----led to Mr. Sun placing her on probation. Here,

           Defendant has introduced undisputed facts that Plaintiffs supervisors took actions to correct her

           deficient performance well before she engaged in protected activity. Francis v. Booze Allen &

           Hamilton, Inc., 452 F.3d 299, 309 (4th Cir. 2006) ("Where timing is the only basis for a claim of

           retaliation, and gradual adverse job actions began well before the plaintiff had ever engaged in any

           protected activity, an inference of retaliation does not arise." (quoting Slattery v. Swiss

           Reinsurance Am. Corp., 248 F.3d 87, 95 (2d. Cir. 2001))). In particular, Ms. Porter rated Plaintiffs

           performance as insufficient more than six months before she engaged in protected activity, Mr.

           Hudson informed Plaintiff that she would be placed on a PIP approximately three months before

           she engaged in protected activity, and Mr. Sun noted Plaintiffs performance deficiencies

           approximately two months before she engaged in protected activity. See ECF Nos. 48-2 at 71, 140;

           ECF No. 48-3 at 1. This pattern of gradual adverse job actions suggests that placing Plaintiff on

           probation was simply the rational consequence of Plaintiff failing to complete the PIP.

           Accordingly, the Court finds that Plaintiff has not proven that her engaging in protected activity

           was the but-for cause of her placement on probation. See Univ. ofTexas Sw. Med. Ctr. v. Nassar,



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                                                        JA275
USCA4 Appeal: 23-1502          Doc: 14            Filed: 07/07/2023          Pg: 279 of 281


                     Case 8:20-cv-03564-ADC Document 60 Filed 04/07/23 Page 20 of 20



           570 U.S. 338, 351 (2013) ("Title VII retaliation claims must be proved according to the traditional

           principles of but for causation.").

                     For these reasons, the Court finds that there are no genuine disputes of material fact that

           have been raised. On this record, a reasonable juror could not conclude that Defendant' s stated

           reason for terminating Plaintiff, namely her poor performance, was pretextual. As the Fourth

           Circuit has explained: "Workers are shielded from retaliation on account of their assertion ofrights

           protected under Title VIL But a complaining worker is not thereby insulated from the

           consequences of . .. poor performance." Ziskie v. Mineta, 547 F.3d 220, 229 (4th Cir. 2008).

           Accordingly, the Court finds that summary judgment in favor of Defendant is proper on Counts II

           and IV.

                                                       CONCLUSION

                     For the reasons set forth in this Memorandum Opinion, Defendant' s Motion (ECF No.

           48) is GRANTED. A separate Order will follow.




                                                                         United States Magistrate Judge




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                                                          JA276
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 280 of 281


                  Case 8:20-cv-03564-ADC Document 61 Filed 04/07/23 Page 1 of 1




                                             JA277
USCA4 Appeal: 23-1502   Doc: 14        Filed: 07/07/2023   Pg: 281 of 281


                  Case 8:20-cv-03564-ADC Document 63 Filed 05/02/23 Page 1 of 1




                                             JA278
